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                   8
                   9                            UNITED STATES DISTRICT COURT
              10                              CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO
              12                                                  Consolidated with Case No. 15-cv-02628-
                                          Plaintiff,              FMO
              13
                                v.                                Assigned To: Hon. Fernando M. Olguin
              14
                        VIKTOR KHRAPUNOV, et al.,                 REQUEST FOR JUDICIAL NOTICE
              15                                                  IN SUPPORT OF PLAINTIFF CITY
                                          Defendants.             OF ALMATY’S OPPOSITION TO
              16                                                  DEFENDANTS’ MOTION TO
                                                                  DISMISS CONSOLIDATED
              17                                                  AMENDED COMPLAINT
              18                                                  Proposed Order; Plaintiff’s Opposition to
                                                                  Defendants’ Motion to Dismiss
              19                                                  Consolidated Amended Complaint Filed
                                                                  Concurrently Herewith
              20
                                                                  Action Filed:     May 13, 2014
              21
                                                                  Hearing Date: December 21, 2017
              22                                                  Hearing Time: 10:00 a.m.
                                                                  Courtroom:    6D
              23
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              28
                       US-DOCS\96641615                                    REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES
                                                                         OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                   CONSOLIDATED AMENDED COMPLAINT
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                   1            Pursuant to Federal Rule of Evidence 201, Plaintiff the City of Almaty
                   2 (“Plaintiff”) hereby requests that this Court take judicial notice of certain orders
                   3 and pleadings in other court proceedings and other publically available documents
                   4 described below. This request, and the documents for which it seeks judicial
                   5 notice, is submitted in support of Plaintiff’s Opposition to Defendants’ Motion to
                   6 Dismiss Consolidated Amended Complaint (“Opposition”) filed concurrently
                   7 herewith.
                   8 I.         DESCRIPTION OF DOCUMENTS
                   9            Plaintiff respectfully requests that this Court take judicial notice of the
              10 following documents, which are attached as exhibits hereto:
              11                1.        INTERPOL Red Notice for Ilyas (Iliyas) Khrapunov, available at
              12                          https://www.interpol.int/notice/search/wanted/2014-26980, a true and
              13                          correct copy of which is attached hereto as Exhibit A.
              14                2.        INTERPOL Red Notice for Viktor Khrapunov, available at
              15                          https://www.interpol.int/notice/search/wanted/2012-10416, a true and
              16                          correct copy of which is attached hereto as Exhibit B.
              17                3.        INTERPOL Red Notice for Leila Khrapunova, available at
              18                          https://www.interpol.int/notice/search/wanted/2012-334222, a true
              19                          and correct copy of which is attached hereto as Exhibit C.
              20                4.        A judgment dated November 26, 2013, issued by the U.K. Courts in
              21                          JSC BTA Bank v. Ablyazov, 2013 EWHC 3691, a true and correct
              22                          copy of which is attached hereto as Exhibit D.
              23                5.        A memorandum and order dated June 21, 2016 (Dkt. No. 174), issued
              24                          by Judge Nathan, District Judge of the Southern District of New York,
              25                          in CF 135 Flat LLC v. Triadou SPV N.A., No. 15-cv-5345 (AJN), a
              26                          true and correct copy of which is attached hereto as Exhibit E.
              27                6.        A Memorandum and Order, dated June 24, 2016 (Dkt. No. 175),
              28                          issued by Judge Nathan, District Judge of the Southern District of
                       US-DOCS\96641615                                          REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                          1       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                         CONSOLIDATED AMENDED COMPLAINT
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                   1                      New York, in CF 135 Flat LLC v. Triadou SPV N.A., No. 15-cv-5345
                   2                      (AJN), a true and correct copy of which is attached hereto as
                   3                      Exhibit F.
                   4            7.        A Memorandum and Order of Attachment, dated July 18, 2016 (Dkt.
                   5                      No. 192), issued by Judge Nathan, District Judge of the Southern
                   6                      District of New York, in Almaty v. Ablyazov, No. 15-cv-05345 (AJN),
                   7                      a true and correct copy of which is attached hereto as Exhibit G.
                   8            8.        Amended Crossclaims of City of Almaty and BTA Bank (Dkt. No.
                   9                      219), filed September 7, 2016, in Almaty v. Ablyazov, No. 15-cv-
              10                          05345 (AJN), a true and correct copy of which is attached hereto as
              11                          Exhibit H.
              12                9.        A Memorandum and Order, dated December 23, 2016 (Dkt. No. 257),
              13                          issued by Judge Nathan, District Judge of the Southern District of
              14                          New York, in Almaty v. Ablyazov, No. 15-cv-05345 (AJN), a true and
              15                          correct copy of which is attached hereto as Exhibit I.
              16                10.       The Khrapunovs’ Memorandum in Opposition to the City of Almaty
              17                          and BTA Bank’s Motion for Certification of the Court’s December
              18                          23, 2017 Order for Interlocutory Appeal, dated February 3, 2017 (Dkt.
              19                          No. 276), in Almaty v. Ablyazov, No. 15-cv-05345 (AJN), a true and
              20                          correct copy of which is attached hereto as Exhibit J.
              21                11.       An order dated April 20, 2017 (Dkt. No. 304), issued by Judge
              22                          Nathan, District Judge of the Southern District of New York, in
              23                          Almaty v. Ablyazov, No. 15-cv-05345 (AJN), a true and correct copy
              24                          of which is attached hereto as Exhibit K.
              25                12.       Amended Memorandum and Order, dated September 26, 2017 (Dkt.
              26                          No. 426), issued by Judge Nathan, District Judge of the Southern
              27                          District of New York, in Almaty v. Ablyazov, No. 15-cv-05345 (AJN),
              28                          a true and correct copy of which is attached hereto as Exhibit L.
                       US-DOCS\96641615                                          REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                          2       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                         CONSOLIDATED AMENDED COMPLAINT
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                   1 II.        THE DOCUMENTS ARE JUDICIALLY NOTICEABLE
                   2            In ruling on a motion to dismiss, courts may consider materials that are
                   3 judicially noticeable under Rule 201 of the Federal Rules of Evidence. Lee v. City
                   4 of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001). Under Rule 201, a court
                   5 may take judicial notice of facts that are “not subject to reasonable dispute”
                   6 because they are “generally known within the trial court’s territorial jurisdiction”
                   7 or “can be accurately and readily determined from sources whose accuracy cannot
                   8 reasonably be questioned.” Fed. R. Evid. 201(b). A court must take judicial notice
                   9 at a party’s request when “supplied with the necessary information.” Fed. R. Evid.
              10 201(c).
              11                Pursuant to Rule 201, courts routinely take judicial notice of the findings and
              12 orders of other courts, as well as pleadings in other court proceedings. Callan v.
              13 New York Cmty. Bank, 643 F. App’x 666, 666-67 (9th Cir. 2016) (affirming
              14 judicial notice of complaint, demurrer and judgment in another case in ruling on a
              15 motion to dismiss); Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746
              16 n.6 (9th Cir. 2006) (courts “may take judicial notice of court filings and other
              17 matters of public record”); Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186,
              18 191 (D.D.C. 2017) (taking judicial notice of factual findings in other proceedings
              19 regarding the defendant’s support of a terrorist organization).
              20                Likewise, foreign judgments are subject to judicial notice. Gabbanelli
              21 Accordions & Imports, L.L.C. v. Gabbanelli, 575 F.3d 693, 696 (7th Cir. 2009)
              22 (“An American court can take judicial notice of a foreign judgment[.]”);
              23 Lichtenstein v. Cader, No. 13-2690, 2013 WL 4774717, at *2 (S.D.N.Y. Sept. 6,
              24 2013) (“Notably, foreign judgments are matters subject to judicial notice.”).
              25                Finally, the Court may take judicial notice of an Interpol Red Notice as a
              26 matter of public record. “An Interpol Red Notice is the closest instrument to an
              27 international arrest warrant in use today. Interpol (the International Criminal
              28 Police Organization) circulates notices to member countries listing persons who
                       US-DOCS\96641615                                       REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                       3       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                      CONSOLIDATED AMENDED COMPLAINT
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                   1 are wanted for extradition.” United States Department of Justice, U.S. Attorneys’
                   2 Criminal Resource Manual § 611, https://www.justice.gov/usam/criminal-
                   3 resource-manual-611-interpol-red-notices (last visited Nov. 22, 2017). Arrest
                   4 warrants are considered matters of public record and are subject to judicial notice.
                   5 Ferguson v. United States, No. 15-1253, 2016 WL 4793180, at *3 (S.D. Cal. Sept.
                   6 14, 2016) (taking judicial notice of arrest warrant as a matter of public record);
                   7 Klahn v. Alameda Cty. Sheriff’s Dep’t, No. 16-833, 2017 WL 565050, at *11 (N.D.
                   8 Cal. Feb. 13, 2017) (same).
                   9            For the reasons set forth above, Plaintiff respectfully requests that this Court
              10 take judicial notice of the documents described above and attached hereto.
              11
              12 Dated: November 22, 2017                           LATHAM & WATKINS LLP
              13                                                     By    /s/ Jonathan M. Jackson
                                                                          David J. Schindler
              14                                                          Jonathan M. Jackson
                                                                          Kendall M. Howes
              15
                                                                     Attorneys for Plaintiff the City of Almaty
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                       US-DOCS\96641615                                        REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                        4       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                       CONSOLIDATED AMENDED COMPLAINT
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                                                                     EXHIBIT A
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                                                                     EXHIBIT B
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                                                                    EXHIBIT C
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                                                                     Case No: HC10C02462
   Neutral Citation Number: [2013] EWHC 3691 (Ch)
   IN THE HIGH COURT OF JUSTICE
   CHANCERY DIVISION

                                                                             Rolls Building,
                                                                      Royal Courts of Justice
                                                            Fetter Lane, London, EC4A 1NL

                                                                           Date: 26/11/2013

                                          Before :

                                MR JUSTICE HENDERSON
                                 ---------------------
                                        Between :

                                      JSC BTA BANK                                Claimant/
                                                                                  Applicant
                                    - and -
                         MUKHTAR KABULOVICH ABLYAZOV                        18th Defendant/
                                                                                Respondent

                                 ---------------------
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     Mr Stephen Smith QC and Ms Emily Gillett (instructed by Hogan Lovells International
                                 LLP) for the Claimant

                             Hearing dates: 8 and 9 October 2013
                                ---------------------
                                          Judgment




                                                                                  EXHIBIT D
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Mr Justice Henderson:

Introduction

1.    On 8 and 9 October 2013 I heard the adjourned application by the claimant JSC BTA
      Bank (“the Bank”) for summary judgment against the 18th defendant, Mukhtar
      Kabulovich Ablyazov (“Mr Ablyazov”). The application was undefended, as Mr
      Ablyazov’s solicitors (Addleshaw Goddard LLP) had informed the Bank’s solicitors
      (Hogan Lovells International LLP) by a letter dated 12 September 2013 that he would
      “not be further defending” the application. This statement was accompanied by the
      following explanation and reservation of rights:

               “You and your client are well aware of our client’s current
               personal circumstances, and that of his family.

               All of our client’s rights are reserved and our client’s decision
               not to defend the application further should not be taken as an
               admission or acceptance of liability for factual findings in the
               AAA proceedings or those already made against him in the
               wider proceedings, including the committal proceedings.”

      On the eve of the hearing, Addleshaw Goddard confirmed that Mr Ablyazov’s
      instructions remained unchanged.

2.    Behind the brief introduction which I have just given, there lies a background of ever-
      increasing, and at times bewildering, complexity. The present action (“the AAA
      proceedings”) is just one of a total of 11 sets of proceedings in England and Wales in
      which the Bank, a major bank in Kazakhstan which was effectively nationalised in
      February 2009, seeks to recover sums in excess of US$5 billion which it alleges were
      fraudulently misappropriated by its former chairman, Mr Ablyazov, acting in concert
      with other former members of the Bank’s senior management, for the ultimate benefit
      of Mr Ablyazov himself. It is alleged that he has obtained this benefit through a web
      of offshore companies controlled and managed on his behalf by, or through, a
      network of nominees and trusted associates.

3.    All of the proceedings, apart from the AAA proceedings, were begun in the
      Commercial Court, where they have been principally managed by Teare J. He has
      delivered a number of major judgments, including two which are of particular
      importance for present purposes.

4.    First, on 16 February 2012 Teare J gave judgment following the hearing of committal
      proceedings based on three sample allegations of contempt of court made by the Bank
      against Mr Ablyazov: see JSC BTA Bank v Mukhtar Ablyazov [2012] EWHC 237
      (Comm). Teare J held all three allegations to be proved to the criminal standard of
      proof, that is to say beyond reasonable doubt. One of the allegations was that Mr
      Ablyazov had failed, in breach of the worldwide freezing order previously made
      against him, to disclose his beneficial ownership of the shares in a company
      incorporated in the British Virgin Islands (“BVI”) called Bubris Investments Limited
      (“Bubris”). Under its later name of Celina Holding Investments Limited, Bubris is
      the fourth defendant in the AAA proceedings and is alleged by the Bank to have
      played a key role, together with four other BVI companies which are the fifth to



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      eighth defendants (together “the BVI Defendants”), in the alleged fraud which forms
      the subject matter of those proceedings. In the committal proceedings, which were
      heard over a period of about three weeks between 30 November and 21 December
      2011, Mr Ablyazov was represented by a team of two leading and two junior counsel,
      instructed by Addleshaw Goddard. During the hearing, he elected to give evidence
      and was cross-examined for two and a half days.

5.    Mr Ablyazov failed to attend the handing down of judgment in the committal
      proceedings, and instead absconded. He was sentenced in his absence to 22 months’
      imprisonment on each count, the terms to run concurrently. The judge also made an
      “unless” order (“the Unless Order”) debarring him from defending the claims made
      against him in the Commercial Court proceedings, and striking out his defences,
      unless within a stated period he both surrendered to custody and made proper
      disclosure of all his assets and his dealings with them. The stated periods for
      compliance with these conditions expired in March 2012, but the order also provided
      that, in the event of an appeal, the sanctions for non-compliance would not take effect
      until seven days after the dismissal of the appeal. Mr Ablyazov had an unfettered
      right to appeal against the committal order and sentence; the judge also granted him
      permission to appeal from the Unless Order.

6.    Mr Ablyazov has remained a fugitive from justice since February 2012, and his
      whereabouts remained unknown to the Bank until he was discovered in the South of
      France on 31 July 2013. Since then he has been held in custody by the French
      authorities, while extradition proceedings against him by at least three countries
      (which do not include the United Kingdom, because civil contempt of court is not an
      extraditable offence) are pending.

7.    Despite his flight from the jurisdiction of the English court, Mr Ablyazov has
      continued to give instructions to his lawyers and to be represented in court
      proceedings when it has suited his interests to do so (although more recently courts
      have begun to refuse to hear submissions on his behalf while his multiple contempts
      remain unpurged). His appeals in the committal proceedings, including an appeal
      from the Unless Order, were heard by the Court of Appeal (Maurice Kay LJ VP, Rix
      and Toulson LJJ) in early July 2012, and judgment was handed down on 6 November
      2012: see JSC BTA Bank v Mukhtar Ablyazov [2012] EWCA Civ 1411. All of Mr
      Ablyazov’s grounds of appeal were comprehensively dismissed, subject to one minor
      point of disagreement which made no difference to the outcome (Toulson LJ
      considered that surrender to custody should not have been made a condition of the
      Unless Order, whereas the majority agreed with Teare J that it should). The leading
      judgment was delivered by Rix LJ, who (among much else) reviewed the evidence
      relating to the beneficial ownership of Bubris before concluding at paragraph [74]:

             “There is thus compelling circumstantial evidence that Mr
             Ablyazov was the true owner of Bubris. There is no
             documentary evidence to the contrary … The judge was
             entitled and right to discount the evidence of Mr Ablyazov and
             his other witnesses, and indeed to find that such evidence was
             incredible and to be lies.”

8.    Having considered, and rejected, Mr Ablyazov’s appeal in relation to the other two
      alleged contempts, Rix LJ concluded the relevant part of his judgment as follows:



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             “96. I would end this section of my judgment by saying this. It
             is noticeable from the facts of this case, both as found by the
             judge, but also in the nature of the structure of the arguments as
             they have developed, how time and time again, as some aspect
             of Mr Ablyazov’s conduct has come under question, so the
             evidence deployed has become remarkable for the way in
             which it has taken tortuous turnings which have asked the court
             to suspend its belief in reality in favour of reduplicating
             unrealities. Thus in the case of Bubris, the court was asked to
             believe both that Mr Batyrgarejev, one of Mr Ablyazov’s
             dedicated lieutenants, had been appointed UBO [ultimate
             beneficial owner] of Bubris by mistake, and that the true UBO
             had only emerged in September 2010, albeit backdated to May
             2010, after two years in which a succession of nominal UBOs
             had been declared. The significance of September 2010 is that
             the freezing order against Bubris was served at the end of July
             2010.

             …

             100. As this series of coincidences, misfortunes, errors,
             misunderstandings and inexplicable developments multiply, the
             court is entitled to stand back and ask whether there is in truth a
             defence or defences as alleged, even if no burden rests on Mr
             Ablyazov, and the burden remains on the bank, or whether
             there is at any rate the realistic possibility of such, or on the
             other hand whether the court is being deceived. The trial judge
             decided that it was being deceived by witnesses without
             credibility. It is not for this court to say that he was wrong
             without strong grounds for doing so, grounds which have
             simply not been formulated.

             101. I would therefore conclude that the appeal on each
             element of the committal judgment should be dismissed.”

9.    In his short concurring judgment, Maurice Kay LJ said this:

             “202. It is difficult to imagine a party to commercial litigation
             who has acted with more cynicism, opportunism and
             deviousness towards court orders than Mr Ablyazov. Rix LJ
             has described in trenchant terms the factors which cause me to
             express myself in this way. There can be no complaint that
             Teare J decided that the court’s powers should be deployed so
             as to put the maximum pressure on Mr Ablyazov to comply
             with its orders so as to endeavour to prevent its fair procedures
             from being subverted.”

10.   The effect of the dismissal of Mr Ablyazov’s appeal was to trigger the Unless Order,
      and on 9 November 2012 Teare J made a declaration that Mr Ablyazov had failed to
      comply with the surrender and disclosure obligations, as a result of which he was
      debarred from defending the Bank’s Commercial Court proceedings with effect from



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      13 November 2012. The trial of three of those proceedings (known as the Drey,
      Granton and Chrysopa proceedings) had begun before Teare J on 7 November, the
      day after the Court of Appeal’s judgment. Mr Ablyazov was the first defendant in
      each of them. After Mr Ablyazov’s defences had been struck out, the trial continued
      against the remaining defendants until its conclusion on 14 February 2013. On 19
      March 2013 Teare J handed down his judgment (“the Trial Judgment”): see [2013]
      EWHC 510 (Comm). This is the second of the important judgments of Teare J to
      which I referred in paragraph 3 above. For present purposes, its main significance lies
      in the findings which Teare J made, having heard expert evidence on both sides, about
      various disputed issues of Kazakh law. It should also be noted that the first issue for
      consideration in each case was whether Mr Ablyazov had committed a fraud on the
      Bank: see paragraph [7]. The reason for this was that primary liability on the part of
      Mr Ablyazov had to be established before accessory liability for knowing assistance
      by other defendants could be established. In each case, Teare J held that both the
      primary liability of Mr Ablyazov and the relevant accessory liability were established
      to his satisfaction.

11.   As a result of the Unless Order, default judgments totalling at least US$3.6 billion
      have now been entered against Mr Ablyazov in various of the Commercial Court
      proceedings, as well as a judgment for damages to be assessed in the Chrysopa
      proceedings. In addition, very substantial costs orders have been made against him.
      None of these judgments and orders has been satisfied.

12.   To complete the picture, I should mention that in the committal proceedings the Court
      of Appeal refused to grant Mr Ablyazov permission to appeal to the Supreme Court.
      Mr Ablyazov subsequently sought permission from the Supreme Court, although only
      in relation to the debarring provisions of the Unless Order. On 21 February 2013, the
      Supreme Court rejected Mr Ablyazov’s application, holding that it did not raise an
      arguable point of law of general public importance.

The AAA proceedings

13.   The main difference between the AAA proceedings and the Commercial Court
      proceedings lies in the general nature of the fraud alleged. In the Commercial Court
      proceedings, the claims typically concern huge unsecured loans made by the Bank, on
      very unfavourable terms, to offshore companies alleged to be beneficially owned by
      Mr Ablyazov. By contrast, the AAA proceedings concern a portfolio of ten holdings
      of AAA-rated securities with a market value of approximately US$300 million (hence
      the label attached to the proceedings) which was allegedly misappropriated for the
      ultimate benefit of Mr Ablyazov by a series of linked transactions which took place in
      2008 and early 2009. This difference of subject matter may explain why the AAA
      proceedings were the only ones to be started in the Chancery Division of the High
      Court, on 28 July 2010. At that stage, the Bank had insufficient evidence to implicate
      Mr Ablyazov in the alleged fraud, so he was not joined as a party. The first
      defendant, Roman Vladimirovich Solodchenko (“Mr Solodchenko”), had been
      chairman of the Bank’s management board at all material times until 3 February 2009,
      and the impugned transfers of the AAA securities to the BVI Defendants in January
      2009 were made under his signature. The BVI Defendants, as I have already said,
      were the fourth to eighth defendants. The ninth to twelfth defendants (three more
      companies incorporated in the BVI, and one incorporated in the Seychelles)
      constituted a second tier of offshore companies involved in the alleged fraud (“the



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      Further Recipients”). Mr Ablyazov was not joined as a defendant until 14 March
      2011, when permission was granted to the Bank to re-amend its particulars of claim.
      No freezing or ancillary relief was sought against Mr Ablyazov at that date, but only
      because a worldwide freezing order had already been made against him in the
      Commercial Court proceedings and his assets were subject to a receivership order
      which by then extended over several hundred companies, including the BVI
      Defendants and the Further Recipients.

14.   The general nature of the alleged fraud is pleaded as follows in the Bank’s re-
      amended particulars of claim:

             “1. As set out in more detail below, this claim concerns the
             transfers of certain AAA-rated investment bonds (the “AAA
             Investments”), which were acquired by the [Bank] in May 2008
             with a nominal value of US$292 million and a market value in
             excess of US$300 million, to the [BVI Defendants] on or
             around 22 January 2009 (the “January 2009 Transfers”). The
             January 2009 Transfers were effected upon the instructions and
             orders of [Mr Solodchenko], for the ultimate undisclosed
             benefit of [Mr Ablyazov].

             2. The [Bank] received no payment or other consideration in
             exchange for the transfer of the AAA Investments. The [BVI]
             Defendants no longer hold the AAA Investments. The [Bank]
             claims that, it is to be inferred, [that] the January 2009
             Transfers were consequent on [Mr Solodchenko] and/or [Mr
             Ablyazov], in June 2008, having allowed or caused the AAA
             Investments to be used as a form of security (formal or
             otherwise) for obligations owed by the [BVI] Defendants to a
             third party (the “June 2008 Security”). At present the [Bank]
             does not know the precise nature of the June 2008 Security.

             3. Neither the grant of the June 2008 Security nor the January
             2009 Transfers had any commercial purpose or benefit for the
             [Bank], and they both lacked any justification from the [Bank’s]
             perspective. The June 2008 Security and/or the January 2009
             Transfers were a means of misappropriating and/or wrongfully
             dissipating the [Bank’s] assets.”

15.   In a little more detail, the main stages in the alleged fraud, as pleaded by the Bank and
      as evidenced by the documents in the chronological bundle prepared by the Bank,
      appear to have been as follows:

      (1)    Between 21 and 22 May 2008, the Bank acquired the AAA Investments. These
             were initially held on the Bank’s behalf by State Street Corporation, a
             company incorporated in Massachusetts. On or about 22 May 2008, the Bank
             arranged to, and did, transfer the AAA Investments to an account in the Bank’s
             name with an affiliate in Kazakhstan of OJSC Alfa-Bank (“Alfa Russia”).

      (2)    On 23 May 2008, the Bank, acting by Mr Solodchenko, entered into a
             brokerage agreement with Alfa Equity Investments Limited (“Alfa Equity”), a



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         BVI company affiliated to Alfa Russia which provided brokerage services to
         the Bank and the BVI Defendants (with whom it also entered into brokerage
         agreements around the same time). The brokerage agreement with the Bank
         provided, by clause 1.4, that the Bank would remain at all times the sole
         beneficial owner of securities transferred to or acquired by Alfa Equity under
         the agreement.

   (3)   Between 23 May and 10 June 2008, Mr Solodchenko procured the transfer of
         the AAA Investments from the Bank’s account at Alfa Russia to an account in
         the name of the Bank at Alfa Equity. No payment was made for the transfers,
         and once they had been effected Alfa Equity was obliged to hold the AAA
         Investments in accordance with the terms of the brokerage agreement. Alfa
         Equity then continued to hold the AAA Investments on behalf of the Bank
         until they were transferred to the BVI Defendants on 22 January 2009.

   (4)   On 9 June 2008, each BVI Defendant entered into a separate loan agreement
         with one of the Further Recipients. Under these agreements, the BVI
         Defendants together purported to lend to the Further Recipients sums totalling
         US$250.1 million within the next ten days, the money to be transferred to bank
         accounts held by the borrowers with Trasta Komercbanka in Riga, Latvia
         (“TKB” or “Trasta”). The loans were purportedly repayable over periods of
         either eight, nine or ten years by one or more instalments, with interest at the
         rate of either 5% or 6% per annum to be repaid with the principal amount of
         the loan. Thus it was apparently open to the borrower to defer repayment of
         both principal and interest until a date which (depending on the agreement)
         was either 9 June 2016, 9 June 2017 or 9 June 2018. Furthermore, the loans
         were apparently unsecured.

   (5)   Between 10 and 17 June 2008, the BVI Defendants contracted to sell securities
         of the same descriptions and amounts as the AAA Investments to Alfa Equity,
         for a consideration of approximately US$294.1 million. These appear to have
         been “short” sales, because the BVI Defendants did not at that time own the
         securities which they contracted to sell. The purchase price under the
         agreements was payable almost immediately, but delivery of the securities did
         not have to be made until 31 December 2008 (or, in the case of two
         transactions with the fifth defendant, 10 June 2009).

   (6)   The consideration for the short sales was duly paid by Alfa Equity to the BVI
         Defendants at Alfa Equity, and was then transferred to accounts held by them
         at TKB in Latvia.

   (7)   Around the same time, in mid-June 2008, approximately US$250 million of
         the proceeds of the transfers to the BVI Defendants’ accounts at TKB were
         paid to further accounts at TKB in the names of the Further Recipients. These
         payments were, at least ostensibly, made pursuant to the loan agreements dated
         9 June 2008. The remaining US$44 million-odd was not paid to the Further
         Recipients. Most of this balance (amounting to some US$42.5 million) appears
         to have been retained by Bubris which then used it to deal in bonds.

   (8)   On this application, the Bank does not allege that Alfa Equity was complicit in
         the fraud. Accordingly, to make commercial sense of the short sale



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           agreements, it invites the court to infer that the Bank must have pledged the
           AAA Investments to Alfa Equity, or granted some form of security over them,
           in order to secure the delivery obligations of the BVI Defendants under the
           sale agreements. On the available evidence, I agree that this inference should
           be drawn. It is incredible that Alfa Equity would have agreed to pay the
           purchase price under the sale agreements to the BVI Defendants in June 2008,
           without the assurance that the BVI Defendants would in due course be able to
           honour their delivery obligations, whether at the end of December 2008 or in
           June 2009.

    (9)    On 13 June 2008, a potentially significant email was sent by Anton Rybalkin,
           a lawyer at Eastbridge Capital (Moscow) Limited (“Eastbridge Moscow”), the
           Russian subsidiary of the thirteenth defendant Eastbridge Capital Limited
           (“Eastbridge”), an English company providing corporate services of which the
           fifteenth defendant, Aleksandr Udovenko (“Mr Udovenko”) and the
           seventeenth defendant, Anatoly Ereshchenko (“Mr Ereshchenko”) were then
           directors. The email was copied to Mr Udovenko, and its subject was
           “Agreements to be signed by R. Solodchenko”. It read as follows:

            “As agreed: I am sending the documents that need to be signed
            by [Mr Solodchenko]. The seal is required. Please sign the
            scans and transfer the signed documents to me with Igor in
            Moscow. The original documents go to Moscow, as we get
            them – we will send them for the subsequent signature. The
            transaction with Alfa Bank is under the control of MKA [i.e.
            Mr Ablyazov]. If necessary the explanation can be given by
            [Mr Udovenko], [Mr Ereshchenko] and me.

            Thanks for the co-operation.”

   (10) The Bank relies on this email as contemporary evidence that the transactions with
        Alfa Bank relating to the AAA Investments were under the personal control of
        Mr Ablyazov. Mr Ablyazov accepts that the reference to “MKA” is probably a
        reference to himself, but says he had never seen the email before it was put to him
        in cross-examination in the committal trial, and he has no knowledge of its
        subject matter or the transaction to which it refers. He says that employees of the
        Bank were keen to use his name “in order to give weight to proposals of all
        kinds”, even when he had nothing to do with them. He adds (paragraph 45 of his
        first witness statement in opposition to the summary judgment application):

            “This might happen in relation to the holding of festivities or
            holidays, or in relation to arrangements that the [Bank] was to
            enter into. It was part of the psychology of employees in large
            companies in the CIS countries to do this by using the name of
            the head of the organisation to lend weight to a proposal. I
            anticipate that this is what Mr Rybalkin was doing in this
            document.”

    (11)   On 22 January 2009, Mr Solodchenko signed transaction forms instructing
           Alfa Equity to transfer the AAA Investments from the Bank’s Alfa Equity
           account to the BVI Defendants’ Alfa Equity accounts. The Bank alleges that it



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             received no consideration for these transfers. It is the Bank’s case that this
             was the means whereby the BVI Defendants were enabled to fulfil their
             delivery obligations under the June 2008 sale contracts. As it is put in the re-
             amended particulars of claim:

             “71. Having received the AAA Investments on behalf of the
             BVI Defendants, Alfa Equity then acquired the AAA
             Investments from the BVI Defendants in satisfaction of the
             Delivery Obligations. The BVI Defendants no longer hold the
             AAA Investments.

             72. In summary, as at the end of January 2009 and as a result of
             the matters set out above:

             (a) the BVI Defendants obtained the benefit of substantial
             payments from Alfa Equity totalling US$294,138,715.27 …;
             and

             (b) the Bank was deprived of the AAA Investments. It did not
             receive and has still not received any consideration in return,
             whether a sum representing the nominal value of the AAA
             Investments or their market value or any other value.

             In short, as a result of the matters set out above, the Bank no
             longer has the AAA Investments or any sum in return for
             them.”

16.   Mr Ablyazov’s defence was served on 31 May 2011 by the solicitors then acting for
      him, Stephenson Harwood. It was settled by counsel instructed on his behalf, Mr
      George Hayman, and runs to some 60 pages. The nub of his defence is contained in
      the following three paragraphs:

             “15. Because of his position within the [Bank] Mr Ablyazov
             had no involvement in (and has no knowledge of) the
             transactions and documents which form the basis of this claim.

             16. At all times Mr Ablyazov complied with his duties under
             the JSC Law, the Regulations of the Board of Directors, the
             [Bank’s] Charter, the Civil Code, duties of a fiduciary nature
             (which are denied in any event), the Code of Corporate
             Governance of the [Bank], his Contract of Employment and the
             Labour Code.

             17. It is denied that Mr Ablyazov was or is the ultimate
             beneficial owner of the BVI Defendants and the Further
             Recipients.”

17.   In view of Mr Ablyazov’s denial that he was involved in the transactions, and his
      disclaimer of any knowledge of them, it is unsurprising that much of his defence
      consists of bare denials or non-admissions of matters which are said to be outside his




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      knowledge. The defence also sets out his contentions in relation to various issues of
      Kazakh law, to which I will need to return.

18.   It should also be noted that Mr Ablyazov claims to be “significantly disadvantaged …
      by the paucity of documentation available to him”, because he is no longer employed
      by the Bank and therefore has no access to documentation, and because of the
      circumstances in which he left Kazakhstan (paragraph 3 of the defence). By contrast,
      he says, the Bank “has control over the vast majority of the documentation relating to
      the matters in dispute”, and he is “entirely dependent” upon the Bank for the release
      of that documentation (ibid.).

The history of the summary judgment application

19.   The Bank issued its application for summary judgment against Mr Ablyazov and the
      BVI Defendants on 15 March 2012, a few weeks after Teare J had delivered his
      judgment on the committal application and sentenced Mr Ablyazov in his absence to
      22 months’ imprisonment. In support of the application, the Bank relied on the re-
      amended particulars of claim, the eighteenth witness statement of Christopher
      Hardman (the partner at Hogan Lovells who has throughout had conduct of the
      proceedings on the Bank’s behalf) and an expert report on Kazakh law dated 14
      March 2012 prepared by Vsevolod Markov (“Mr Markov”), a citizen of Kazakhstan
      who has significant experience of practising law in that country, specialising in cross-
      border and domestic finance and capital market transactions. Mr Markov is currently
      a partner at BMF Group LLP, a Kazakh law firm that has provided legal services in
      Kazakhstan for more than 17 years.

20.   In his eighteenth statement, Mr Hardman set out much of the relevant background,
      explained the nature of the Bank’s claims against Mr Ablyazov and the BVI
      Defendants, and went through the matters relied on in support of the application,
      including the judgment of Teare J in the committal proceedings regarding the true
      ultimate beneficial ownership of Bubris. He pointed out that, although Teare J’s
      judgment related only to Bubris, the BVI Defendants had consistently made common
      cause, and in their joint defence served on 21 November 2011 they had themselves
      asserted that they were in common beneficial ownership, albeit not the ownership of
      Mr Ablyazov. Their pleaded case was that they were in the common beneficial
      ownership of a Mr Sadykov, who managed the companies through his own nominees,
      and had never himself been a nominee of Mr Ablyazov.

21.   In the section of his statement dealing with the alleged inherent implausibility of the
      defences, Mr Hardman said this:

             “62. The overall tenor of the defences advanced by Mr
             Ablyazov and the BVI Defendants is inherently implausible
             and does not suggest any commercial rationale for the AAA
             Transactions. Even aside from Mr Justice Teare’s findings and
             the evidence I refer to above showing that the story about Mr
             Sadykov being the UBO of the BVI Defendants is untrue, it is
             wholly implausible that the series of transactions set out at
             paragraphs 55 to 75 of the RAPOC [re-amended particulars of
             claim] were ordinary commercial transactions conducted with
             parties who were at arms’ length with the Bank. No payment



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             was ever made to the Bank in consideration for the January
             2009 Transfers and (notwithstanding the circulation of
             unsigned draft agreements apparently intended for backdated
             execution) no agreements were ever executed to underpin those
             transfers. Further, the BVI Defendants have provided no
             explanation about how loans made by the Bank might ever
             have been properly repaid.

             63. The only attempt at an explanation provided by the BVI
             Defendants was that the Further Recipients purchased bonds
             issued by the Bank using (some of) the money they had
             received as a result of the Onward Transfers from the BVI
             Defendants. Even if it is the case that the Further Recipients
             purchased such bonds, the receipt by the Bank of monies in
             consideration for the purchase of those securities is not the
             repayment of monies to the Bank owed by the BVI Defendants
             or others, nor does it amount to consideration for the AAA
             Investments themselves (being, on the BVI Defendants’ own
             case, consideration for the purchase of entirely different
             bonds).”

22.   I will have to return later to Teare J’s rejection of the story about Mr Sadykov being
      the UBO of the BVI Defendants, and to the apparent attempt by Mr Solodchenko and
      others to provide a retrospective justification for the January 2009 transfers by means
      of back-dated sale and purchase agreements. As to the point made by Mr Hardman in
      paragraph 63, I agree with him that even if much of the money did eventually return
      to the Bank as the purchase price of different bonds, such payment would have been
      made for fresh consideration and could not possibly have constituted repayment of
      any part of the value of the AAA Investments.

23.   Mr Ablyazov’s evidence in answer to the application consisted of a witness statement
      by himself dated 2 May 2012, and an expert report dated 3 May 2012 by Professor
      Peter Maggs, who is Professor of Law at the University of Illinois College of Law and
      specialises in the law of the former Soviet Republics, including Kazakhstan. Professor
      Maggs has published widely in these areas, and is an experienced expert witness in
      cases involving Soviet law and the law of Kazakhstan. It was in this statement that Mr
      Ablyazov gave the explanation of the email dated 13 June 2008 to which I have
      already referred: see paragraph 15(10) above. He also commented that the email was
      “just one item of correspondence” held by the Bank, upon which it sought to rely. He
      suggested that once full disclosure had been given by the Bank of documents from its
      own records, “a fuller (and perhaps complete) picture of the AAA Transactions will
      become apparent at trial”. Mr Ablyazov continued to deny his beneficial ownership
      of Bubris, and also denied his ownership of the Further Recipients. Replying to what
      Mr Hardman had said about the alleged inherent implausibility of the defences, he
      said:

             “58. Given that I do not own any of the companies involved in
             the AAA Transactions, did not control or authorise any of the
             transactions, and knew nothing about the transactions, it is
             impossible for me to give any explanation for them. All I could
             do is speculate as to the commercial rationale having now seen



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             some of the transactional documents (albeit many of them are
             only draft documents).”

24.   While conceding that he was necessarily speculating, Mr Ablyazov went on to
      suggest that the transactions might have constituted, or formed part of, a “repo deal”,
      by which he meant “a repurchase transaction under a contract for the sale of a
      property with its subsequent purchase back at a fixed price”. He added that the
      purpose of the “repo deal” is not the sale of the asset, but a secured loan. He said he
      was aware that the Bank had entered into treasury transactions of that nature before
      his appointment as chairman, and expressed his belief that the practice had continued
      after his appointment because the same treasury personnel had remained in post,
      including the Head of Treasury, Mr Mukhametzhanov.

25.   In another section of his statement (paragraphs 64 to 75), Mr Ablyazov set out a
      number of reasons why he claimed that he would be unable to receive a fair trial. He
      referred to the political position in Kazakhstan, and the power wielded by President
      Nazarbayev, Mr Ablyazov’s former political opponent. He said that any statement
      given by anyone at the Bank was likely to be given under duress, and that pressure
      had already been exerted on persons who were, or were perceived to be, associated
      with him. He repeated his belief that the only way for a complete picture of the AAA
      transactions to emerge would be for the case to proceed to trial, with full disclosure
      and cross-examination of relevant employees of the Bank.

26.   By way of reply to the evidence served on behalf of Mr Ablyazov, the Bank filed a
      further statement by Mr Hardman (his nineteenth, dated 24 May 2012) and a
      statement by Mr Mukhametzhanov of the same date.

27.   Mr Hardman recorded that no evidence had been filed by the BVI Defendants, and
      their solicitors (Keystone Law) had confirmed that they had no further evidence to
      serve in connection with the application. Mr Hardman also pointed out that Mr
      Ablyazov had not adduced any evidence from Mr Solodchenko to support his
      defence, despite the fact that they were both represented by the same solicitors.
      Similarly, no evidence had been adduced from Mr Sadykov (a former senior
      employee of the Bank) or from Syrym Shalabayev (Mr Ablyazov’s brother in law,
      who administered the BVI Defendants, and was their “nominee ultimate beneficial
      owner” from October 2008 to April 2009), even though both had given evidence on
      behalf of Mr Ablyazov at the trial of the committal proceedings.

28.   In relation to an issue of causation under Kazakh law raised by Professor Maggs, Mr
      Hardman said that he had spoken to Jyrkie Talvitie (“Mr Talvitie”), who had been an
      independent member of the Bank’s board of directors at the relevant time, and who
      was still on the board. When the AAA transactions had been explained to him, Mr
      Talvitie:

             “… confirmed to me, in his capacity as Board member
             representing the interests of a major shareholder of the Bank,
             that he would not have voted to approve the Bank entering into
             those transactions had they come before the Board of Directors
             of the Bank because of the extremely high risks involved for
             the Bank and the lack of any apparent commercial reason for
             the Bank to do so.”



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      Likewise, Mr Talvitie said he would not have voted in favour of the Bank granting
      security in 2008 in favour of Alfa Equity so that the BVI Defendants could enter into
      the short sale agreements, nor would he have voted in January 2009 for the Bank to
      transfer the AAA Investments for no consideration. He said “he would have regarded
      such a transaction as of no value to the Bank and completely uncommercial”.

29.   Mr Mukhametzhanov explained in his evidence that he had held the position of Head
      of Treasury of the Bank since 2002. Between 2005 and May 2008 he reported to Mr
      Solodchenko. Thereafter, until the nationalisation in February 2009, he reported to Mr
      Zharimbetov. He set out his understanding of “repo” transactions, and the limited
      circumstances in which the Bank made use of them. He said that the counterparties to
      such transactions which the Bank entered into before February 2009 were either
      “recognised international financial institutions”, or the transaction was conducted
      through the Kazakh stock exchange, in which case the ultimate counterparty would
      not be known to the Bank. He continued:

             “I cannot recall any REPO transactions where the counter party
             was known to the Bank and was not a bank or other financial
             institution. As far as I remember, the Bank did not ever enter
             into REPO transactions with related parties.”

30.   In relation to the initial transfer of the AAA Investments to Alfa Equity, Mr
      Mukhametzhanov said that as far as he was aware it was a routine operational
      transfer, probably made because unlike other custodians Alfa Equity agreed not to
      charge the Bank for holding the securities. The AAA Investments formed part of the
      Bank’s investment portfolio, as opposed to its trading portfolio, and if the Bank was
      to hold them for a significant period, the reduction in custody fees was an obvious
      attraction.

31.   At a hearing for directions on 26 March 2012, Mann J had set a timetable for evidence
      on the summary judgment application and ordered that it be expedited and listed for
      hearing with a three day time estimate before 18 July 2012. It appears to have been
      common ground at that stage that the application was a relatively straightforward one,
      that the scope of the evidence would not go beyond matters raised by the Bank in its
      initial evidence in support, and that the Bank’s evidence in reply would be evidence in
      reply, strictly so called. In the light of that understanding, and the directions given by
      Mann J, a dispute arose as to whether the Bank’s evidence in reply, including in
      particular the statement of Mr Mukhametzhanov, fell within the scope of the order.
      This concern was raised by Mr Ablyazov, in a second statement of his dated 23 June
      2012. He also took the opportunity to reply to Mr Hardman’s nineteenth statement,
      and expressed some disparaging views about Mr Talvitie’s knowledge and
      experience.

32.   Two further statements were also filed on Mr Ablyazov’s behalf: one from Mr
      Solodchenko, and the other from Lara Melrose, an associate of Addleshaw Goddard.
      Mr Solodchenko responded to the Bank’s evidence in reply, and among other things
      firmly denied that he had authorised or overseen the AAA transactions. He did not,
      however, offer any explanation of his apparent role in them. The evidence of Ms
      Melrose was primarily directed to challenges to the receivership order over Mr
      Ablyazov’s assets, and submissions that it would be unjust to allow the Bank to rely



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      on Teare J’s findings about the beneficial ownership of Bubris because only limited
      disclosure had taken place in the committal proceedings.

33.   On 5 July 2012, Mr Hardman responded to this additional evidence in his twenty-first
      statement. He also said it had been “noticed” that not all of the documents relied
      upon by Teare J in relation to Bubris, nor all of the documents referred to in the re-
      amended particulars of claim, were in evidence before the court. He sought to remedy
      these deficiencies by exhibiting key further documents in his exhibits CGH 39 and 40.

34.   On 6 July 2012, the Bank issued an application for permission to rely on additional
      materials in relation to the summary judgment application, including Mr Hardman’s
      twenty-first statement with its exhibits and a supplementary expert report from Mr
      Markov. Meanwhile, on 2 to 4 July the Court of Appeal had heard Mr Ablyazov’s
      appeal from the orders made by Teare J on the committal application and the Unless
      Order. The Court of Appeal had reserved judgment, and it was thought unlikely that
      its decision would be available before the end of term on 31 July.

35.   It was against this background that the summary judgment application came on for
      hearing before Vos J on 11 July 2012. On that day and the next, he heard argument
      on behalf of the Bank from leading counsel (then, as now, Mr Stephen Smith QC
      leading Ms Emily Gillett). Mr Ablyazov was represented by Mr Charles Béar QC
      leading Mr George Hayman. On the third day of the hearing, Friday 13 July 2012,
      Vos J heard and determined a formal application by Mr Ablyazov to strike out the
      summary judgment application. Vos J dismissed the application, giving his reasons in
      an extempore judgment: see JSC BTA Bank v Solodchenko and others [2012] EWHC
      1983 (Ch). Mr Ablyazov subsequently applied for permission to appeal from this
      decision, but his application was dismissed by Mummery LJ on 2 October 2012.

36.   The strike out application having been dismissed, it is hardly surprising that Vos J
      then decided that the further hearing of the summary judgment application should be
      adjourned until after the Court of Appeal had delivered its judgment. It would plainly
      have been undesirable for Vos J to reach a conclusion on the beneficial ownership of
      Bubris, whether on the basis of issue estoppel or of an independent review of the
      underlying material, before the views of the Court of Appeal were known.
      Accordingly, by an order made on 13 July 2012 he adjourned the summary judgment
      application part-heard to be fixed on the first available date on or after 15 October
      2012 for three days. He directed that the Bank’s oral submissions (both in
      continuation of its opening submissions, and in reply) should be limited to a total of
      one day, and that Mr Ablyazov’s oral submissions should be limited to a total of two
      days. In relation to evidence, Vos J gave the Bank permission to file any further
      evidence on which it wished to rely by 1 August 2012, and similar permission to Mr
      Ablyazov to file further evidence by 12 September 2012, with any evidence in reply
      (strictly so called) to be filed by the Bank by 26 September. In relation to the Bank’s
      application of 6 July, Vos J granted permission to the Bank to rely on the documents
      which had been before Teare J on the Bubris issue, namely those contained in exhibit
      CGH 39, but adjourned the balance of the application to be dealt with at the further
      hearing in October. Permission was also granted to Mr Ablyazov to rely on the
      evidence already filed on his behalf.

37.   In his judgment dismissing the strike out application, Vos J summarised the three
      arguments advanced by Mr Béar in support of the application. First, Mr Béar



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      submitted that the application was no longer based upon the same evidence as it had
      been at the outset, and the Bank had failed to comply with the procedural
      requirements of CPR Part 24. Secondly, he submitted that the case was anyway not
      suitable for summary judgment, in view of its huge complexity and the allegations of
      fraud made against Mr Ablyazov. Thirdly, he submitted that the application was
      pointless, because on the assumption that the Unless Order was not reversed by the
      Court of Appeal, there would be a judgment against Mr Ablyazov for billions of
      dollars to which an additional judgment for US$300 million plus interest would be
      completely irrelevant.

38.   After setting out the principles by reference to which the court may give summary
      judgment under CPR Part 24, and citing from the decision of the Court of Appeal in
      Mentmore International Ltd v Abbey Healthcare [2010] EWCA Civ 761 at [20] to
      [23], Vos J dealt in turn with the three arguments advanced on behalf of Mr
      Ablyazov.

39.   In relation to the first argument, he said this:

              “26. As I have indicated, Mr Béar argues that I should not
              override the rules that I have set out as to the filing of evidence
              so as to allow the Bank effectively to change its case and rely
              on a far wider gamut of documentation than was referred to in
              their original application.

              27. This would normally be a very strong point to make. In this
              case, however, whilst it is true that the Bank has widened the
              scope of the application, it has done so with an understanding
              of what is really in issue before the court. As Mr Béar said in
              his skeleton argument, citing a point that I made yesterday to
              Mr Smith:

                 “But you confine yourself to saying, (1) here are the
                 transactions, (2) it is wholly implausible that they are honest,
                 (3) loss was caused, and (4) it is perfectly obvious from the
                 UBO material that he, Ablyazov, must have been the UBO”.

              Mr Smith accepted that. It is therefore now clear, even if it was
              not clear at the outset of this application, that the Bank is
              seeking to establish that on the information that was before
              Teare J it is not necessary to go into the detail of the
              transactions or to have disclosure in relation to the detail of the
              AAA transactions in order to satisfy the court that summary
              judgment is appropriate.

              28. Mr Béar would plainly be correct in saying that it would be
              impossible to decide a summary judgment application if it were
              necessary to go into the details of the AAA transactions.
              Effectively, the Bank is saying that the transactions speak for
              themselves.




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             29. Nonetheless, the Bank realised in the course of its argument
             that it needed to put me in the same position as Teare J and the
             Court of Appeal was in when they heard those applications.
             That is the reason why additional evidence has been filed (in
             addition to the question of Kazakh law) and in my judgment it
             is reasonable to allow the Bank to make sure that its application
             can sensibly be heard by ensuring that what is before me is as
             comprehensive as what was before Teare J and what was before
             the Court of Appeal. But they cannot go further than that and I
             do not think they seek to.”

      Vos J then considered whether the Bank should be allowed the necessary indulgence
      to serve the material in question later than they should have done. He held that the
      indulgence should be granted: see paragraphs [31] to [34].

40.   On the second question, namely whether the case was suitable for summary judgment,
      Vos J also made some important observations which I need to quote:

             “37. In effect, Mr Béar says that there would need to be a much
             higher degree of certitude in this case than in other cases, not
             only because it is a fraud case but because it is a complex case
             where cross-examination and disclosure may reveal all sorts of
             things which we can only imagine at this stage, and he says that
             this is a short cut that is wholly inappropriate in this kind of
             case.

             38. I do not accept those submissions. I have considered the
             issues that have been placed before me thus far. Nothing I say
             should be taken as giving any indication of the way in which I
             may in due course decide the summary judgment application. I
             have not yet heard full argument and I have no view, even a
             provisional view, as to the likely outcome of it.

             39. But it does seem to me that the Bank is seeking to raise a
             relatively simple argument. I say “relatively simple” because it
             is only relatively simple in the context of an extremely complex
             case. One of the problems with this litigation has been
             throughout that there have been so many decisions and so many
             appeals in different courts with different personnel that until
             one understands the history, one is hardly in a position to
             understand the application with which the court is faced at any
             particular time. But I have had the good fortune to hear, I
             think, six days of argument in this case on a quite separate
             matter of a committal motion against another defendant [Mr
             Ereshchenko] only a couple of weeks ago. Whilst that has been
             the subject of complaint by Mr Béar, who says that Mr Smith
             and I are ahead of him because he did not attend that hearing, it
             has enabled me to get a grip on the complex history of this
             case.

             …



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            42. I now have an extremely clear idea of what would need to
            be decided in order to grant summary judgment. I also have an
            extremely clear idea of the defences that Mr Ablyazov, through
            Mr Béar, is intending to raise. I can say, without giving any
            indication as to my view, that those are in some cases
            formidable arguments but they are formidable arguments that
            need to be resolved and can be resolved in a further period of
            just three days’ argument.

            …

            45. But the reason, just briefly, why I think summary judgment
            may be appropriate is because … it is possibly arguable on
            behalf of the Bank that it could be obvious from the
            transactions that they were not honest. I am fully conscious of
            Mr Béar’s submission that quite the reverse is obvious, but it
            seems [to] me that until full argument has been heard I cannot
            take a view one way or the other.

            46. If it were obvious that the transactions were dishonest then
            that would be one point in the Bank’s favour. That would
            negate the need for what could be a massive investigation into
            the detail of these transactions and the personnel involved in
            them.

            47. Likewise, I have not heard argument on the question of
            loss. Under Kazakhstan law it is common ground that causation
            of loss must be shown. It seems to me that that could be
            arguably obvious and equally it could be arguably not obvious.
            But the Bank is simply saying: “We succeed if it is obvious and
            we do not succeed if it is not obvious”. As it seems to me that,
            again, is something that remains in play.

            48. The further questions that I have to take into account are
            difficult questions, raised by the defendant, of Kazakhstan law.
            I have not yet had an opportunity to hear any argument on that
            and again do not have any view, even a provisional view. But
            from the little I have read it at least seems to me possible that
            the Bank will be able to argue that the very interesting disputes
            between the experts on Kazakhstan law are nothing to the point
            in this particular case. Again, I am not prejudging it. Mr Béar
            may be entirely right that the arguments are substantial and
            need to be resolved after oral evidence. But if he were not right
            and in one day’s further argument on Kazakhstan law I could
            reach a clear view, then that would save days, and possibly
            weeks of court time …

            49. As regards the fourth point – namely whether or not it is
            obvious that the UBO material shows that Mr Ablyazov must
            have been the UBO of the five BVI defendants – that, as it
            seems to me, is a question which has already been determined



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             against Mr Béar by Teare J on the criminal standard. So there
             must be some possibility that I will decide it against him
             again.”

41.   Finally, Vos J also rejected Mr Béar’s third argument, for reasons which I need not
      rehearse. A point not mentioned by Vos J in this context, but made to me on behalf of
      the Bank, is that a summary judgment on the merits is likely to be easier to enforce in
      foreign jurisdictions than a default judgment. For the same reason, I have been asked
      to produce a fully reasoned judgment on this application, even though it is
      undefended.

42.   I must now bring the procedural position up to date. On 1 August 2012, the Bank filed
      a further statement by Mr Hardman (his twenty-second), to which Mr Ablyazov
      replied on 12 September in his third statement. A point worth noting is the
      acceptance by Mr Ablyazov in this statement that he did not use email during his time
      at the Bank, and while there were email addresses available for him to use, this
      happened “very rarely”, and he never sent the email himself. A further statement on
      behalf of Mr Ablyazov was also filed by Kitaj Woodward, an associate of Addleshaw
      Goddard, containing material relevant to the Bank’s knowledge of the AAA
      transactions. Mr Hardman then made a statement in reply (his twenty-third) on 26
      September 2012.

43.   Because the Court of Appeal had still not handed down its judgment, the hearing
      arranged for mid-October 2012 had to be vacated. The Court of Appeal’s judgment
      was handed down on 6 November 2012, but by then there was no realistic prospect of
      re-listing the summary judgment application in the near future because the Bank’s
      legal team was fully occupied with the 14 week trial of the Drey, Granton and
      Chrysopa proceedings which began on 7 November 2012. Teare J handed down his
      judgment in that trial on 19 March 2013. Not long afterwards, the promotion of Vos J
      to the Court of Appeal was announced, with effect from 1 October 2013. Efforts were
      made by the Bank to obtain a listing of the adjourned summary judgment application
      before Vos J during the summer of 2013, but this was not possible because of the
      unavailability of Mr Ablyazov’s counsel. Accordingly, the application was eventually
      released by Vos J and a hearing before another judge (in the event, myself) was listed
      for the week commencing 7 October 2013. Meanwhile, on 6 September 2013 Mr
      Hardman filed another statement (his twenty-fourth) dealing with events since the
      matter had last been before Vos J in July 2012.

Summary judgment: relevant principles

44.   CPR rule 24.2 provides as follows:

             “The court may give summary judgment against a … defendant
             on the whole of a claim or on a particular issue if –

                (a) it considers that –

                      …

                      (ii) that defendant has no real prospect of successfully
                      defending the claim or issue; and



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                (b) there is no other compelling reason why the case or issue
                should be disposed of at a trial.”

      By virtue of rule 24.3(2), the court may give summary judgment against a defendant
      “in any type of proceedings”, subject to immaterial exceptions.

45.   The principles that the court should apply in deciding whether a defendant has no real
      prospect of successfully defending the claim have been considered by the courts in a
      number of well-known authorities. In respectful agreement with Vos J, I consider that
      for present purposes it is enough to cite the guidance given by Carnwath LJ (with
      whom Morgan J and Arden LJ agreed) in the Mentmore case at paragraphs [20] to
      [23], as follows:

             “20. It is important to keep in mind the principles to be applied
             in deciding whether a case is suitable for disposal on a
             summary basis. The most authoritative up-to-date statement is
             that of Lord Hope in Three Rivers DC v Bank of England (No.
             3) [2001] 2 All ER 513:

                “In other cases it may be possible to say with confidence
                before trial that the factual basis for the claim is fanciful
                because it is entirely without substance. It may be clear
                beyond question that the statement of facts is contradicted by
                all the documents or other material on which it is based. The
                simpler the case the easier it is likely to be to take that view
                and resort to what is properly called summary judgment.
                But more complex cases are unlikely to be capable of being
                resolved in that way without conducting a mini-trial on the
                documents, without discovery and without oral evidence. As
                Lord Woolf said in Swain v Hillman [2001] 1 All ER 91, at
                p. 95 that is not the object of the rule. It is designed to deal
                with cases that are not fit for trial at all.”

             21. Another frequently cited passage on the same theme is the
             judgment of Colman J in De Molestina v Ponton [2002] 1
             Lloyd’s Rep 271, 280 para 3.5, speaking of the difficulty of
             basing summary judgment on inferences of fact in a complex
             case:

                “…, as Three Rivers District Council shows, where the
                application in such complex cases relies on inferences of
                fact, the overriding objective may well require the claim to
                go to trial in the interest of a fair trial. That is because the
                relevant inference could not be safely drawn without further
                discovery and oral evidence at the trial. It is thus necessary,
                where such inferences are relevant, to guard against the
                temptation of drawing them as a matter of probability,
                because the achievement of the overriding objective requires
                a much higher degree of certitude. Where in a complex case,
                as may often be the situation, the frontier between what is



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               merely improbable and what is clearly fanciful is blurred, the
               case or issue should be left to trial.”

             22. To these familiar citations, Mr Reza adds the words of
             Potter LJ in ED&F Man Liquid Products v Patel [2003] EWCA
             Civ 472 para 10:

               “However, that does not mean that the court has to accept
               without analysis everything said by a party in his statements
               before the court. In some cases it may be clear that there is
               no real substance in factual assertions made, particularly if
               contradicted by contemporary documents. If so, issues
               which are dependent upon those factual assertions may be
               susceptible of disposal at an early stage so as to save the cost
               and delay of trying an issue the outcome of which is
               inevitable …”

             23. If Mr Reza was hoping to find in those words some
             qualification of Lord Hope’s approach, he will be disappointed.
             The Three Rivers case was specifically cited by Potter LJ. He
             was in my view intending no more than a summary of the same
             principles. Lord Hope had spoken of a statement contradicted
             by “all the documents or other material on which it is based”
             (emphasis added). It was only in such a clear case that he was
             envisaging the possibility of rejecting factual assertions in the
             witness statements. It is in my view important not to equate
             what may be very powerful cross-examination ammunition,
             with the kind of “knock-out blow” which Lord Hope seems to
             have had in mind.”

46.   It does not follow from these salutary principles, however, that summary judgment
      can never be appropriate in a complex case where fraud is alleged. As an example of
      such a case, counsel for the Bank referred me to the decision of Hart J in R B G
      Resources Plc (in liquidation) v Rastogi and others [2004] EWHC 1089 (Ch). In that
      case, summary judgment was granted, after a four day contested hearing, for a sum in
      excess of US$300 million against individuals who, on the claimant’s case, had
      orchestrated a fraudulent scheme involving hundreds of allegedly bogus metal trading
      transactions with companies which they secretly controlled. Although the fraud was,
      as Hart J said, “both massive and complex”, he acknowledged that its proof turned on
      the establishment of one central proposition, namely the connection between the
      supposedly independent counterparties and the defendants: see paragraph [13]. As
      Hart J recorded in paragraph [11], the alleged fraud involved over 250 companies and
      the claimant relied on “nine voluminous witness statements and thousands of
      exhibited documents”. The defendants had therefore submitted that the application
      for summary judgment necessarily involved conducting a “mini trial” on the
      documents, and doing so in circumstances which were manifestly unfair to the
      defendants, given that there had been no disclosure by the claimant, the defendants
      themselves had no access to documentation, and they were unable to test the evidence
      deployed against them. Hart J nevertheless held, in paragraph [14], that:




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             “… the ability of the defendants to show a realistic prospect of
             success on the “control” issue should be determinative of this
             application so far as liability is concerned. The litigation
             disadvantages on which they rely (absence of disclosure or
             independent sources of documentation and so forth) have to be
             seen in that context.”

The beneficial ownership of the BVI defendants

47.   In considering whether Mr Ablyazov has a realistic prospect of successfully
      defending the Bank’s claim, it is convenient to begin with the question of the
      beneficial ownership of the BVI Defendants. Mr Smith accepts on behalf of the Bank
      that there are three propositions of fact which the Bank needs to establish to the
      summary judgment standard, of which the first is that Mr Ablyazov was the ultimate
      beneficial owner and controller of the BVI Defendants. The second proposition is that
      the BVI Defendants received the AAA Investments without providing any
      consideration for them and without ever having any intention that any, or any
      meaningful, consideration would be provided for them. The third proposition is that
      the transfer of the AAA Investments caused loss to the Bank.

48.   In relation to the first proposition, the starting point is that Mr Ablyazov’s beneficial
      ownership of Bubris, one of the five BVI Defendants, has already been established by
      Teare J in the committal proceedings to the criminal standard of proof, and Mr
      Ablyazov’s appeal against that conclusion has been dismissed by the Court of Appeal.
      In my judgment it is clear that these findings give rise to an issue estoppel, which
      would preclude Mr Ablyazov from contending the contrary in the AAA proceedings
      unless he could bring himself within the narrow exception recognised by the House of
      Lords in Arnold v NatWest Bank Plc [1991] 2 AC 93. In order to create an issue
      estoppel, three requirements have to be satisfied. They were stated as follows by Lord
      Brandon of Oakbrook in The Sennar (No. 2) [1985] 1 WLR 490 at 499B:

             “The first requirement is that the judgment in the earlier action
             relied on as creating an estoppel must be (a) of a court of
             competent jurisdiction, (b) final and conclusive and (c) on the
             merits. The second requirement is that the parties (or privies) in
             the earlier action relied on as creating an estoppel, and those in
             the later action in which that estoppel is raised as a bar, must be
             the same. The third requirement is that the issue in the later
             action, in which the estoppel is raised as a bar, must be the
             same issue as that decided by the judgment in the earlier
             action.”

49.   It is plain, in my view, that each of those requirements is satisfied. The judgment of
      Teare J was a judgment of the English High Court; it was final and conclusive as
      between the Bank and Mr Ablyazov, subject only to the possibility of a successful
      appeal; and it was a judgment “on the merits” in the sense explained in The Sennar
      (No. 2) by Lord Diplock at 494A-C and by Lord Brandon at 499F-G. The relevant
      parties in each action are the same, namely the Bank and Mr Ablyazov. The issue is
      also the same, namely whether Mr Ablyazov was at the material times the beneficial
      owner of Bubris.



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50.   The exception recognised by the House of Lords in Arnold was formulated by Lord
      Keith of Kinkel (with whose speech the other members of the House agreed) in the
      following terms, at 109A:

             “In my opinion your Lordships should affirm it to be the law
             that there may be an exception to issue estoppel in the special
             circumstance that there has become available to a party further
             material relevant to the correct determination of a point
             involved in the earlier proceedings, whether or not that point
             was specifically raised and decided, being material which could
             not by reasonable diligence have been adduced in those
             proceedings. One of the purposes of estoppel being to work
             justice between the parties, it is open to courts to recognise that
             in special circumstances inflexible application of it may have
             the opposite result …”

51.   In the evidence adduced by him on the summary judgment application, Mr Ablyazov
      has in my judgment been unable to point to any further material which might cast
      doubt on the correctness of the conclusion reached by Teare J and affirmed by the
      Court of Appeal. The highest he could put the point would be to say that, if the case
      went to a full trial, further material might become available which in turn might
      arguably be sufficient to trigger the exception. In my view, however, this possibility
      is so remote that it can safely be dismissed as fanciful. In the first place, a large
      amount of documentary and oral evidence was considered by Teare J, including the
      oral evidence of Mr Ablyazov himself, in reaching his conclusion. Secondly, the
      question whether sufficient material was available to enable the court to adjudicate
      with safety on the issue was expressly considered, both when the Bubris issue was
      selected as one of the three sample counts of alleged contempt and when Teare J
      considered the evidence at the trial. In each case, he concluded that the matter could
      be determined without any risk of injustice to Mr Ablyazov. Furthermore, although
      there had been no general order for disclosure in the AAA proceedings, the Bank was
      ordered in the committal proceedings against Mr Ablyazov to give disclosure of any
      material relevant to the Bubris issue which might assist Mr Ablyazov’s case. Thirdly,
      given the nature of the issue, it seems to me inherently most improbable that the Bank
      would be in possession of any further documents which might cast doubt on Mr
      Ablyazov’s beneficial ownership of Bubris. Conversely, his contention that Mr
      Sadykov was the beneficial owner was examined in meticulous detail by Teare J and
      dismissed as a fabrication.

52.   I am accordingly satisfied that I can safely proceed on the assumption that, if the case
      were to go to trial, Mr Ablyazov would be estopped from denying his beneficial
      ownership of Bubris. In those circumstances, it is strictly unnecessary for me to
      consider the detailed reasoning which led Teare J to his conclusion, or the reasoning
      of the Court of Appeal in dismissing Mr Ablyazov’s appeal on the issue. Still less is
      it necessary for me to undertake the same exercise for a third time myself.
      Nevertheless, I will say that I was taken through the relevant parts of both judgments
      by Mr Smith, and shown most of the underlying material upon which they were
      based. Having done this, I can only say that, were it necessary to do so, I would have
      no hesitation in reaching the same conclusion myself.




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53.   It may also be helpful if, without descending into the question in detail, I give some
      indication of the reasoning which led Teare J and the Court of Appeal to their
      respective conclusions. Teare J dealt with the Bubris allegation in paragraphs 84 and
      following of his judgment. After discussing the evidence relating to the successive
      nominal or ostensible UBOs of Bubris, he expressed his main conclusions as follows
      (under the heading “Who was the true beneficial owner of Bubris?”):

             “119. I accept that there is no direct evidence that Mr.
             Ablyazov was the true ultimate beneficiary of the shares in
             Bubris. In the circumstances of this case that is not a matter of
             surprise. His ownership of assets is expressly structured to
             ensure that no paper trail leads to him. Nevertheless, the Bank
             has the burden of making the court sure that the only
             reasonable inference to be drawn from the matters to which I
             have referred is that Mr. Ablyazov is the true beneficiary of
             those shares.

             120. Mr. Sadykov has said in a written statement dated 25
             November 2011 that he was the owner of Bubris. But he also
             said that he informed Mr. Kythreotis by post in May 2010 that
             he had been the owner or beneficiary of Bubris since April
             2008. The suggestion that he wrote such a letter in May 2010
             was untrue for the reasons I have already given …

             121. Whether or not Mr. Sadykov is a man of such wealth as
             would enable him, through the vehicle of a creature company,
             to enter into obligations to the Bank worth $300m., the fact that
             Mr. Batyrgarejev [an admitted close business associate and
             nominee of Mr Ablyazov’s] was appointed the UBO in April
             2009 and remained so until February 2010 sits most unhappily
             alongside the notion that Mr. Sadykov is and always was the
             true beneficial owner. For, as I have already said, Mr.
             Batyrgarejev’s appointment as UBO is a powerful indication
             that Mr. Ablyazov was the true beneficial owner. Further, the
             circumstances in which Mr. Batyrgarejev was removed as UBO
             in February 2010 and the fact that the letter dated 7 May 2010
             from Mr. Sadykov was backdated are indicative of steps being
             taken by those administering Bubris to keep Mr. Ablyazov’s
             interest in Bubris secret from the Bank. Finally, there is no
             credible reason why Mr. Sadykov, if he were the true owner of
             Bubris and had remained hidden since 2008, should choose
             September 2010 to take centre stage after Bubris had been
             made a defendant to the AAA proceedings.

             122. For these reasons I am persuaded so that I am sure that
             Mr. Ablyazov is and has been at all material times the true
             beneficiary of the shares in Bubris. The shares were held on
             his behalf, successively, by Mr. Udovenko, Syrym Shalabayev,
             Mr. Batyrgarejev, Mr. Kovalenko and finally Mr. Sadykov. In
             reaching this conclusion I have considered all of Mr Matthews’
             submissions at pp.112-145 of his Closing Submissions but they



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             do not cause me to doubt the conclusion I have reached. Nor
             do I consider that Mr. Ablyazov’s denial of ownership may be
             true. I am sure that it is not. I have noted the submission that
             in circumstances where the ownership of Bubris is an issue in
             the AAA action I ought not to decide the matter now when I
             have not heard all the evidence which will be adduced at trial
             and that in such circumstances I cannot be sure that Bubris is
             owned by Mr. Ablyazov. When giving directions for the trial
             of the contempt allegation this point was considered and
             rejected. There was an appeal from my decision and the appeal
             was dismissed; see [2011] EWCA Civ 1386. In any event I
             remain of the view that it is unlikely that there will be any more
             material evidence on this issue beyond that which has been
             provided on this occasion.”

54.   In the Court of Appeal, Rix LJ dealt with the Bubris allegation in paragraphs 65 to 75
      of his judgment. He began by saying that there were 54 paragraphs of skeleton
      argument devoted to Bubris, and then summarised the complaints that were made on
      Mr Ablyazov’s behalf. He continued:

             “66. These submissions track the whole of the evidence and
             arguments deployed at trial. It is an attempt simply to reargue
             the trial. The judge was meticulous in dealing with every aspect
             of that evidence and argument in his judgment. I have
             considered these submissions, with the aid of the bank’s
             skeleton and the judge’s judgment, with care, but I cannot find
             in the submissions made on appeal any reason for doubting the
             judge’s own careful evaluations and conclusions, which I find
             compelling. It is probably superfluous, and, given this court’s
             far lesser exposure to the materials and evidence and argument
             than the judge enjoyed, even problematical, to attempt to put
             into my own words, succinctly, the reasons why I find the
             bank’s case on the Bubris allegation fully proved, to the
             criminal standard. That is not even of course the test on appeal.
             There is simply no error shown in the judge’s findings or
             reasoning. His conclusion is entirely safe.”

55.   Despite that disclaimer, however, Rix LJ went on to consider the relevant arguments
      in considerable detail, before concluding as follows:

             “74. There is thus compelling circumstantial evidence that Mr
             Ablyazov was the true owner of Bubris. There is no
             documentary evidence to the contrary (the declaration of Mr
             Sadykov as the UBO stands by itself in no different category
             from the four previous UBO declarations). The judge was
             entitled and right to discount the evidence of Mr Ablyazov and
             his other witnesses, and indeed to find that such evidence was
             incredible and to be lies.




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              75. For these reasons, which essentially track those of the
              judge, I would dismiss this appeal in relation to the first finding
              of contempt.”

56.    On the assumption that Mr Ablyazov was indeed the ultimate beneficial owner of
       Bubris, the inference that he was also the UBO of the other four BVI Defendants is in
       my judgment irresistible. As I have already said, it is their own pleaded case that they
       have always been in the same beneficial ownership, and there is no evidence that they
       have ever acted independently of one another (with the single exception of the
       apparent retention by Bubris of approximately US$42.5 million of its share of the
       proceeds of the short sales: see paragraph 15(7) above). More generally, the known
       facts about the impugned transactions clearly show that the BVI Defendants were
       throughout acting together in pursuit of a common plan.

57.    For these reasons, I am satisfied that Mr Ablyazov was the ultimate beneficial owner
       of all five BVI Defendants, and that there is no reasonable prospect of the court
       reaching a contrary conclusion if the case were to go to trial. I emphasise that I am
       not merely deciding this question on a balance of probabilities, which (as the
       authorities show) would be insufficient at this stage. I consider the chances of a
       different conclusion being reached at trial to be truly insignificant.

Possible justifications for the transactions

58.    Pausing at this point, it is now established that in June 2008 the BVI Defendants,
       beneficially owned by Mr Ablyazov, entered into short sales of securities equivalent
       to the AAA Investments, and received the full amount of the consideration for the
       sales. In January 2009, the AAA Investments themselves were transferred by the
       Bank, under the signature of Mr Solodchenko, to the BVI Defendants for no recorded
       consideration, thereby enabling the BVI Defendants to honour their delivery
       obligations to Alfa Equity. On the face of it, therefore, beneficial ownership of the
       AAA Investments passed from the Bank to the BVI Defendants, and then from the
       BVI Defendants to Alfa Equity, without the Bank receiving anything in return. How
       could such a series of transactions possibly be justified as having been in the
       commercial interests of the Bank? In considering this question, it is instructive to
       examine the attempts which appear to have been made to provide a paper trail which
       might provide at least a superficial justification for the transactions.

59.    The first possible attempt of which there is some evidence concerns the email of 13
       June 2008 and the documents sent with it for signature by Mr Solodchenko. It will be
       remembered that this email said that the “transaction with Alfa Bank” was under the
       control of Mr Ablyazov. The attached documents were five draft sale and purchase
       agreements, each entered into between the Bank as seller and one of the BVI
       Defendants as purchaser. Two of the draft agreements were dated 9 June 2008; the
       other three were undated. Each had apparently been signed on behalf of the relevant
       BVI Defendant, but remained to be signed on behalf of the Bank. In addition, neither
       the identity of the securities to be sold, nor the purchase price, had yet been filled in.
       Each draft agreement provided for the purchase price to be paid ten business days
       after the date of delivery of the securities, which was itself three business days after
       the date of the agreement. There was no provision for any form of security for either
       the payment or the delivery obligations. The agreements were said to be governed by



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      English law, and provision was made for their execution in both English and Russian
      language versions, with the English version to prevail in the event of any conflict.

60.   There is no evidence that these draft agreements were ever executed, and (assuming
      they were intended to apply to the AAA Investments) it is hard to see how they could
      have been, given that most of the proceeds of the short sales were immediately paid
      on by the BVI Defendants to the Further Recipients. There is no explicit connection
      between the draft agreements and the AAA Investments. Nevertheless, given the
      terms of the covering email, and the absence of evidence of any other transactions
      between the Bank and the BVI Defendants at this date, there is a strong inference that
      the agreements were in some way intended to provide an ostensible justification for
      the AAA Investments ending up in the hands of the BVI Defendants. Even if that is
      wrong – and I accept that the truth on this point could only be conclusively
      established at trial – the episode is still of significance, because on any view it
      establishes, as counsel for the Bank put it in their skeleton argument, “a further clear
      contemporaneous connection between the Bank’s assets and the “short” sale entered
      into by the BVI Defendants”.

61.   The AAA Investments were transferred by the Bank to the BVI Defendants on or
      around 22 January 2009. It is unlikely to be a coincidence that 22 January 2009 was
      also the date when the financial regulatory authority of the Kazakh government (the
      Financial Market and Financial Organisations Control and Supervision Agency, the
      “AFN”) sent its final report to the Bank following inspections which it had carried out
      between October and December 2008. In the Trial Judgment, Teare J described the
      content of this report in the following terms:

             “41. On 22 January 2009 the AFN sent the Bank its final report
             following its inspections between 22 October and 12 December
             2008, the purpose of which had been (a) to check on whether
             the Bank had implemented any plan to eliminate the violations
             found in the previous inspection and (b) to classify the Bank’s
             loan portfolio. The AFN concluded that the required steps to
             improve the Bank’s business had not been taken. The AFN
             noted the continuing practice of lending to companies in the
             BVI and the Seychelles and that notwithstanding the AFN’s
             advice about a conflict of interest the Bank had, on 30 April
             2008, arranged for Mr Ablyazov to chair the regional credit
             committees for Russia and the CIS. Following its review of the
             loan portfolio (in which the AFN classified 19.46% of the
             portfolio as non-performing whereas the Bank had classified
             only 1.82% as non-performing) the AFN required additional
             provisions of … about US$3.58 billion based upon the financial
             position as at 1 October 2008.”

62.   By this stage, if not before, the senior management of the Bank must have realised
      that the writing was on the wall, and that there was no prospect of the Bank finding
      the additional funding required by the AFN. Less than two weeks later, on 2 February
      2009, the Bank was nationalised, Mr Ablyazov was dismissed as chairman of the
      Bank’s board of directors, and he fled from Kazakhstan to London. Around the same
      time, Mr Solodchenko’s employment by the Bank also came to an end. According to
      his own amended defence, he was dismissed as a member of the Bank’s board of



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      directors on 3 February 2009; on 17 February 2009, he was dismissed as chairman of
      the Bank’s management board, and appointed as deputy chairman of it; he then left
      Kazakhstan in early March 2009, travelling to Moscow and then to London; and on 6
      March 2009, he resigned from his employment with the Bank and his position as
      deputy chairman of the management board. On any view, therefore, his relationship
      with the Bank had terminated by 6 March 2009 at the latest.

63.   Two days later, on 8 March 2009, Syrym Shalabayev (Mr Ablyazov’s brother-in-law),
      from an email address at Eastbridge Capital Limited, sent to Mr Kythreotis a set of
      five new sale and purchase agreements apparently entered into between the Bank as
      seller and the BVI Defendants as purchasers. The agreements were dated 5 January
      2009, and unsigned. In his email, Mr Shalabayev asked Mr Kythreotis for
      confirmation “that these documents can be signed”. Each agreement:

      (a)    identified the relevant AAA Investments to be purchased by the relevant BVI
             Defendant;

      (b)    required the Bank to ensure “no later than the 22nd of January, 2009” that the
             relevant securities were re-registered from the name of the Bank in the name
             of the purchaser;

      (c)    provided for the specified purchase price to be paid no later than 5 January
             2010 (that is to say, one year later than the ostensible date of the document);

      (d)    provided for interest to accrue in the meantime at the rate of 15% per annum;
             and

      (e)    required security to be provided under a Pledge Agreement over 100% of the
             shares in a company called TOO Orken Kapital KZ (“Orken Kapital”).

      Mr Ablyazov has admitted that he is the owner of Orken Kapital, and of Gemestra
      Limited (“Gemestra”), a BVI company which entered into the Pledge Agreement in
      order to pledge the shares in Orken Kapital. Despite this admission, however, Mr
      Ablyazov claimed to know nothing about the transaction: see paragraphs 13 and 61 of
      his first statement.

64.   There are no signed versions of these sale and purchase agreements in evidence, but
      they all envisaged signature by the chairman of the Bank’s management board, that is
      to say Mr Solodchenko. Furthermore, there is a signed version of the Pledge
      Agreement which is apparently dated 22 January 2009 and signed by Mr Solodchenko
      on behalf of the Bank as well as by a director of a company called Primi Limited on
      behalf of Gemestra. The purported date of signature of the Pledge Agreement must be
      false, because it had been sent as an unsigned draft by Mr Ereshchenko to Mr
      Kythreotis on 9 March 2009. It appears that it was then signed on behalf of Gemestra
      and forwarded by Mr Kythreotis to Eastbridge Moscow where it was signed by Mr
      Solodchenko, presumably en route to London.

65.   Even if the precise details of execution of the Pledge Agreement remain unclear, it
      cannot seriously be doubted, in my judgment, that it was deliberately backdated to 22
      January 2009 and signed by Mr Solodchenko at a time when he no longer had any
      authority to act on behalf of the Bank. It is equally clear that the sale and purchase



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      agreements themselves were not prepared until early March 2009, that they too were
      deliberately backdated, and that they were still in draft (even if they were
      subsequently executed) after Mr Solodchenko’s resignation from the Bank.

66.   These transactions are in my view highly significant, for the following reasons. First,
      it was clearly perceived as necessary to provide a justification for the transfer of the
      AAA Investments to the BVI Defendants. This in itself implies that, in the absence of
      a proper justification, the transfer would have been exposed as improper. Secondly,
      the purported justification was provided after the event, by means of back-dated
      documents, after the dismissal and flight of Mr Ablyazov, and after the termination of
      Mr Solodchenko’s employment by the Bank. The need to employ such disreputable
      tactics speaks volumes about the true nature of the underlying transaction. Thirdly,
      by the date when the Pledge Agreement was in fact executed it must have been
      obvious to all concerned that the security given was all but worthless. As Mr
      Hardman explains in his twenty-second statement, the value, if any, in the Orken
      Kapital shares lay in the fact that it owned a stake in the Bank. When the Bank was
      nationalised on 2 February 2009, that stake was approximately 7%. On the
      nationalisation, however, the Bank’s capital was diluted in return for payment of the
      local equivalent of US$1.7 billion, thereby reducing Orken Kapital’s stake to less than
      1%. Further recapitalisations of over US$10 billion have subsequently taken place,
      and Mr Ablyazov has accepted that his shares in the Bank are worthless. Even if the
      full extent of the Bank’s financial plight may not have been apparent in early March
      2009, the very poor quality of the Bank’s loan book had already been exposed by the
      AFN, and it is inconceivable that the Bank’s new management would have accepted
      shares in the Bank as security for the obligations ostensibly undertaken by the BVI
      Defendants under the sale and purchase agreements being circulated in draft in March
      2009.

67.   In summary, I consider that not only was the attempt to provide a retrospective
      justification for the transactions relating to the AAA Investments demonstrably false
      and worthless, but the perceived need to embark on such an exercise, after the
      nationalisation of the Bank and the dismissal and flight of Mr Ablyazov, itself
      provides strong evidence of the fraud alleged by the Bank.

68.   Nor is it credible, in my judgment, to suppose that the transactions relating to the
      AAA Investments could have taken place without the authority, knowledge and
      involvement of Mr Ablyazov. Quite apart from his beneficial ownership of the BVI
      Defendants, and all the circumstantial evidence linking him to the alleged fraud, there
      are two pieces of evidence which directly implicate him in the transactions. The first
      is the email of 13 June 2008. The second is the Pledge Agreement, which purported to
      grant security over shares in a company which Mr Ablyazov accepts he owns. The
      overall picture thus built up is in my judgment a compelling one, and the explanation
      for the June 2008 email proffered by Mr Ablyazov in his first statement seems to me
      frankly incredible. His later suggestion that the transactions formed part of a repo
      deal is, if anything, even more implausible. He has not begun to explain how the
      available evidence could be reconciled with a proper repo transaction, and he is in no
      position to contradict the evidence of the Bank’s former Head of Treasury, Mr
      Mukhametzhanov, about the limited circumstances in which the Bank made use of
      such transactions: see paragraph 29 above.




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69.   To revert to the second and third of the key propositions of fact which counsel submit
      lie at the heart of the Bank’s claims in the present proceedings, I am satisfied in the
      light of all the available evidence, to the standard of proof necessary for a summary
      judgment application, that:

      (a)    the BVI Defendants received the AAA Investments without providing any
             consideration for them, and without ever having any intention that any, or any
             meaningful, consideration would be provided for them; and

      (b)    the transfer of the AAA Investments caused loss to the Bank corresponding to
             their market value at the date of transfer.

The Kazakh law issues

70.   It has always been common ground that the Bank’s claims against Mr Ablyazov must
      be made good as a matter of Kazakh law, and in particular that they are not governed
      by English law. Apart from the Kazakh law claims, there is also pleaded against Mr
      Ablyazov a claim for damages for conspiracy under BVI law, but that claim is not
      pursued in the present application.

71.   The provisions of Kazakh law relied on by the Bank are contained in the Law No.
      414-II of the Republic of Kazakhstan on Joint Stock Companies (“the JSC Law”).
      The Bank claims damages on the basis that Mr Ablyazov breached obligations
      imposed on him by Articles 62, 67 and 71 to 73 of the JSC Law, giving rise to claims
      in damages under Articles 63 and 74(2). The meaning and effect of many of the
      relevant provisions were considered by Teare J in the Trial Judgment, after he had
      heard expert evidence from Professor Maggs on behalf of the defendants and from Mr
      Vataev, a partner in Dechert LLP in Kazakhstan, on behalf of the Bank. Teare J
      found Mr Vataev to be “an impressive witness”: see paragraph 68 of the Trial
      Judgment. His assessment of Professor Maggs’ evidence, in paragraph 69, included
      the following:

             “He gave evidence in a clear, authoritative and fair manner. It
             was a striking feature of his evidence that whatever question he
             was asked he had, without hesitation, a clear answer to it. I
             concluded that he had an exceptionally clear grasp and
             understanding of the relevant codes. If he had a weakness it
             was that he tended to give insufficient weight to Articles 2 and
             6 of the Civil Code which, as the experts agreed, enabled the
             Kazakhstani court to adopt a purposive construction in cases of
             ambiguity or lack of clarity. It may be that his lack of practical
             experience in the Kazakhstani courts contributed to this
             weakness and to his over-reliance on the apparent rigidity of
             the codes.”

72.   The Bank wishes to rely on the conclusions reached by Teare J in relation to a number
      of matters of Kazakh law, and to that end it served a notice under CPR Rule 33.7 on
      25 June 2013 giving notice that, in accordance with section 4(2) of the Civil Evidence
      Act 1972, it intended at the present hearing to adduce certain specified findings made
      or decisions given by Teare J in the Trial Judgment. The effect of section 4(2) of the
      1972 Act is that where any question of foreign law has been determined in specified



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      proceedings (including proceedings at first instance in the High Court), then in any
      civil proceedings:

             “(a) any finding made or decision given on that question in the
             first-mentioned proceedings shall, if reported or recorded in
             citable form, be admissible in evidence for the purpose of
             proving the law of that country … with respect to that matter;
             and

             (b) if that finding or decision, as so reported or recorded, is
             adduced for that purpose, the law of that country … with
             respect to that matter shall be taken to be in accordance with
             that finding or decision unless the contrary is proved.”

      There can be no doubt that the Trial Judgment recorded the relevant findings or
      decisions of Teare J in citable form within the meaning of subsection (5), so by virtue
      of subsection (2) his findings or decisions on Kazakh law are admissible in the present
      proceedings for the purpose of proving that law, and are conclusive unless the
      contrary is proved.

73.   The Bank’s claims are advanced under two main heads. Under the first head, it is
      alleged that Mr Ablyazov failed to disclose a related-party transaction in breach of
      Articles 67, 71 to 73 and 74(2) of the JSC Law. These provisions need to be read
      with the definition of “affiliates” in Article 1(3), and the list of affiliates set out in
      Article 64. Article 1(3) defines “affiliates” to mean “physical or legal persons … that
      have the opportunity to directly and/or indirectly determine decisions, and/or
      influence decisions made by each other (one of the persons), including influence
      derived from concluded transactions”. Article 64(1) provides that:

             “The following shall be an affiliate of a company:

             (1) a major shareholder;

             (2) …

             (3) an official of a company … except for an independent
             director;

             (4) a legal entity which is controlled by an individual who is a
             major shareholder or an official of the company;

             …”

      And by virtue of Article 64(2):

             “Control of a company or another legal entity shall include the
             opportunity to determine decisions adopted by such company
             or such another legal entity, respectively.”

74.   The relevant provisions of Articles 67 and 71 to 74 read as follows:




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            “67. Disclosure of information regarding affiliates of a
            company

              …

              3. Individuals and legal entities being affiliates of a company
              shall be obliged to submit to the company information
              regarding their affiliates within seven days from the date of
              the occurrence of such affiliation.

              4. A company shall be obliged to submit a list of its affiliates
              to the authorized agency according to the procedure
              established by the authorized agency.

              …

            71. Interest in a company’s effectuation of a transaction

              1. A company’s affiliates shall be recognised as persons who
              are interested in a company carrying out a transaction
              (hereinafter “interested parties”), provided that they are:

              (1) a party to such transaction or participate in such
              transaction as representatives or intermediaries; or

              (2) affiliates of a legal entity which is a party to such
              transaction or participates in such transaction as a
              representative or an intermediary.

              …

            72. Information regarding interest in a company’s
            effectuation of a transaction

              1. Persons referred to in Clause 1 of Article 71 shall be
              obliged to provide the board of directors with the following
              information:

              (1) that they are a party to the relevant transaction or
              participate in such transaction as a representative or
              intermediary;

              (2) regarding legal entities with which they are affiliated,
              including legal entities in which they individually or jointly
              with their affiliates own ten per cent or more of the voting
              shares …; and

              (3) regarding ongoing or proposed transactions of which
              they are aware and in which they may be recognised as an
              interested party.




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             73. Procedural requirement for the execution of a
             transaction in which there is an interest

                1. A decision regarding the execution of a transaction in
                which there is an interest shall be adopted by a simple
                majority of votes of the members of the board of directors
                who are not interested in such transaction.

                …

             74. Consequences of execution by a company of
             transactions in respect of which special terms and
             conditions are established

                1. Failure to comply with this Law’s requirements when
                effectuating a major transaction or a transaction in which
                there is an interest shall result in the invalidation of such
                transaction by a court based upon a suit from an interested
                party.

                2. A person that is interested in the company’s execution of a
                transaction which is concluded in violation of the procedural
                requirements for its conclusion shall be liable to the
                company in the amount of losses caused by such person to
                the company. If the relevant transaction is effectuated by
                several persons, then they shall have joint responsibility to
                the company.

                …”

75.   It is undisputed that Mr Ablyazov was at all material times an affiliate of the Bank,
      both because he was an officer of the Bank and because he was its majority
      shareholder. He was also an affiliate of the BVI Defendants, by virtue of his ultimate
      beneficial ownership which gave him the opportunity to directly and/or indirectly
      determine or influence decisions made by them: see Articles 1(3) and 64(2) of the JSC
      Law, and paragraphs 16 to 21 of Mr Markov’s first report. I am satisfied that the
      assertion in Mr Ablyazov’s defence to the effect that “only legally recognised and
      enforceable relationships” are recognised as capable of giving rise to “control” over a
      legal entity within the meaning of Article 64.1(4) is untenable, for the reasons given
      by Mr Markov, and I note that in the Trial Judgment Teare J relied on Article 1(3) in
      order to find that Mr Ablyazov was an affiliate of Chrysopa Holding BV, even though
      there was no formal documentary proof of Mr Ablyazov’s ability to control that
      company: see paragraphs [337] to [338]. In reaching that conclusion, Teare J must
      have accepted that an informal relationship may suffice to establish control, and the
      de facto ability to determine or influence the other entity’s conduct is what matters.

76.   Further strong support for this conclusion is contained in a legal opinion of Professor
      M K Suleimenov dated 24 May 2012 which is annexed to Mr Markov’s supplemental
      expert report. Professor Suleimenov is recognised by Professor Maggs as being
      “Kazakhstan’s leading expert in Civil Law” (paragraph 36 of his first report in the




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      present proceedings). The views of Professor Suleimenov entirely support those of Mr
      Markov, and include the following:

             “7. In my opinion, the de facto ability to determine decisions
             made by the BVI Companies through a nominee beneficial
             holding is sufficient to give rise to an affiliation, even in the
             absence of any documentary proof. Documentary proof of
             affiliation is possible where there is direct control and open
             ownership of a controlling stake. However, indirect forms of
             control may be proved either by documentation, or, depending
             on the nature of the relationship, may be proved otherwise.”

77.   On a purposive interpretation, this view appears to me clearly correct, and I do not
      think Mr Ablyazov would have any reasonable prospect of establishing the contrary if
      the case went to trial. Once Mr Ablyazov’s affiliation with the BVI Defendants is
      established, the remaining steps in the argument are relatively straightforward. It was
      then Mr Ablyazov’s duty under Article 67(3) to inform the Bank of the existence of
      the affiliation within seven days of its arising. It was also his duty, under Articles 71
      and 72, to inform the Bank’s board of directors of his affiliation with the BVI
      Defendants, and the transactions taking place between the Bank and the BVI
      Defendants (including the transfers of 22 January 2009). This does not appear to be
      disputed by Professor Maggs, who said in paragraph 17 of his first report:

             “I agree with Mr Markov, that if an official of the Bank was
             affiliated to an outside company, such official had an obligation
             to inform the Bank of this affiliation, and would be considered
             an interested person with respect to any transaction between the
             Bank and such company. Also as pointed out by Mr Markov,
             this interest would trigger special approval procedures of the
             Law on Joint-Stock Companies.”

78.   Mr Ablyazov failed to comply with these obligations, with the result that he is liable
      under Article 74(2) for the amount of losses thereby caused to the Bank. Mr Markov
      confirms (paragraph 29 of his first report) that an invalidation claim under Article
      74(1) and a damages claim under Article 74(2) are independent remedies, and the
      company may choose whether to pursue one or the other, or both in parallel. The
      existence of loss to the Bank is clearly established. The necessary causal link must be
      shown as a question of fact. There is considerable discussion of this requirement in
      the expert evidence, but I see no reason to doubt that it would be easily satisfied,
      whatever the precise nature of the requirement may be. If proper disclosure had been
      made to the board by Mr Ablyazov, the decision whether to transfer the AAA
      Investments to the BVI Defendants for no consideration would have been taken by a
      simple majority of the votes of the members of the board who were not interested in
      the transaction: see Article 73(1). No director acting properly in the best interests of
      the Bank could possibly have sanctioned such a transaction, and Mr Talvitie has made
      it clear that he would not have done so. As Mr Markov puts it, in paragraph 20 of his
      supplemental report:

             “If Mr Ablyazov was the ultimate beneficial owner of the BVI
             Defendants and failed to disclose this fact to the Bank, then the
             transfer away of assets with a value of approximately US$300



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             million for nothing in return would seem to be a clear example
             of Mr Ablyazov’s omission resulting in money being taken out
             of one pocket (the Bank’s) and put in another’s (the BVI
             Defendant’s) to the Bank’s detriment.”

79.   A possible, if unattractive, counter-argument which I need to consider is that, even if
      full disclosure had been made, a majority of the board of directors of the Bank (apart
      from Mr Ablyazov) would still have voted in favour of the transactions, because they
      were either too corrupt, too supine or too frightened to thwart his wishes. Without a
      clear consensus of expert evidence, I would be reluctant to decide that circumstances
      of this nature would have broken the chain of causation. That apart, however, there is
      in my judgment an answer to the point. The one truly independent member of the
      board was Mr Talvitie, who represented the interests of East Capital, an investor in
      the Bank. He gave evidence to Teare J that at board meetings Mr Ablyazov had
      already made the decisions, and the other members of the board were “straw men”:
      see the trial judgment at paragraph [19]. In paragraph [346] Teare J dealt with a
      similar argument about causation, and found that if the other members of the board
      were willing to approve the loan to Chrysopa in circumstances where it could be seen
      to be for the benefit of Mr Ablyazov rather than for the benefit of the Bank:

             “… it is more likely than not, it seems to me, that he [Mr
             Talvitie] would have informed the AFN. For it would have
             appeared to him an improper and unwise thing for the Board to
             do and such conduct would have imperilled East Capital’s
             investment. Had he done so it is more likely than not that in
             those circumstances the AFN would have intervened to prevent
             the loan being made.”

      Teare J reached this conclusion after hearing Mr Talvitie give oral evidence and be
      cross-examined. I see no reason to doubt that a similar conclusion would be reached
      in the present case, if it went to trial.

80.   The second main way in which the Bank puts its case against Mr Ablyazov relies on
      Articles 62 and 63 of the JSC Law. So far as material, those Articles provide as
      follows:

             “62. Principles of activities of officials of a company

             A company’s officials:

                1. shall fulfil their obligations faithfully and with methods
                which they reasonably deem to best represent the interests of
                the company and its shareholders;

                2. may not use or permit the use of the company’s property
                in violation of the company’s charter or decisions of a
                general shareholders’ meeting or the board of directors, or
                for personal purposes or abuse their powers when
                concluding transactions with its affiliates;

                …



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             63. Responsibilities of officials of a company

                1. Officials of a company shall be responsible to the
                company and the shareholders for damage caused by their
                actions (omission), pursuant to Kazakhstan legislation, as
                well as for damage cause by:

                (1) presentation of misleading or false information;

                (2) violation of the procedure for presenting information
                established by this Law.

                2. Based upon a decision of a general shareholders’ meeting,
                a company may file with a court a claim against an official
                for reimbursement of damage or losses caused by such
                official to the company.”

81.   Mr Ablyazov was an officer of the Bank, and as such he was subject to the duties
      imposed upon him by Article 62. In paragraph 82(a) of his defence, Mr Ablyazov has
      admitted that as an officer of the Bank he was obliged to “fulfil the duties placed on
      him in good faith and use means which to the greatest extent possible reflect the
      interests of the society (i.e. the Claimant) and its stockholders”. He also admits in
      paragraph 91(b) that an officer may be obliged to pay damages for breach of such a
      duty in accordance with Article 63. One of the requirements of Article 63 is that a
      shareholder resolution is needed to authorise the company to pursue a claim for
      damages against an officer. In the present case, that requirement causes no difficulty.
      The necessary resolution was passed on 19 August 2010, before Mr Ablyazov was
      joined as a defendant to the present action on 14 March 2011. (Even if his joinder had
      pre-dated the resolution, it would not have mattered, because one of the points of
      Kazakh law decided by Teare J was that a resolution under Article 63(2) may be
      retrospective: see the Trial Judgment at paragraphs [210] to [214]).

82.   In order for a claim under Article 63 to succeed, breach, loss and causation have to be
      established in much the same way as for a claim under Article 74. In the light of the
      conclusions which I have reached on the Article 74 claim, I consider that these
      requirements are likewise satisfied in relation to the Article 63 claim.

83.   It remains to consider two further related defences under Kazakh law upon which Mr
      Ablyazov relies. In paragraph 10 of his defence he alleges that he was employed by
      the Bank under a written contract of employment, and says that any claims by the
      Bank against him arising out of his employment must therefore be based in contract
      and not in tort, because it is a general principle of post-Soviet legal systems that
      “where a written contract governs a relationship between two parties, a party cannot
      be liable in tort in respect of any act within the scope of that written contact”. This
      doctrine is often called the prohibition of “competition of claims” and contrasts with
      the general freedom accorded to a claimant by English law to choose between
      concurrent causes of action available to him. Consistently with this alleged
      prohibition, Mr Ablyazov goes on to allege that Article 1(3) of the Civil Code
      provides that labour relations are governed by the Labour Code of Kazakhstan dated
      15 May 2007 (“the Labour Code”), and by other laws only to the extent that they are
      not inconsistent with the Labour Code. Article 172(2) of the Labour Code provides



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      for a one year limitation period for bringing a claim against an employee under his
      contract of employment. More precisely, the permitted period is:

             “one year from the day when the employee or employer knew
             or should have known of the violation of its right.”

      Thereafter, according to Professor Maggs, the Bank’s claim would be permanently
      time-barred. Mr Ablyazov’s argument is that the Bank’s claim against him was not
      begun within that one year period.

84.   Despite numerous searches of the Bank’s documents, no contract of employment for
      Mr Ablyazov has ever been found. Nor has any copy of a contract of employment
      ever been disclosed by Mr Ablyazov or his co-defendants in any of the proceedings
      brought by the Bank. Nevertheless, it is possible that a written contract would emerge
      if the present case went to trial, so I will proceed on the assumption that one exists, or
      at least was in existence at the material times. On that footing, the Bank relies on the
      rejection by Teare J of the principle of competition of claims in the context of claims
      for breach of a statutory duty by an officer of a joint stock company: see the Trial
      Judgment at paragraphs [219] to [230]. Teare J reached this conclusion after hearing
      the expert evidence of Mr Vataev and Professor Maggs, and considering some
      extracts from a work by Professor Suleimenov (who did not give evidence).

85.   Teare J accepted that the principle of competition of claims was part of the law of
      Kazakhstan, but said Professor Maggs had been unable to refer him to any decided
      case which determined that the principle operated so as to require a company to bring
      claims against an officer of the company for breach of his duties as officer in
      accordance with the Labour Code. He continued:

             “227. In light of the acceptance by both experts of the principle
             in question I accept that claims in delict or tort must be brought
             in accordance with the Labour Code where there is a contract
             of employment. But I find it difficult to accept, in
             circumstances where Articles 62 and 63 of the JSC Law impose
             duties upon the officers of a company and provide an express
             remedy for breach of such duties, that such remedies may only
             be exercised in accordance with the provisions of the Labour
             Code where there is also a relationship of employer/employee
             between the company and the officer. In particular it is difficult
             to accept that, although the JSC Law provides for unlimited
             liability and a limitation period of three years, the more
             restrictive limitation provisions of the Labour Code must apply.
             I accept that this may be the reaction of a common lawyer
             rather than that of a lawyer familiar with the principle of the
             competition of claims but I take comfort from the circumstance
             that Mr Vataev, not a common lawyer, was also unable to
             accept the apparent logic of Professor Maggs’ opinion.

             228. Ultimately I have been persuaded that the principle which
             governs parallel claims in contract or tort does not apply to
             parallel claims for breach of a contractual duty as employee and
             for breach of a statutory duty as officer of a joint stock



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             company. The latter is not a claim in delict or tort but one
             which arises from the defendant’s status as an officer of the
             company. The latter status gives rise to the obligations under
             the JSC Law whether or not the officer is an employee of the
             company. In the absence of clear decisions of the Kazakhstan
             courts showing that the Labour Code applies exclusively to
             claims against officers for breach of their duties under the JSC
             Law I was not persuaded that the remedies for breach of those
             duties should be limited in the manner in which claims against
             an employee under the Labour Code are.

             229. I have noted Mr Norbury’s submission that the Labour
             Code, being a Code, takes precedence over the JSC Law, which
             is only a law and not a code. However, I remain of the view
             that the clear statement as to the limitation period applicable to
             officers in the JSC Law must have been intended to apply
             where officers are sued …

             230. It follows that where breach of Article 62 of the JSC Law
             is relied upon against an officer of the company the Bank has
             three years in which to bring its claim. The one year limitation
             in the Labour Code is inapplicable.”

86.   By virtue of section 4(2) of the Civil Evidence Act 1972, the findings and decision of
      Teare J on this point are conclusive in the present proceedings unless the contrary is
      proved. The expert evidence in the present case of Mr Markov and Professor
      Suleimenov strongly supports the reasoning and conclusion of Teare J. The only
      evidence to the contrary is that of Professor Maggs, who in his first report sought to
      rely on views expressed by Professor Suleimenov in his work “Liability in Civil Law”
      in support of his thesis that the Bank’s claims against Mr Ablyazov are governed by
      the Labour Code. Professor Suleimenov explains, however, in the expert Opinion
      subsequently obtained from him by the Bank’s solicitors and attached to Mr Markov’s
      supplemental report, that Professor Maggs’ reliance on his views was inappropriate.
      Section 2 of his Opinion includes the following passage:

             “7. However, even if the duties in an employment agreement of
             an officer of the company mirror provisions of the law, it is
             incorrect to identify the liability of this officer arising on the
             basis of the law (including the JSC Law) with the liability
             arising on the basis of an employment agreement. It is also
             incorrect to speak of liability arising from an officer’s breach of
             statutory provisions (mirrored by provisions of an employment
             contract) as being a breach of the conditions of the employment
             agreement with liability arising under that contract. Hence
             reference to my article “Liability in Civil Law” in Mr
             Ablyazov’s response to the Bank’s claim and Professor Maggs’
             expert report as far as competition of claims is concerned is
             inappropriate.

             8. Accordingly, the activity of the chairman and members of
             the board of directors of a joint-stock company is regulated not



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               by the Labour Code, but by the JSC Law, the Code of
               Corporate Governance approved by the company’s general
               meeting of shareholders, the company’s charter, and other
               internal normative documents of the company.”

87.    After further discussions of the JSC Law, he concluded:

               “14. In light of the above, it is my opinion that the existence of
               any employment agreement between the Bank with members of
               the board of directors of the Bank (including Mr Ablyazov)
               does not prevent the Bank bringing claims and suing such
               members of the board of directors for breach of principles of
               officers’ activities established by the JSC Law or for breach of
               the obligation to disclose information about affiliated persons
               of the company and breach of the procedure for making related-
               party transactions, including claims for compensation of
               damages on the basis of Articles 63 and 74 of the JSC Law.”

88.    The debate between Professor Maggs and Professor Suleimenov continued, on this
       and other matters, in subsequent reports and opinions which have been put in
       evidence. I have read this material, but it does not cause me to change my view that,
       if the case went to trial, the overwhelming likelihood is that the court would reach the
       same conclusion as Teare J, and would not hold that the contrary had been proved for
       the purposes of section 4 of the 1972 Act.

89.    I would add, for completeness, that even if Professor Maggs were correct in his view
       that the one year limitation period in the Labour Code applied, it would still be open
       to the Bank to establish, if it could, that it neither became aware, nor should have
       become aware, of the violation of its rights by Mr Ablyazov more than one year
       before his joinder as a defendant on 14 March 2011; and even if that condition could
       not be satisfied, the court would still have a discretion to extend the limitation period
       where there is a “valid reason” for doing so. These issues were considered by Teare J,
       and decided by him in the Bank’s favour, in paragraphs [231] to [242] of the Trial
       Judgment. It is possible, and may even be probable, that the court would reach similar
       conclusions in the present case after a full trial; but I accept that it is not possible to do
       so on an application for summary judgment.

Is there any other compelling reason why the case should go to trial?

90.    In view of Mr Ablyazov’s decision not to defend the present application, the
       arguments which he has previously raised about the need for the case to go to trial
       may appear rather hollow. But I will briefly consider them. A recurrent theme in his
       defence and witness statements has been the need for full disclosure, and for oral
       evidence to be given by those within the Bank, both before and after its
       nationalisation. If it were necessary to understand every detail of the transactions
       relating to the AAA Investments, I would agree that a full trial was necessary. As I
       have explained, however, I consider that enough is now known about the transactions,
       on the evidence as it stands, to establish to the summary judgment standard that Mr
       Ablyazov must have been personally responsible for the misappropriation of the AAA
       Investments, and that the Bank has good causes of action under Kazakh law to hold



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      him responsible accordingly. In those circumstances, it would be wrong to put the
      Bank to the delay, inconvenience and expense of proving its case at trial.

91.   Moreover, I can see no solid basis for Mr Ablyazov’s concerns about disclosure. In
      the light of his own pleaded case, it is most improbable that the Bank would turn out
      to hold significant further documentation relating to the impugned transactions.
      Furthermore, a substantial disclosure exercise has already been carried out by the
      Bank in the context of the committal application, which included searches for
      documents relating to the allegations about the ownership of Bubris. In that context,
      the Bank was obliged to, and did, search for and disclose documents which either
      supported Mr Ablyazov’s case or undermined the Bank’s case. Teare J was clearly
      satisfied that the disclosure given was sufficient to enable him to decide, to the
      criminal standard of proof, that Mr Ablyazov was the beneficial owner of Bubris; and
      his decision was upheld by the Court of Appeal, despite the complaints of unfairness
      made by Mr Ablyazov.

92.   Mr Ablyazov has also claimed that he is the victim of alleged political persecution. I
      am in no position to form a view on the truth or otherwise of this contention. I
      certainly cannot dismiss it out of hand as inherently incredible. For present purposes,
      however, that is not the point. The Bank claims to have been defrauded of securities
      worth some US$300 million by Mr Ablyazov. The Bank must be entitled to take legal
      action to recover that sum, even on the assumption that its motivation for so doing
      was mainly political. This point was clearly articulated by Teare J when dismissing an
      application by Mr Ablyazov to stay the Drey proceedings on the ground of alleged
      abuse of process: see JSC BTA Bank v Ablyazov (No. 6) [2011] EWHC 1136
      (Comm), [2011] 1 WLR 2996, especially at paragraph [54].

Conclusion

93.   For the reasons which I have given, I am satisfied that the Bank’s application for
      summary judgment should succeed. The principal amount for which judgment is
      claimed in the application notice is US$294,138,715.27, that being the total amount
      paid by Alfa Bank to the BVI Defendants in June 2008. I will order Mr Ablyazov to
      pay that sum, which represents the financial benefit received by his companies as a
      result of his fraud.

94.   In relation to interest, Mr Smith submitted, and I agree, that it should be awarded
      under section 35A of the Senior Courts Act 1981 at the rate of 7.3% per annum. This
      was the rate determined by Teare J in a separate judgment on interest in the Granton,
      Drey and Chrysopa proceedings which he delivered on 19 April 2013: see [2013]
      EWHC 867 (Comm). On the evidence before him, Teare J was satisfied that for the
      period 2006 to 2012 the average rate of interest paid by Kazakh banks when
      borrowing money was just under 7.3%. He also decided, and again I agree, that
      interest should run under section 35A from the date on which the Bank’s cause of
      action accrued, even if a different date might be relevant under Kazakh law. As he
      said in paragraph [26], interest under section 35A is essentially a procedural remedy,
      and it is appropriate for the court, when awarding its own procedural remedy, to have
      regard to economic reality.




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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                                                    )
    CF 135 FLAT LLC, CF 135 WEST                    )
    MEMBERS LLC and THE CHETRIT GROUP,              ) Case No. 15-cv-05345-AJN
    LLC,                                            )
                                                    )
                         Interpleader Plaintiffs,   )
                                                    )
                   -against-                        ) AMENDED CROSSCLAIMS
                                                    )
    TRIADOU SPV S.A., CITY OF ALMATY, a             )
    foreign city, and BTA Bank,                     )
                                                    )
                       Interpleader Defendants.     )
                                                    )
                                                    )
                                                    )
    CITY OF ALMATY, KAZAKHSTAN and                  )
    BTA BANK,                                       )
                                                    )
                          Crossclaim Plaintiffs,    )
                                                    )
                   -against-                        )
                                                    )
                                                    )
    MUKHTAR ABLYAZOV, VIKTOR                        )
    KHRAPUNOV, ILYAS KHRAPUNOV,                     )
    TRIADOU SPV S.A., AND FBME BANK                 )
    LTD.,                                           )
                                                    )
                       Crossclaim Defendants.       )




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            Crossclaim Plaintiffs City of Almaty (“Almaty”) and BTA Bank (“BTA” or “BTA Bank,”

    and together with Almaty, the “Kazakhstan Plaintiffs”), by and through their undersigned

    counsel, for the Kazakhstan Plaintiffs’ crossclaims against Defendants Triadou SPV S.A., Viktor

    Khrapunov, Mukhtar Ablyazov, Ilyas Khrapunov, and FBME Bank Ltd. (collectively the

    “Ablyazov-Khrapunov Group”) allege as follows:

                                           INTRODUCTION

            1.      Joseph Chetrit (“Chetrit”) is a well-known New York based real estate developer,

    who, along with crossclaim defendants Mukhtar Ablyazov (“Ablyazov”), Victor Khrapunov, Ilyas

    Khrapunov and others known and unknown, combined, conspired, and confederated in the

    commission of an international scheme to launder and conceal at least $40 million stolen from the

    Kazakhstan Plaintiffs. Chetrit conspired with these international criminals by, among other

    things, partnering with Triadou SPV S.A. (“Triadou”), a nominee entity owned, controlled, and

    funded by the Ablyazov-Khrapunov Group, for the purposes of converting the stolen funds into

    valuable New York City real estate.

            2.      BTA, a bank based in Almaty, Kazakhstan, seeks to regain assets looted by its

    former Chairman, Mukhtar Ablyazov, who abused his position to enrich himself and treat BTA as

    his personal property. BTA has commenced and successfully obtained judgments in proceedings

    against Ablyazov in the courts of the United Kingdom for defrauding BTA Bank of no less than

    $4 billion.

            3.      Almaty, the largest city in the Republic of Kazakhstan, seeks to regain assets

    looted by its former mayor, Victor Khrapunov (“Khrapunov”), and his family and co-

    conspirators, to be returned for the benefit of the people of Almaty. Khrapunov abused and

    corrupted his position as the mayor of Almaty for the purposes of embezzlement, fraudulent self-


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    dealing, and blatant looting of public assets. He reaped an estimated $300 million or more

    through various fraudulent activities, including rigged auctions, the improper sale of public

    property to friends and co-conspirators, and fraudulent abuse of eminent domain powers, before

    fleeing Kazakhstan and secreting these stolen funds across the globe.

            4.       The Khrapunovs and Ablyazov, both fighting law enforcement investigations and

    asset seizures by Kazakh authorities, joined forces and commingled their stolen funds. Through

    joint investments across the globe, the two renegade families combined and conspired to launder

    their illicit wealth into real estate, energy assets, and other investments in locales they deemed

    safe from seizure. Ilyas Khrapunov, related by marriage to Ablyazov, helped orchestrate these

    efforts and steered the families’ joint investments into assets within this Court’s jurisdiction.

            5.       The Ablyazov-Khrapunov Group’s money laundering schemes relied heavily on

    the cooperation of officers within FBME Bank, Ltd (“FBME”), a Tanzanian-incorporated

    financial institution operating primarily out of the Republic of Cyprus. Until 2014, FBME had

    long been known as a financial institution open for business to money launderers and international

    criminals. FBME joined the Ablyazov-Khrapunov Group’s money laundering conspiracy by

    knowingly aiding the Ablyazov-Khrapunov Group’s members in hiding and laundering funds and

    evading asset freezes and investigations. In 2014, FBME was designated a “foreign financial

    institution of primary money laundering concern” and effectively banned from the legitimate

    international financial system by the Financial Crimes Enforcement Network (“FinCEN”) of the

    U.S. Department of the Treasury, a decision subsequently described by FBME as a “death

    sentence.”

            6.       Collectively, the Ablyazov-Khrapunov Group has been the subject of numerous

    proceedings and investigations across the globe, arising from their theft of billions of dollars from




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    entities and municipalities in the Republic of Kazakhstan. They have sought to hide their stolen

    wealth from investigators and law enforcement through a vast network of shell corporations and

    outwardly-legitimate investments, including major New York real estate developments such as the

    Flatotel and Cabrini Medical Center condominium conversions. Through these investments, the

    Chetrit Group allied itself with the Ablyazov-Khrapunov Group and their global money laundering

    endeavor.

               7.    The Ablyazov-Khrapunov Group laundered their ill-gotten assets through a

    number of shell corporations, including Triadou. With the help of Chetrit and the Chetrit Group,

    the Ablyazov-Khrapunov Group parked these corrupt assets in New York City real estate,

    hoping to avoid the scrutiny of escalating international investigations into the Ablyazov-

    Khrapunov Group’s illicit activities.

               8.    Due to heavy scrutiny by international law enforcement, including criminal

    investigations by the Kazakh and Swiss authorities, the funds that the Ablyazov-Khrapunov

    Group, through Triadou, invested into the Flatotel and Cabrini Medical Center projects could not

    pass through legitimate banking channels. The Crossclaim Defendants devised a plan to

    circumvent legitimate banks and transfer funds directly from the Ablyazov-Khrapunov Group’s

    offshore accounts with FBME to the escrow account of the Chetrit Group’s long-time attorneys.

               9.    In return for facilitating the Ablyazov-Khrapunov Group’s money laundering

    scheme, the Chetrit Group got access to the stolen funds to fund its real estate projects, and

    entered into deals that entitled the Chetrit Group to a disproportionate share of the projects’

    profits.

               10.   Due to concern that he was partnering with reputed international criminals,

    however, Chetrit conducted his communications with the Ablyazov-Khrapunov Group by using



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    code names. For example, Chetrit used code names such as “Jose” and “Pedro” to refer to and

    communicate with crossclaim defendant Ilyas Khrapunov. It was only in face-to-face meetings,

    many of which were secretly recorded, that Ablyazov’s involvement, legal difficulties and

    incarceration were openly discussed.

           11.      Ultimately, Almaty and BTA Bank were able to trace the stolen assets to the

    United States. Rather than let Almaty and BTA reclaim their rightful property, the Ablyazov-

    Khrapunov Group, through Triadou, began to urgently liquidate their real estate holdings,

    hoping to spirit their illicit funds to more permissive locales. In an attempt to monetize the

    Ablyazov-Khrapunov Group’s real estate interests as quickly as possible, Triadou entered into a

    fraudulent, below-market assignment with the Chetrit Group for Triadou’s principal New York

    assets, interests in the Flatotel and Cabrini Medical Center real estate developments.

           12.      Specifically, in May 2014, the City of Almaty filed an action in federal court in

    California against members of the Ablyazov-Khrapunov Group. With the Kazakhstan Plaintiffs’

    collection efforts having expanded to the United States, and with the Ablyazov-Khrapunov Group

    in imminent danger of having its stolen assets seized or attached, the Ablyazov-Khrapunov

    Group, through Triadou, took immediate steps to liquidate its U.S. assets and move its money

    offshore again. The Chetrit Group’s assistance was essential to placing the stolen assets out of the

    reach of the Kazakhstan authorities.

           13.      Upon information and belief, Chetrit seized on this opportunity to double cross

    his co-conspirators. Understanding that the potential asset seizures or restraints put the Ablyazov-

    Khrapunov Group in a desperate situation, he devised scheme to acquire Triadou’s investments

    for a fraction of their value. To achieve this result, Chetrit bribed Triadou’s Director to drive

    down the purchase price of the assignment. The Chetrit Group ultimately succeeded in acquiring




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   Triadou’s interest in both the Flatotel and Cabrini properties for as little as $26,000,000.00 — far

   less than even what Triadou had originally invested — at a time when real estate values in New

   York were at an all-time high.

           14.     Almaty and BTA Bank now seek, among other relief, to unwind and recover the

   proceeds of these fraudulent transactions. Doing so will hold the Crossclaim Defendants liable

   for their corruption and fraud, and return the full value of Triadou’s New York assets to their

   rightful owners: BTA Bank and the City of Almaty.

                                            THE PARTIES

           15.     Crossclaim plaintiff Almaty is a legal subdivision of the Republic of Kazakhstan.

   Almaty is the former capital of the country, and continues to be the largest city in the Republic of

   Kazakhstan, with more than 1.5 million residents.

           16.    Crossclaim plaintiff BTA Bank is a Joint Stock Company and Kazakhstan bank

   with its headquarters in Almaty, Kazakhstan. Until in or about September 2014, BTA Bank was

   majority owner and controlled by the Republic of Kazakhstan.

           17.    Crossclaim defendant Triadou SPV S.A. is a special purpose investment vehicle

   incorporated under the laws of Luxembourg, with a principal place of business at 3, Rue du

   Mont-Blanc, 1201 Geneva, Switzerland. Triadou SPV S.A. is wholly-owned by SDG Capital

   S.A.

           18.    Crossclaim defendant Viktor Khrapunov, an individual, is the former Mayor of

   the City of Almaty, who, upon information and belief, currently resides in the city of Geneva,

   Switzerland.

           19.    Crossclaim defendant Mukhtar Ablyazov, an individual, is the former Chairman

   of BTA Bank and has been found liable for defrauding BTA of in excess of $6 billion. Ablyazov



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    was the subject of eleven proceedings commenced by BTA Bank in the United Kingdom to

    recover assets Ablyazov stole. During those proceedings, Ablyazov was found by multiple

    international courts to have lied, misled, misconstrued, and concealed assets in blatant disregard

    of Court orders, and was ordered imprisoned for 22 months. During these proceedings,

    Ablyazov fled the United Kingdom to avoid the many judgments against him. He is currently

    incarcerated in France pending extradition to Russia or Ukraine.

           20.      Crossclaim defendant Ilyas Khrapunov, an individual, is the son of Viktor

    Khrapunov, as well as the former president of SDG Capital S.A., who, upon information and

    belief, currently resides in the city of Geneva, Switzerland. Ilyas Khrapunov is married to

    Ablyazov’s daughter, Madina.

           21.      Crossclaim defendant FBME Bank Ltd. is a financial institution headquartered in

    Dar es Salaam, Tanzania and operating primarily out of Cyprus. FBME is jointly owned

    by Ayoub-Farid Saab and Fady Saab, but is currently controlled and administered by

    representatives of the Central Bank of Cyprus.

                                    JURISDICTION AND VENUE

           22.       The Crossclaims are brought under Rule 13 of the Federal Rules of Civil

    Procedure. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 18 U.S.C. §

    1964(c) over the claims for relief alleging violations of the federal Racketeer Influenced and

    Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for conspiracy to violate

    RICO. This Court has supplemental jurisdiction over the sixth through thirteenth claims for

    relief pursuant to 28 U.S.C. § 1367, as those claims are substantially related to Almaty’s and

    BTA Bank’s claims under RICO and arise from a common nucleus of operative facts, and thus

    they form part of the same case or controversy under Article III of the United States

    Constitution.


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            23.      Alternatively, this Court has supplemental jurisdiction over Almaty’s and BTA

    Bank’s claims under 28 U.S.C. § 1367, as those claims are substantially related to the original

    interpleader suit brought by Chetrit and arise from a common nucleus of operative facts, and thus

    they form part of the same case or controversy under Article III of the United States

    Constitution.

            24.      Alternatively, the City of Almaty is a “foreign state” as that term is defined in 28

    U.S.C. § 1603, and this Court has jurisdiction over Almaty’s and BTA Bank’s claims under 28

    U.S.C. §§ 1330, 1441(d), which provide for the removal of any civil action brought in a State

    court against a foreign state.

            25.      Alternatively, this Court has diversity jurisdiction under 28 U.S.C. § 1332(a)

    because at the time this action was filed (i) there was complete diversity of citizenship between

    the parties, and (ii) more than $75,000, exclusive of interest and costs, is at stake.

            26.      Venue is proper in this District and before this Court pursuant to 28 U.S.C.

    § 1391(b)(2) because events giving rise to Almaty’s and BTA Bank’s claims occurred in this

    District, including, among other things, the negotiation, investment and subsequent transfer of

    interest in the Flatotel and Cabrini Medical Center properties located in New York, New York.

            27.      This Court has personal jurisdiction over Triadou, Ablyazov, Viktor Khrapunov,

    Ilyas Khrapunov, and FBME because each of them knowingly committed acts in New York that

    form the basis of this action, directed or conspired with others to commit acts in New York,

    and/or purposely availed themselves of the privileges of doing business in New York, as fully set

    forth herein.




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                                     FACTUAL BACKGROUND

           Mukhtar Ablyazov Defrauded BTA Bank of in Excess of $6 billion.

           28.      Ablyazov was the Chairman of BTA Bank from May 2005 until February 2009.

    He is the father-in-law of crossclaim defendant Ilyas Khrapunov, who is married to Ablyazov’s

    daughter, Madina. Along with crossclaim defendant Viktor Khrapunov, Ablyazov is a central

    member of the Ablyazov-Khrapunov Group money laundering and embezzlement conspiracy.

           29.      As the Courts of the United Kingdom have found, while Chairman of BTA Bank,

    Ablyazov exercised virtually unfettered control over the bank’s operations while hiding that

    control from Kazakhstan’s banking regulators, and used this influence to treat BTA’s assets as his

    own. As Justice Teare of the High Court of England and Wales (Commercial Court) found:

           [P]rior to the nationalisation of the Bank in February 2009, Mr. Ablyazov admitted
           to owning over 75% of the shares in the Bank. Those shares were not held by Mr.
           Ablyazov personally but by nine companies on his behalf. However, Mr. Ablyazov
           did not admit that ownership to the AFN, the banking regulator in Kazakhstan. In
           January 2009, shortly before the nationalisation of the Bank, the AFN requested
           Mr. Ablyazov to state whether he owned more than 10% of the shares in the Bank.
           He replied on 19 January 2009 that he did not own directly or indirectly more than
           10% of the shares in the Bank. That statement was untrue.
           ...
           Banks in Kazakhstan tend to be operated in a different manner from that in which
           they are typically operated in the West. It is common for banks to be owned by a
           single shareholder who is both chairman of the board of directors and also closely
           involved in the management of the bank. He therefore has considerable influence
           over the operation of the bank. Mr. Ablyazov’s relationship with the Bank
           conformed with this general description of Kazakh banking practice. Thus Mr.
           Talvitie, the independent member of the Board of Directors of the Bank from East
           Capital, gave evidence that it seemed to him that at board meetings Mr. Ablyazov
           had already made the decisions. He described the other members of the board as
           “straw men”. Others in the Bank, below board level, had the same impression.
           Thus Ms. Tleukulova (a member of the Credit Committee) gave evidence in
           Russia in 2012 that “all top managers of the bank, including Board Members, have
           to obey him”. Mr. Khazhaev also gave evidence in Russia in 2012 that Mr.
           Ablyazov was “the main” person in the Bank who controlled the granting of the
           largest and most important loans. Mr. Ablyazov’s control of the Bank is illustrated
           by his issue of an order (“the Ablyazov Order”) whereby he, as Chairman,
           amended certain procedural rules governing the grant of loans.


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            ...
           [O]fficers and staff in the Bank did not draw a clear distinction between the Bank
           having an interest in a project and Mr. Ablyazov, as shareholder in the Bank,
           having a personal interest in a project. Thus [Deputy Chairman] Zharimbetov,
           when being crossexamined, failed to draw a clear distinction, in the context of the
           offshore companies with which he dealt, between Mr. Ablyazov and the Bank.
           Thus the unfortunate reality appears to have been that little, if any, distinction was
           drawn by personnel in the Bank between the Bank’s property and Mr. Ablyazov’s
           property. The Vitino port project was an example of that reality. Mr. Khazhaev
           told a Russian court in 2012 that Mr. Ablyazov treated the Bank as his property.

           30.      Ablyazov’s abuse of his position as chairman took many forms, principally

    through enormous loans to valueless entities owned by Ablyazov, which would then be obscured

    by transfers among different shell corporations, and never repaid.

           31.      For example, in one series of loans (referred to as the “Original Loans” by the UK

    court in the “Granton Action”), between March 2006 and August 2008, Ablyazov directed twenty

    loans totaling $1,428,840,000 to entities with minimal assets and for no apparent reason. These

    loans were made to entities outwardly unaffiliated with Ablyazov (“Original Borrowers”), but

    were actually transferred to entities controlled by Ablyazov (“Original Real Borrowers”). As the

    UK court found:

           Mr. Ablyazov did not disclose to the Board that he owned or controlled those
           [Original] Borrowers. He has never claimed that he did so and there is no evidence
           that he did. None of the represented Defendants has suggested that he did. In those
           circumstances there can be only one explanation for the fact that the very large
           sums of money which were advanced were immediately transferred to companies
           owned or controlled by Mr. Ablyazov, namely, that the Original Loans were part
           of a dishonest scheme whereby Mr. Ablyazov sought to misappropriate monies
           which belonged to the Bank. The scheme was fraudulent because Mr. Ablyazov
           did not disclose to the Board his interest in the Original Borrowers or that the real
           purpose of the loans was to pay out the Bank's money to the Original Real
           Borrowers who were to use the monies for Mr. Ablyazov’s purposes. The purpose
           of such nondisclosure must have been to deceive the Board so that it remained in
           ignorance of the “related party” nature of the Original Loans and of their true
           purpose.

           32.      When, in or about 2008, Ablyazov’s involvement in the Original Loans was in


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   danger of discovery, he directed that additional fraudulent loans be made in an attempt to cover up

   his earlier fraud.

           33.      Between November 4, 2008, and December 4, 2008 a number of loans (the “Later

   Loans”) totaling $1,031,263,000 were made, ostensibly for the purchase of oil and gas resources.

   The UK court, however, found it “beyond argument” that these loans of BTA funds were made

   only to hide Ablyazov’s earlier theft:

           The Later Loans were made between 5 November and 8 December 2012 but they
           were paid out, not to the Later Borrowers, but to Intermediaries who paid them on
           to other companies, the Recipients, who in turn paid them to the Bank in apparent
           discharge of the Original Loans. They were not used for the purchase of oil and
           gas equipment. Documents said to support and evidence the Later Loans were
           created after the monies had been paid out by the Bank but backdated. Thus
           contracts for the purchase of oil and gas equipment supposedly by the Later
           Borrowers were still being prepared in late November 2008 and backdated to 23
           October 2008.
            ...
           Expert evidence as to the oil and gas industry was adduced by the Bank to
           establish that the oil and gas contracts were shams because of the lack of specific
           provisions which would be appropriate for contracts of their size. But such
           evidence was unnecessary. The email evidence shows that the contracts were
           prepared by persons within the Bank.
             ...
           It is beyond argument that the Later Loans were a mere cloak which sought to hide
           from view the reality, which was that money was being extracted from the Bank
           for the purpose of paying back the Original Loans. Since this circular exercise
           benefitted Mr. Ablyazov (because he owned or controlled the Original Borrowers)
           it is also clear that he must have orchestrated or, at the least, authorised this fraud.

           34.      As a result of Ablyazov’s siphoning billions out of the company, in 2009, BTA

   Bank defaulted on billions of dollars of debt held by investors including Credit Suisse Group AG,

   HSBC Holdings Plc, JPMorgan Chase & Co. and Royal Bank of Scotland Group Plc.

   Kazakhstan’s sovereign wealth fund, Samruk-Kazyna, was forced to take control of BTA Bank,

   and Ablyazov fled to London.




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            35.     BTA then commenced the first in a series of lawsuits against Ablyazov, claiming

    that he had misappropriated approximately $295,000,000 pursuant to this fraudulent scheme.

    Other proceedings followed against Ablyazov in the Chancery Division and England High Court.

    In every proceeding, BTA alleged (and ultimately proved) that Ablyazov treated BTA as his own

    private source of funds. In all, BTA commenced eleven proceedings against Ablyazov and his

    lieutenants for defrauding BTA in excess of $6 billion. The UK courts took the unprecedented

    legal step of granting BTA a Worldwide Freezing Order over Ablyazov’s assets.

            36.     As part of these UK proceedings, in late 2010 BTA obtained a number of search

    and disclosure orders that uncovered a vast network of undisclosed companies and assets used by

    Ablyazov to hold and invest his stolen wealth. The UK courts ordered Ablyazov’s assets to be

    put in the receivership of the accounting firm KPMG (the “Receivership Order”), finding that

    Ablyazov had breached various disclosure and freezing orders against him. The Receivership

    Order gave the receiver the right to recover a network of many hundreds of entities, worth billions

    of dollars.

            37.     On January 26, 2011, a further 212 companies were added to the scope of the

    Receivership Order and on April 8, 2011, a further 3,890 companies were added.

            38.     After Ablyazov defied the Receivership Order entered by the UK courts, BTA

    obtained judgments and sanctions against him for, among other acts, flaunting court orders,

    fleeing and hiding from judicial proceedings, lying during proceedings, and refusing to comply

    with orders directing him to uncover assets. For his numerous actions in contempt of court,

    Ablyazov was sentenced to 22 months imprisonment for his conduct.

            39.     On February 16, 2012, despite having promised the court his attendance at his

    contempt hearing, Ablyazov did not appear. Ablyazov left behind a 100-acre estate in the English



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    countryside and a London mansion, valued at least 20 million pounds sterling (approximately $31

    million) each, and no fewer than 750 shell companies used to invest his stolen funds in oil

    production, property development, and agriculture.

             40.    On November 6, 2012, the Court of Appeal unanimously upheld the judgments

    and contempt orders against Ablyazov. Concurring in the judgment, Lord Justice Maurice Kay

    stated that it was “difficult to imagine a party to commercial litigation who has acted with more

    cynicism, opportunism and deviousness towards court orders than Mr. Ablyazov.”

             41.    Following Ablyazov’s flight from justice, BTA has been granted judgments in 5

    of the 11 claims against Ablyazov and his associates, with others still pending, and has been

    awarded over $4 billion in damages by the UK courts, with interest continuing to accrue. (the

    “Ablyazov Judgments”).

             42.    After a global search spearheaded by BTA Bank, French special forces found and

    arrested Ablyazov in a luxury villa in France on July 31, 2013. He remains detained in a French

    prison pending extradition, and the courts of France have refused to release him on bail three

    times.

             43.    Following Ablyazov’s capture and imprisonment, through his counsel and other

    channels, Ablyazov remained in regular communication with his son-in-law, Ilyas Khrapunov,

    who assumed operational control of much of Ablyazov’s money laundering operations and, in

    concert with Ablyazov and Viktor Khrapunov, has continued the Ablyazov-Khrapunov Group’s

    combined efforts to hide their wealth.

             44.    Ilyas Khrapunov’s continuing role in facilitating the Ablyazov-Khrapunov

    Group’s money laundering efforts was confirmed on July 17, 2015, when Justice Males of the

    Commercial Division of the Queen’s Bench of the U.K. High Court of Justice expanded the


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    freezing order against Ablyazov to encompass specified assets of Ilyas Khrapunov. In response to

    the disclosure obligations imposed by the freezing order, Ilyas Khrapunov invoked his privilege

    against self-incrimination.

            Viktor Khrapunov Defrauded the City of Almaty of Approximately $300 million.

            45.        In 1991, the Republic of Kazakhstan declared its independence from the former

    Soviet Union and began the process of transitioning from communism to an open market

    economy. This transition required substantial privatization of vast state assets in order to restart

    the nation’s economy and raise revenue for improvements to the nation’s infrastructure and

    public services.

            46.        Viktor Khrapunov became mayor of the City of Almaty on or about June 16,

    1997, and remained in that position until approximately December 2004. At the time Viktor

    Khrapunov took office, the Republic of Kazakhstan was experiencing the beginning of a natural

    resources boom and accompanying drive for investment, infrastructure upgrades, and new

    construction. Almaty was the nation’s former capital and largest city, and held enormous public

    assets remaining to be privatized and developed, a responsibility which the office of the mayor

    oversaw and directed.

            47.        Before Viktor Khrapunov assumed the office of the mayor of Almaty, he took an

    oath of office to obey the Constitution and laws of the Republic of Kazakhstan. Among other

    things, he expressly and impliedly promised that he would uphold his fiduciary duties to the

    people of Almaty, would honor his obligation to provide honest services, and would not convert

    money, property, or assets belonging to the City of Almaty for his own use or that of his family,

    friends, or associates.

            48.        In reality, Viktor Khrapunov, along with his son, Ilyas Khrapunov, and other




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    Khrapunov family members and co-conspirators, almost immediately began a multi-year scheme

    to enrich themselves through the corrupt abuse of Khrapunov’s public position as mayor.

           49.      Viktor Khrapunov repeatedly and systemically used the powers of the office of

    the mayor to transfer public assets belonging to the City of Almaty to his family and their co-

    conspirators for prices that were a fraction of their fair value. This was often achieved by

    arranging fraudulent auctions to ensure that interested bidders won these assets at nominal

    prices. In other instances, Viktor Khrapunov used the eminent domain powers of the office of

    the mayor to seize private property ostensibly for the City of Almaty, but then promptly

    transferred that property to entities owned or controlled by the Khrapunovs. They would then

    pass these assets through a series of shell or holding corporations to conceal the destination of

    these assets, before reselling them for prices an order of magnitude greater than what they had

    paid the City of Almaty.

           50.      Three examples of these corrupt schemes to subvert and acquire the public

    property of the City of Almaty follow:

           Transaction One

           51.      In or about 2000, Viktor Khrapunov used his position as mayor of Almaty to

    transfer a large tract of state-owned land near the two rivers area of Almaty to his spouse and co-

    conspirator, Leila Khrapunov, for a total price of approximately $121,000. The final recipient of

    this transfer was concealed through a series of fraudulent transactions and front companies

    controlled by the Khrapunovs. The Khrapunovs ultimately resold this parcel of real estate for an

    estimated $15.57 million, a more than $15 million profit on one interested transaction.

           52.      In short, the Khrapunovs paid approximately $121,000 for a parcel of public real

    estate which they later resold for a total of $15.57 million; a 128,000 percent profit.




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            Transaction Two

            53.      On or about April 16, 2001, Viktor Khrapunov used his position as mayor to

    cause a public building in Almaty to be sold at a fixed and rigged public auction to KRI, a

    company owned by Leila Khrapunov, for approximately $347,000. The property was ultimately

    resold to an unrelated third party for approximately $4.1 million.

            Transaction Three

            54.       In addition to the sale of state-owned assets to Leila Khrapunov and other

    family members and co-conspirators, Viktor Khrapunov also abused his authority as mayor to

    enrich the Khrapunovs by seizing privately-owned property and transferring it to the Khrapunovs

    and others for resale. For example, on or about August 25, 2003, Viktor Khrapunov caused the

    City of Almaty to seize land owned by privately-owned third party Shadid Engineering LLP.

    Approximately one month later, he caused the property to be sold to Leila Khrapunov’s

    company, Karasha, for approximately $105,000. Leila Khrapunov then caused Karasha to sell

    the property directly to her, whereupon she transferred it to another company, BSC, and it was

    sold as part of BSC to an unrelated third party, in a transaction that valued the parcel at

    approximately $2 million. As a result, the Khrapunovs obtained nearly $1.9 million in

    unjustified profit.

            55.      In short, through similar transactions uncovered and still under investigation, the

    Khrapunovs are estimated to have illegally acquired at least 80 pieces of real estate, which they

    converted into approximately $300 million in illicit funds.

            The Khrapunovs and Ablyazov Join Together to Launder Their Stolen Money.

            56.      Seeking to avoid law enforcement attention and possible seizure of this ill-gotten

    wealth, the Ablyazov-Khrapunov Group funneled their corrupt assets into real estate and

    development entities located in, among other places, the United States and Switzerland.


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           57.       Among other locations, the Ablyazov-Khrapunov Group transferred their stolen

    funds to Switzerland, where Ilyas Khrapunov and Madina Ablyazov reside, using accounts and

    sham entities owned or ultimately controlled by the Ablyazov-Khrapunov Group. The

    Ablyazov-Khrapunov Group ultimately transferred to Switzerland hundreds of millions of

    dollars, moved out of Kazakhstan by Viktor Khrapunov and laundered through offshore holding

    companies to appear legitimate.

           58.      Seeking to hide the proceeds of their frauds, the Ablyazov-Khrapunov Group

    created a series of entities in Switzerland and overseas to launder these illicit funds into

    outwardly-legitimate investments. One such entity was Swiss Development Group, formally

    SDG Capital S.A., formed and controlled by Ilyas Khrapunov for the benefit of the Ablyazov-

    Khrapunov Group. Between 2008 and 2012, the Ablyazov-Khrapunov Group and sham

    companies they controlled funneled at least $115 million into SDG derived from the Ablyazov-

    Khrapunov Group’s self-dealing and fraud.

           59.      Through these foreign investment vehicles, the Ablyazov-Khrapunov Group

    sought to obscure their wealth from law enforcement in the Republic of Kazakhstan and abroad,

    by maintaining the appearance of a modest family of civil servants.

           60.      The Ablyazov-Khrapunov Group took numerous steps to maintain this facade

    and conceal their looting of the City of Almaty’s public assets from authorities. Among other

    schemes, Viktor Khrapunov regularly filed false annual tax returns with Kazakhstan's taxation

    authority, the Tax Committee of the Ministry of Finance of Kazakhstan. The false returns

    concealed millions of dollars in monies, properties, and assets the Ablyazov-Khrapunov Group

    had acquired and laundered through their corrupt enterprise.

           61.      For example, according to their 2007 tax returns, which required Viktor and



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    Leila Khrapunov to list their entire net worth accumulated through all sources as of December

    31, 2007, Viktor Khrapunov reported a combined net worth equivalent to $113,298, in addition

    to three vehicles, five modest pieces of real estate, and two parking stalls. While claiming to

    have a total net worth of less than $120,000, Viktor Khrapunov had in fact amassed a fortune

    estimated at no less than $300 million. Indeed, according to public news reports, in 2009 Viktor

    Khrapunov was one of the richest people in Switzerland with a fortune of over $300 million.

    Similarly, in 2012 Viktor Khrapunov was again listed among Switzerland's 300 richest people,

    with a fortune estimated at $324– $432 million.

           The Ablyazov-Khrapunov Group’s Corruption is Exposed and Investigations Begin in
           Kazakhstan and Switzerland

           62.      In late 2007, Viktor Khrapunov was tipped off that the Kazakh government had

    begun investigating the financial dealings of the Ablyazov-Khrapunov Group and their

    associates for a range of criminal acts and self-dealing. In anticipation of possible criminal

    charges, on or about November 9, 2007, Viktor and Leila Khrapunov boarded a private jet and

    fled Kazakhstan for Switzerland, where Ilyas Khrapunov and Madina Ablyazov resided, and the

    bulk of their looted funds were held.

           63.       On or about May 27, 2011, the Investigation Department of the Agency for

    Economic and Corruption-Related Crimes of Kazakhstan (the “Investigation Department”) filed

    two criminal cases against Viktor Khrapunov for abuse of power and fraudulent acts, and on or

    about July 21, 2011, obtained a court-ordered arrest warrant for Viktor Khrapunov. Through

    2011 and 2012 additional charges were brought in Kazakhstan against Viktor, Leila, and Ilyas

    Khrapunov, arising from the theft of public property and the ultimate laundering of funds during

    Viktor Khrapunov’s tenure as Mayor of Almaty.

           64.      On or about February 20, 2012 and September 14, 2012, the Investigation


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    Department applied to the Federal Office of Justice in Switzerland for legal assistance in

    connection with the effort to prosecute Viktor, Leila, and Ilyas Khrapunov for crimes in

    Switzerland and Kazakhstan relating to their corrupt acts in Almaty and the laundering of the

    resulting funds. In response to this request, in mid-2012 the Public Prosecutor of Geneva opened

    an investigation into the Ablyazov-Khrapunov Group on suspicion of violating Swiss money

    laundering laws. The Public Prosecutor of Geneva subsequently seized financial and banking

    documents from the Ablyazov-Khrapunov Group and ordered Swiss accounts and assets

    belonging to them be frozen, including accounts held at Swiss banks Sarasin & Co. Ltd., Credit

    Suisse, and Schroeder & Co. This investigation by the Swiss authorities is ongoing, and in

    August 2013 the Public Prosecutor of Geneva froze additional assets belonging to the Ablyazov-

    Khrapunov Group.

           65.      At this time, in addition to the numerous judgments against Ablyazov in the

    United Kingdom, there are no less than 24 criminal charges pending against Viktor Khrapunov

    in Kazakhstan for embezzlement, fraud, money laundering, establishing and directing an

    organized criminal group for criminal purposes, abuse of power, and bribery. There are

    additional charges pending against Leila Khrapunov and Ilyas Khrapunov in Kazakhstan for,

    among other offenses, money laundering and establishing and directing an organized criminal

    group for criminal purposes. Assets of the Ablyazov-Khrapunov Group remain frozen by Swiss

    authorities, and the Government of the Republic of Kazakhstan has formally requested

    extradition of Viktor Khrapunov.

           66.      Despite the numerous investigations and freezing orders against the members of

    the Ablyazov-Khrapunov Group, the conspirators continue to launder their commingled stolen

    wealth through acts of fraud and in furtherance of the conspiracy.




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           67.      As one example, from 2011 through the present, members of the Ablyazov-

    Khrapunov Group, including Ilyas Khrapunov and Ablyazov himself, conspired to fund

    Ablyazov’s widespread global legal campaign with laundered funds, despite global freezing and

    receivership orders against Ablyazov’s assets.

           68.      In May of 2011, two entities that Ablyazov had been using to fund his various

    litigations were put in receivership, based on findings that they were not arms-length lenders, but

    in fact controlled and funded by Ablyazov himself. Deprived of a funding source, Ablyazov

    conspired with other members of the Ablyazov-Khrapunov Group to circumvent the receivership

    and freezing orders against him and began funding his litigation – including litigation against the

    Republic of Kazakhstan – through loans from a series of shell companies, including the Belizean-

    registered entity Green Life International SA (“Green Life”).

           69.      The conspirators represented to the U.K. receivers and courts that Green Life was

    an arms-length entity owned and funded by Gennady Petelin, but did not disclose that Petelin was

    related by marriage to the Ablyazov and Khrapunov families.

           70.      In fact, Green Life was one more in a long series of shell entities used by the

    Ablyazov-Khrapunov Group to launder their stolen funds. At Ablyazov’s direction, Ilyas

    Khrapunov and other members of the Ablyazov-Khrapunov Group transferred millions of dollars

    in funds from accounts controlled by the Ablyazov-Khrapunov Group through Petelin and Green

    Life to Ablyazov’s counsel. To obscure this scheme, all funds were transferred from Green Life to

    Chabrier Avocats, the Swiss counsel for the Khrapunov family and SDG, before being paid to

    Ablyazov’s counsel.

           71.      Using Petelin’s name to deter suspicion, the conspirators were able to launder and

    spend millions of dollars in stolen funds that should rightly have been placed in receivership.




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           72.       The use of Petelin as a front for Ablyazov shell corporations such as Green Life

    was based in part on the close relationship between Petelin and Viktor Khrapunov. Viktor

    Khrapunov, whose daughter is married to Petelin’s son, collaborated with Petelin on investments

    of the Ablyazov-Khrapunov Group’s funds in Russia, where Petelin resided and had an extensive

    network of contacts. For example, in 2013, Viktor Khrapunov engaged in discussions with Petelin

    for the purpose of utilizing Petelin’s contacts in Russia to facilitate the investment of the

    Ablyazov-Khrapunov Group’s funds in Russian oil and energy assets.

           73.       As another example of the Ablyazov-Khrapunov Group’s continuing operations,

    members of the Ablyazov-Khrapunov Group hired computer hackers to illegally surveil French

    prosecutors and other public officials in an effort to free Ablyazov from French prison.

           74.       Ablyazov was arrested by French special forces in 2013 after fleeing the U.K.,

    but has remained in continuous contact with his coconspirators during his imprisonment. During

    his incarceration, Ablyazov directed his coconspirators, and his son-in-law Ilyas Khrapunov in

    particular, to use an array of unlawful means to secure his release.

           75.       At Ablyazov’s direction, in 2013 Ilyas Khrapunov hired a “black hat” computer

    security group to hack into the personal and work communications of numerous French public

    officials, including the prosecutors in Ablyazov’s French extradition proceedings. Without

    permission and in violation of law, these hackers successfully breached the computers and mobile

    phones of numerous French law enforcement and justice officials, intercepted their electronic

    communications, and installed malicious software permitting them to remotely activate the

    microphones on these public officials’ mobile phones to eavesdrop on and record their

    conversations. The hackers then transmitted French officials’ intercepted communications,

    including emails, text messages, documents, and photographs, to Ilyas Khrapunov, who shared




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    and discussed this illegally-obtained surveillance with Ablyazov himself. Ablyazov then used this

    information as part of his legal campaign to avoid extradition.

           76.      In return for this illegally-intercepted information, the Ablyazov-Khrapunov

    Group paid hundreds of thousands of dollars to these hackers-for-hire, from funds traceable to the

    thefts from BTA Bank and the City of Almaty.

           The Ablyazov-Khrapunov Group Conspires to Transfer and Hide Illicit Funds in the
           United States.

           77.      In 2011 and 2012, in response to escalating pressure on the Ablyazov-Khrapunov

    Group from both Kazakh and Swiss authorities and legal proceedings in the United Kingdom, the

    Ablyazov-Khrapunov Group embarked on a scheme to secret the families’ illicit wealth in real

    estate investments in the United States. Upon information and belief, the Ablyazov-Khrapunov

    Group selected the United States as a harbor for these stolen funds because they believed real

    estate investments in the United States would be difficult for Kazakh authorities to access.

           78.      To execute this scheme the Ablyazov-Khrapunov Group used SDG, their Swiss

    real estate vehicle, and Telford International Limited (“Telford”), a Dubai-based private

    contracting entity controlled by the Ablyazov-Khrapunov Group.

           79.      To create the appearance that SDG was independent of the Ablyazov-Khrapunov

    Group, in 2012 SDG was purportedly sold to a close friend and political ally of the Ablyazov-

    Khrapunov Group, Philippe Glatz. This sale was in fact a sham transaction, with the Ablyazov-

    Khrapunov Group maintaining beneficial ownership and control of SDG.

           80.      Upon information and belief, the Ablyazov-Khrapunov Group paid Mr. Glatz to

    purchase SDG using the Ablyazov-Khrapunov Group’s own funds: Glatz accepted a loan from

    the Ablyazov-Khrapunov Group and then repaid that loan while outwardly claiming that this

    payment to the Ablyazov-Khrapunov Group was for the purchase of SDG. In fact, the transfer


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    of SDG was illusory, as Mr. Glatz was merely repaying a prior obligation, and effectively getting

    SDG for free.

           81.      To reduce the amount of cash needed to effectuate this sham sale, Ilyas

    Khrapunov offered SDG to Glatz at an incredibly discounted price. Although at the time of the

    purported sale SDG’s assets were valued at approximately $150 million, Glatz only transferred

    approximately $3.5 million in cash to the Khrapunov family for SDG – roughly two percent of

    SDG’s assessed asset value.

           82.      To justify this incredible discount to asset value, Ilyas Khrpaunov used his control

    of SDG to falsely book millions of dollars in supposed debt and liabilities to hide the fraudulent

    nature of the transition he had orchestrated.

           83.      This sham transaction served the Ablyazov-Khrapunov Group’s purposes by

    creating the appearance that SDG had changed ownership, although the Ablyazov-Khrapunov

    Group received no net consideration for the purported sale, and Glatz was left beholden to the

    Ablyazov-Khrapunov Group and explicitly obligated to hold their interest in the investment.

           84.      The capital structure, organization, management, and illicit purpose of SDG

    remained the same after the purported sale, and the Ablyazov-Khrapunov Group still profits

    from and manages SDG’s operations. Ilyas Khrapunov continues to control SDG while holding

    himself out to be a mere “outside advisor” to the company, all the while protecting and reaping

    the benefits of the Ablyazov-Khrapunov Group’s investments in SDG.

           Through SDG, the Ablyazov-Khrapunov Group Creates Triadou to Hide their Illicit
           Funds in New York Real Estate Transactions with the Chetrit Group.

           85.      In or about 2011, Ilyas Khrapunov, on behalf of the Ablyazov-Khrapunov Group,

    approached Nicolas Bourg, a Belgium-based real estate fund manager, seeking to create a new

    entity controlled by SDG to mask the Ablyazov-Khrapunov Group’s efforts to invest in real



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    estate opportunities in the United States.

            86.     In consultation with Ilyas Khrapunov, Bourg formed a series of entities under the

    laws of Luxembourg for the specific purpose of investing the Ablyazov-Khrapunov Group’s

    funds in real estate in the United States. These entities included Triadou, an investment vehicle

    wholly owned and controlled by SDG, which was itself a front for the Ablyazov-Khrapunov

    Group’s activities.

            87.     Triadou is a special purpose vehicle: a limited-liability legal entity created to

    fulfill a specific purpose, often used to insulate a parent entity from financial risk or liability.

    SPVs can also be used, as Triadou was, to hide the true ownership of assets held by the SPV, or

    to obscure relationships between individuals and entities. Bourg became the sole director of

    Triadou, operating at the direction of the Ablyazov-Khrapunov Group, who continued to control

    SDG, Triadou’s sole shareholder.

            88.     At the direction of Ilyas Khrapunov, Bourg made contact with Eric Elkain, an

    agent of Chetrit and the Chetrit Group. Bourg and Elkain agreed to arrange a meeting between

    Chetrit and Ilyas Khrapunov for the purpose of exploring concealed investments by the

    Ablyazov-Khrapunov Group in the United States with the Chetrit Group.

            89.     In or about 2012, Chetrit and his brother and partner Meyer Chetrit met with Ilyas

    Khrapunov and Bourg in Geneva, Switzerland. While the Ablyazov-Khrapunov Group had

    purportedly divested itself of any interest in SDG by this time, Ilyas Khrapunov held himself out

    to Chetrit as having a controlling ownership interest in SDG.

            90.     At this meeting, Chetrit and Ilyas Khrapunov discussed possible investment

    strategies for the Ablyazov-Khrapunov Group in the United States real estate sector. In these

    discussions, Ilyas Khrapunov disclosed the fact that the Ablyazov-Khrapunov Group was facing



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    criminal charges and asset freezes directed by the governments of Kazakhstan, Switzerland, and

    the United Kingdom, and needed to move funds to other jurisdictions. During the continuing

    course of his dealings with the Ablyazov-Khrapunov Group, this situation was repeatedly and

    unequivocally made clear to Chetrit. Specifically, the Ablyazov-Khrapunov Group needed to

    move funds that were the subject of criminal charges and asset freezes as a result of the

    proceedings both against Ablyazov and the Ablyazov-Khrapunov Group. Chetrit expressed

    sympathy with this situation, stating that his own family had faced political sanctions in his

    native Morocco, a result of having defrauded the King and being forced to flee. Chetrit and Ilyas

    Khrapunov agreed in principle to seek joint investments in the United States, and agreed to meet

    further.

               91.   Following this meeting in Geneva, Ilyas Khrapunov and Bourg met with Chetrit

    again in New York City, to evaluate potential investment options. While discussing specific

    investment opportunities, the parties again openly and repeatedly discussed the criminal charges

    against the Ablyazov-Khrapunov Group and the efforts of the governments of Switzerland and

    Kazakhstan to locate and seize the assets of the Ablyazov-Khrapunov Group. Again, Ilyas

    Khrapunov acted on behalf of SDG and Triadou, despite the Ablyazov-Khrapunov Group’s

    purported sale of SDG a year prior.

               92.   As a result of these discussions, the Ablyazov-Khrapunov Group invested,

    through Triadou, with Chetrit and the Chetrit Group in a number of real estate opportunities in

    New York City. The most significant of these were investments in the Flatotel and Cabrini

    Medical Center developments in New York City.

               93.   The Flatotel is a 289-room business hotel opened in 1991, located at 135 West

    52nd St, New York, New York.




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           94.     The Cabrini Medical Center hospital campus closed in 2008 and is now

    comprised of several buildings containing approximately 250 condominium units.

           95.     Both the Flatotel and the Cabrini Medical Center properties were purchased by

    members of the Chetrit Group, along with co-investors. The developers have been executing

    plans to convert both properties into luxury condominiums, and are close to completion.

           96.     The Chetrit Group owned a 75% interest in the Flatotel, and created a series of

    limited liability entities to hold that interest, including Counterclaim Defendants CF 135 FLAT

    LLC and CF 135 West Member LLC.

           97.     The Chetrit Group offered to sell half of their 75% investment in the Flatotel to

    Triadou, after which the Chetrit Group and Triadou would each own 37.5%. Triadou would

    provide 70% of the capital needed – against Chetrit’s 30%, the difference amounting to an

    above-market “promote fee” for Chetrit that ensured that the Chetrit Group would reap the

    largest profits from the Flatotel development, even as it put in the least capital – and the parties

    would then divide the profits from the investment. In or about March 25, 2013, Triadou

    accepted this offer, notwithstanding the fact that the terms strongly favored Chetrit, and

    committed to transmit funds to the Chetrit Group to secure the 37.5% interest in the Flatotel

    property.

           The Ablyazov-Khrapunov Group Enlists FBME to Facilitate Their Money Laundering
           Scheme in the United States

           98.     The Ablyazov-Khrapunov Group sought to fund Triadou’s investments with

    money from the Ablyazov-controlled entity Telford, held in accounts with FBME.

           99.     Telford’s FBME accounts were managed by Eesh Aggarwal, Chairman of Azure

    Consultants DMCC, and a close financial advisor to Ablyazov. Aggarwal had connected

    Ablyazov and other members of the Ablyazov-Khrapunov Group to FBME through Aggarwal’s


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    contacts with high-level officers at FBME, and in time FBME became one of the Ablyazov-

    Khrapunov Group’s primary banks. On information and belief, the conspirators favored FBME

    due to its presence inside of the European Union, its lack of anti-money laundering protections,

    and its eagerness to service high-risk clientele and shell corporations such as Telford.

           100.    FBME promoted its weak due diligence standards to attract high-risk, high-value

    clients just like the Ablyazov, and was known for its willingness to do business with clients

    seeking to avoid regulatory oversight. In particular, FBME relied on an “Approved Third Party”

    program, where FBME’s contacts could introduce new, high-value clients to the bank with

    virtually no due diligence of these new relationships. Upon information and belief, Aggarwal was

    one such “Approved Third Party,” and with the approval of certain FBME officers, was able to

    launder the Ablyazov-Khrapunov Group’s funds through FBME by way of entities such as the

    Ablyazov-controlled Telford, with effectively no scrutiny or due diligence by FBME.

           101.    FBME had a history of moving funds for Aggarwal and Ablyazov with no

    questions asked, which led the conspirators to favor FBME for their criminal schemes aimed at

    the United States. For example, on June 11, 2011, FBME executed more than $27 million in

    transfers of Ablyazov’s stolen funds to Amber Limited, a shell company registered in the U.A.E.

    (where Aggerwal operates) subsequently found to be an undisclosed Ablyazov asset and added to

    the U.K. courts’ freezing and receivership orders.

           102.    Telford’s accounts at FBME bank were used to covertly move and invest funds

    stolen by Ablyazov from BTA Bank. Because the Telford accounts consisted of Ablyazov’s

    stolen funds, Ilyas Khrapunov conferred with Ablyazov regarding investments of funds from

    Telford, and Ablyazov’s approval was required for transfers from Telford. Even after Ablyazov’s

    incarceration in France he remained in contact with his coconspirators, and while Ilyas




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    Khrapunov took operational control of much of the Ablyazov-Khrapunov Group’s network,

    Ablyazov continued to direct specific transfers of funds, including those from Telford’s FBME

    accounts.

           103.    Triadou attempted to transfer Telford’s funds held in FBME for the Flatotel and

    Cabrini deals through banks in Luxembourg, but those banks refused to accept wire transfers

    from the Ablyazov-Khrapunov Group’s FBME accounts due in part to the investigations or

    proceedings led by the Kazakh, Swiss, and United Kingdom authorities.

           104.    Bourg then contacted Chetrit about alternative wire transfer arrangements.

    Informed that commercial banks refused to handle Triadou’s funds from Telford, Chetrit

    conspired to launder the money, instructing Bourg to disregard the banks and transfer funds

    directly from the Ablyazov-Khrapunov Group’s offshore accounts to the escrow account of

    Chetrit’s personal and corporate attorneys. Bourg then directed a series of wire transfers, on

    behalf of Triadou, from Telford’s accounts at FBME directly to Chetrit’s counsel.

           105.    FBME executed these transfers despite their blatant indicia of money laundering,

    including that (1) Telford was a recently incorporated offshore shell company with no obvious

    business purpose, (2) Telford was purportedly owned by another offshore nominee-shareholder

    trust, (3) Telford was seeking to transfer millions of dollars into escrow accounts with no due

    diligence, and (4) Telford was transferring these funds from a high-risk jurisdiction for the benefit

    of an unrelated third party operating in a more financially-rigorous jurisdiction.

           106.    This was not the only instance of FBME executing such obviously suspicious

    transfers for Aggerwal and the Ablyazov-Khrapunov Group without concern for money

    laundering red flags. At the same time FBME began to execute transfers from Telford to the

    accounts of Chetrit’s counsel, on or about October 9, 2013, FBME executed wire transfers for $25




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    million from Telford’s accounts for an investment in overseas telecommunications assets. Again

    Telford was transferring millions of dollars of Ablyazov’s money for the benefit of another entity

    linked to the Ablyazov-Khrapunov Group.

           107.    Subsequent to these transfers, on July 22, 2014, the U.S. Financial Crimes

    Enforcement Network (“FinCEN”) designated FBME Bank a “foreign financial institution of

    primary money laundering concern.” FinCEN found that FBME Bank was regularly “used by its

    customers to facilitate money laundering, terrorist financing, transnational organized crime,” had

    “systemic failures in its anti-money laundering controls that attract high-risk shell companies,”

    and performed a “significant volume of transactions and activities that have little or no

    transparency and often no apparent legitimate business purpose.”

           108.    Under Section 311 of the PATRIOT Act, FinCEN barred U.S. financial institutions

    from opening or maintaining “payable-through” accounts with FBME.1 In the accompanying

    official announcement, FinCEN’s then-Director emphasized that FBME was not merely

    negligent, but rather “promotes itself on the basis of its weak Anti Money Laundering (AML)

    controls in order to attract illicit finance business from the darkest corners of the criminal

    underworld,” and “openly advertises the bank to its potential customer base as willing to facilitate

    the evasion of AML regulations.”

           109.    In its updated rule barring U.S financial institutions from dealing with FBME,

    FinCEN noted in particular FBME’s pervasive dealings with obscure shell companies just like

    Telford, serving no purpose but to facilitate money laundering:

                   FinCEN considered all of the relevant information and is particularly

           1
                    FBME challenged FinCEN’s rulemaking in the United States District Court for
    the District of Columbia and won a temporary reprieve, but FinCIN reissued the rule in
    substantially the same form on March 31, 2016. That updated rule is now undergoing judicial
    review.


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           concerned with: (1) The large number of FBME customers that are either shell
           companies or that conduct transactions with shell companies; (2) the lack of
           transparency with respect to beneficial ownership or legitimate business purposes
           of many of FBME’s shell company customers; (3) the location of many of its
           shell company customers in other high-risk money laundering jurisdictions
           outside of Cyprus; (4) the high volume of U.S. dollar transactions conducted by
           these shell companies with no apparent business purpose; and (5) FBME’s
           longtime facilitation of its shell company customers’ anonymity by allowing
           thousands of customers to use the bank’s physical address in lieu of their own.

           110.    The Central Bank of Cyprus has frozen all assets transfers to or from FBME, and

    taken control of the bank pending completion of an investigation into its operations. FBME

    remains under the control of the Central Bank of Cyprus, and upon information and belief,

    continues to hold millions in funds belonging to the Ablyazov-Khrapunov Group and shell

    companies they control.

            The Ablyazov-Khrapunov Group Enters a Second Deal with Chetrit, Again Funded By
            Telford through FBME

           111.    Through Triadou, the Ablyazov-Khrapunov Group entered a second investment

    with the Chetrit Group shortly thereafter. In late 2012, Triadou agreed to invest $12 million in

    the Cabrini Medical Center conversion, a joint venture between the Chetrit Group and another

    private developer to convert a former medical center in New York City into luxury

    condominiums.

           112.    Due to increasing scrutiny on the Ablyazov-Khrapunov Group’s finances, the

    contemplated $12 million investment became impossible. Bourg discussed this obstacle with

    Chetrit, who agreed that Triadou should invest $6 million, half the originally-agreed amount,

    until further funds became available. In return for this $6 million investment, Triadou would

    receive a promissory note and the right to convert that note into equity in the entity holding the

    Chetrit Group’s interest in the Cabrini deal, 227 East 19th Holder, LLC.

           113.    Again, the funds to execute the Cabrini deal were transferred, on May 20, 2013,


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    directly from the Ablyazov-Khrapunov Group’s Telford accounts at FBME Bank to a law firm in

    New York working on Chetrit’s behalf. Again, this transfer of funds from Telford was only

    executed after Ilyas Khrapunov received explicit direction from Ablyazov.

           Kazakh Authorities Target the Ablyazov-Khrapunov Group’s Holdings in the United
           States, and the Ablyazov-Khrapunov Group Liquidates Those Assets at Below-Market
           Value with the Chetrit Group’s Assistance.

           114.    In 2014, Almaty filed an action in California federal court against members of the

    Ablyazov-Khrapunov Group seeking to seize assets that they had attempted to launder through

    real estate investments in California. That action is City of Almaty v. Viktor Khrapunov, et al,

    Case No. 2:14-cv-03650-FMO-CW (filed May 13, 2014; dismissed September 21, 2015) (the

    “California Litigation”). On information and belief, this lawsuit led the Ablyazov-Khrapunov

    Group to believe their assets in the U.S. were no longer safe from seizure by the government of

    Kazakhstan.

           115.    In response, in late 2014, Ilyas Khrapunov directed Bourg, Triadou’s director, to

    begin liquidating Triadou’s assets in New York so that the funds could be removed from the

    United States and hidden. Specifically, Ilyas Khrapunov told Bourg to liquidate Triadou’s

    investments in Flatotel and the Cabrini Medical Center as quickly as possible.

           116.    Bourg approached Chetrit, explaining that the threat of the California Litigation

    was pressuring Triadou and the Ablyazov-Khrapunov Group into moving their assets out of the

    United States. Chetrit offered to purchase an assignment of Triadou’s interest in the Flatotel at a

    substantial discount from the price originally paid by Triadou. By this point, the value of

    Triadou’s investment had in fact increased substantially beyond the funds originally invested.

           117.     Chetrit simultaneously proposed to bribe Bourg, so Chetrit could further take

    advantage of Triadou and secretly influence it to obtain a discounted price. Specifically, Chetrit




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    proposed that Bourg covertly use his position as director of Triadou to accept a lower price for

    the Chetrit Group’s purchase of an assignment, thus decreasing Triadou’s recovery from the

    investment and increasing the Chetrit Group’s profit. In return for securing for Chetrit a lower

    assignment price, Chetrit agreed to surreptitiously pay Bourg $3 million.

           118.     In or about August of 2014, Bourg, acting on behalf of Triadou and at the

    direction of the Ablyazov-Khrapunov Group, agreed to assign Triadou’s interest in the Flatotel

    back to the Chetrit Group for a price as low as $26 million, only a fraction of the fair market

    value of the properties. At the same time, Bourg executed a release of the promissory note that

    Triadou held entitling it to equity in the Cabrini Medical Center development. At the time of this

    assignment and release, Viktor Khrapunov was facing criminal charges as well as possible fines

    and disgorgement in Kazakhstan; the Kazakh government had formally sought extradition of

    Viktor Khrapunov from Switzerland; Ablyazov was being held in French prison awaiting

    extradition; and the Swiss assets of the Ablyazov-Khrapunov Group remained frozen. Not only

    were all of these facts widely disseminated in the news, they were known by all parties to the

    assignment and release transactions, including Chetrit, and it was not uncommon for their

    meetings to begin with a discussion of the possibility of the incarceration of members of the

    Ablyazov-Khrapunov Group.

           119.     Following the assignment and release, Bourg invoiced Chetrit for $1 million of

    the agreed-upon $3 million bribe. After receiving the invoice, Chetrit paid Bourg $400,000, but

    refused to pay the full amount demanded by Bourg.

           120.     In or about March 2015, Bourg met with Chetrit, and recorded the meeting. As

    captured on audio, Bourg demanded the remainder of his promised compensation. Chetrit

    acknowledged that he had paid Bourg “400 or 500,” but responded that Bourg would receive the




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    additional $600,000 only when Chetrit paid what he owed Triadou for the assignment, and that

    he had no intention of paying Triadou until forced to do so. Chetrit further stated on tape that

    Bourg would not receive any remaining money.

            121.    At that meeting, Bourg and Chetrit repeatedly discussed the legal troubles of

    Mukhtar Ablyazov and Victor and Ilyas Khrapunov. Chetrit repeatedly avoided using Ilyas

    Khrapunov’s actual name, referring to him instead by the code name “Pedro.” Chetrit and Bourg

    discussed how “Pedro” was “sought by Interpol” and his “father-in-law [was] still in prison,”

    and Chetrit agreed that law enforcement was “coming at [the Ablyazov-Khrapunov Group] from

    all sides.”

            122.   Also at that meeting, Chetrit and Bourg discussed the fact that due to the

    investigation in Switzerland, Ilyas Khrapunov could not leave the country and was under intense

    law enforcement pressure. In addition, Chetrit once again acknowledged his longstanding

    understanding that Ablyazov and his criminal situation was behind the motivations of the

    Ablyazov-Khrapunov investments in the United States.           Chetrit further acknowledged his

    longstanding understanding that the Ablyazov-Khrapunov Group had made similar investments

    in other countries, such as Greece, to conceal and launder the proceeds of their crimes.

            123.    On or about March 22, 2015, after his meeting with Chetrit, Bourg contacted

    Elkain, Chetrit’s agent in Europe, and also recorded that phone call. In that call, Bourg sought to

    confirm the terms of his secret deal with Chetrit. During this recorded conversation, Bourg and

    Elkain agreed that the secret deal between Chetrit and Bourg called for $3 million in

    compensation for Bourg. Elkain agreed that he “confirmed the deal” between Chetrit and Bourg,

    and “would have never said that if [Chetrit] hadn’t told [him] so.” Bourg requested Elkain’s aid

    in receiving the remainder of his payment, but Elkain responded that whether or not the




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    agreement would be honored was up to Chetrit.

            124.     Despite the finalized assignment agreement and release, the Chetrit Group

    refused to make any payments to Triadou following the sale. In response, Triadou filed a series

    of actions in New York state courts, seeking summary judgment and payment of these

    obligations under the assignment agreement. Those actions are Triadou SPV S.A. v. CF 135

    FLAT LLC, et al., No. 653462/2014 (Nov. 10, 2014); Triadou SPV S.A. v. CF 135 FLAT LLC, et

    al., No. 650239/2015 (Jan. 26, 2015); Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

    154681/2015 (May 11, 2015), and Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

    156907/2015 (July 9, 2015),

            125.     Each of these actions seeks the payment of money to Triadou derived from the

    sale of property illicitly obtained by the Ablyazov-Khrapunov Group, and rightfully owned by

    BTA and Almaty.

            126.     By this lawsuit, BTA Bank and the City of Almaty seek to hold Crossclaim

    Defendants responsible for their illegal conduct in the United States in violation of U.S. law.

                                      FIRST CAUSE OF ACTION

                              (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                       Against All Defendants

            127.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 126

    as if fully set forth herein.

            128.    This cause of action is against all Crossclaim Defendants (the “Count 1

    Defendants”).

            129.     From 1997 and continuing to the present, the Ablyazov-Khrapunov Group and

    numerous other individuals and entities, including SDG and Telford, have constituted an

    association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 1


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    Enterprise”).

           130.      In 2012, the Chetrit Group knowingly and willfully joined the Count 1 Enterprise

    by aiding the Ablyazov-Khrapunov Group’s schemes to hide and launder their illicit assets

    through investments by SDG through Triadou in properties owned by the Chetrit Group.

           131.      The Count 1 Enterprise was engaged in, and the activities of the Count 1

    Defendants affected, interstate and foreign commerce.

           132.      The Count 1 Defendants conducted or participated, directly or indirectly, in the

    conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity

    consisting of the following predicate acts of racketeering within the meaning of 18 U.S.C.

    § 1961(1)(B):

               a. The Count 1 Defendants engaged and conspired to engage in money laundering

                    in violation of 18 U.S.C. § 1956 by conducting numerous financial transactions

                    using illegally obtained funds to purchase real estate investments in New York

                    City and elsewhere and to fund business entities including SDG and Triadou,

                    knowing that such funds were unlawfully converted from the City of Almaty and

                    BTA Bank, with the goal of concealing the source of those funds. The Count 1

                    Defendants further engaged and conspired to engage in money laundering in

                    violation of 18 U.S.C. § 1956 by transporting, transmitting, and/or transferring

                    funds stolen from Almaty and BTA into and within the United States in order to

                    conceal their source and existence from lawful investigations conducted by

                    Swiss, Kazakh, and United Kingdom authorities.

               b. The Count 1 Defendants further engaged and conspired to engage in money

                    laundering in violation of 18 U.S.C. § 1956 by conducting financial transactions




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            using those stolen funds by, among other things, using stolen funds to purchase

            real estate and other assets in New York City and elsewhere and to fund business

            entities, including Triadou and SDG, with the intent to further the Count 1

            Enterprise and to conceal the source of those funds.

         c. The Count 1 Defendants engaged and conspired to engage in money transactions

            in property derived from specified unlawful activity in violation of 18 U.S.C.

            § 1957 by, among other things, knowingly transferring funds in excess of $10,000

            stolen from Almaty and BTA into and within the United States to invest in real

            estate and other assets in New York City with the aid of the Chetrit Group,

            knowing that such funds were stolen from the City of Almaty and BTA Bank.

         d. The Count 1 Defendants engaged and conspired to engage in mail fraud in

            violation of 18 U.S.C. § 1341 and wire fraud in violation of 18 U.S.C. § 1343 by

            knowingly using the mails and wires to transfer illegally obtained funds into and

            within the United States, for the purpose of furthering the Count 1 Enterprise and,

            while concealing the funds’ illegal source, used those funds to purchase real estate

            in New York City and to fund business entities, including SDG and Triadou, that

            enabled those entities to conduct business in the United States using the illegally-

            obtained funds.

         e. The Count 1 Defendants unlawfully transported or caused to be transported in

            interstate or foreign commerce securities or money having a value of $5,000 or

            more which was stolen, converted or taken by fraud from Almaty and BTA Bank,

            and knowing the same to be stolen, converted or taken by fraud in violation of 18

            U.S.C. § 2314.




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               f. The Count 1 Defendants received, possessed, concealed, sold, or disposed of

                   securities or money having the value of $5,000 or more, or conspired to do the

                   same, which crossed a state or United States boundary after being stolen,

                   unlawfully converted, or taken from Almaty and BTA Bank, and knowing the

                   securities or money to have been stolen, unlawfully converted, or taken in

                   violation of 18 U.S.C. § 2315.

           133.     Each of the Count 1 Defendants conducted or participated, directly or indirectly,

    in the conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity,

    within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

    Count 1 Defendants engaged or conspired to engage in two or more predicate acts of

    racketeering, and each committed at least one such act of racketeering after the effective date of

    RICO. From in or about 1997, and continuing to the present, Count 1 Defendants associated

    together, with one another and with others, and acted in concert for the common and unlawful

    purposes of the Count 1 Enterprise and in order to implement the schemes and employ the

    devices described herein. The specific related predicate acts that constitute the pattern of

    racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

    the following acts of money laundering, transactions in money and property derived from

    specified unlawful activity, foreign transport of stolen money or property known to be stolen,

    converted or taken by fraud, mail fraud, and/or wire fraud:

               a. The 2012 sham sale of SDG to Philippe Glatz to create the appearance that SDG

                   was independent of the Ablyazov-Khrapunov Group;

               b. the fraudulent loan from the Ablyazov-Khrapunov Group to Mr. Glatz to facilitate

                   the SDG sale transaction;




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         c. the formation of Triadou and other entities by SDG at the direction of Bourg and in

            consultation with Ilyas Khrapunov;

         d. Chetrit’s meetings with Ilyas Khrapunov in or about 2012 in Switzerland and New

            York City, and their subsequent agreement to invest the Ablyazov-Khrapunov

            Group’s unlawfully obtained money in real estate in New York City;

         e. E-mails directly between Chetrit and Ilyas Khrapunov as well as through

            intermediaries discussing the Ablyazov-Khrapunov Group’s possible investments in

            New York real estate;

         f. the formation of the investment vehicles necessary to facilitate the Flatotel and

            Cabrini investments;

         g. Telford’s failed attempt to transfer funds held in FBME Bank for the Flatotel and

            Cabrini deals through banks in Luxembourg;

         h. the May 20, 2013 transfer of funds from Telford to Chetrit’s attorney representing

            Triadou’s investment of $6 million in the Cabrini deal, along with Chetrit’s

            promissory note and Triadou’s right to convert that debt into equity in Cabrini;

         i. a series of other wire transfers on behalf of Triadou from Telford’s accounts at

            FBME Bank Ltd. to Chetrit’s counsel in New York, including transfers on

            November 9, 2012, and January 22, February 13, February 19, April 8, April 16,

            and April 24, 2013;

         j. a May 22, 2013 wire transfer of $28 million from Telford to a different law firm’s

            Citibank account in New York used for a separate New York real estate investment

            with Chetrit;

         k. a May 2014 agreement (executed August 2014) to transfer Triadou’s interest in the




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                    Flatotel to the Chetrit Group at a below-market price;

                l. Chetrit’s and Triadou’s signed May 2014 release of the promissory note regarding

                    Triadou’s $6 million investment in the Cabrini Medical Center development;

                m. Chetrit’s payment of $400,000 to Bourg in partial satisfaction of Chetrit’s

                    agreement with Bourg to pay him $3 million in exchange for securing Chetrit a

                    lower assignment price for Triadou’s interests in the Flatotel and Cabrini deals;

                    and

                n. a payment of $1 million from Chetrit to Triadou in partial satisfaction of Chetrit’s

                    obligations under the fraudulent assignment.

            134.     As a direct and proximate result of RICO violations by the Count 1 Defendants

    of 18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined

    at trial and presently estimated to be not less than $6 billion. Almaty and BTA have been injured

    in their business or property by reason of each Count 1 Defendants’ violations and, pursuant to

    the civil remedy provisions of 18 U.S.C. § 1964(c), are thereby entitled to recover threefold the

    damages suffered, together with the costs of this suit and reasonable attorneys’ fees.

                                    SECOND CAUSE OF ACTION

                              (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                       Against All Defendants

            135.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 134

    as if fully set forth herein.

            136.    This cause of action is against all Crossclaim Defendants (the “Count 2

    Defendants”).

            137.     From its formation and continuing to the present, CF 135 West Member LLC,

    has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 2



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    Enterprise”).

           138.      The Count 2 Enterprise was engaged in, and the activities of the Count 2

    Defendants affected, interstate and foreign commerce.

           139.      The Count 2 Defendants engaged in a pattern of racketeering activity consisting

    of the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

    paragraph 132 above.

           140.      Each of the Count 2 Defendants conducted or participated, directly or indirectly,

    in the conduct of the affairs of the Count 2 Enterprise through a pattern of racketeering activity,

    within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

    Count 2 Defendants engaged in two or more predicate acts of racketeering, and each committed

    at least one such act of racketeering after the effective date of RICO. The Count 2 Defendants

    associated together, with one another and with others, and acted in concert for the common and

    unlawful purposes of the Count 2 Enterprise and in order to implement the schemes and employ

    the devices described herein. The specific related predicate acts that constitute the pattern of

    racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

    those acts described in paragraph 133 above.

           141.     As a direct and proximate result of RICO violations by the Count 2 Defendants of

    18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

    trial. Almaty and BTA have been injured in their business or property by reason of each Count 2

    Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

    thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

    reasonable attorneys’ fees.




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                                      THIRD CAUSE OF ACTION

                              (VIOLATIONS OF RICO, 18 U.S.C. § 1962(a))
                                       Against All Defendants

            142.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 141

    as if fully set forth herein.

            143.    This cause of action is against all Crossclaim Defendants (the “Count 3

    Defendants”).

            144.     From its formation and continuing to the present, CF 135 West Member LLC,

    has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 3

    Enterprise”).

            145.     The Count 3 Enterprise was engaged in, and the activities of the Count 3

    Defendants affected, interstate and foreign commerce.

            146.     The Count 3 Defendants received income derived from a pattern of racketeering

    activity consisting of the related predicate acts of racketeering described in paragraphs 132 and

    133 above.

            147.     The Count 3 Defendants used or invested the income derived from their

    racketeering activity in the acquisition of an interest in, or the establishment or operation of, the

    Count 3 Enterprise in violation of 18 U.S.C. § 1962(a).

            148.     The Count 3 Defendants used or invested the income derived from their

    racketeering activity in the Count 3 Enterprise in fraudulent and below-market transactions,

    including by accepting unreasonable contractual terms to transfer wealth to the Chetrit Group.

            149.    As a direct and proximate result of RICO violations by the Count 3 Defendants of

    18 U.S.C. § 1962(a), Almaty and BTA have suffered damages in an amount to be determined at

    trial. Almaty and BTA have been injured in their business or property by reason of each Count 3


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    Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

    thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

    reasonable attorneys’ fees.

                                    FOURTH CAUSE OF ACTION

                              (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                       Against All Defendants

            150.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 149

    as if fully set forth herein.

            151.    This cause of action is against all Crossclaim Defendants (the “Count 4

    Defendants”).

            152.     From its incorporation and continuing to the present, 227 East 19th Holder LLC

    has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 4

    Enterprise”).

            153.     The Count 4 Enterprise was engaged in, and the activities of the Count 4

    Defendants affected, interstate and foreign commerce.

            154.     The Count 4 Defendants engaged a pattern of racketeering activity consisting of

    the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

    paragraph 132 above.

            155.     Each of the Count 4 Defendants conducted or participated, directly or indirectly,

    in the conduct of the affairs of the Count 4 Enterprise through a pattern of racketeering activity,

    within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

    Count 4 Defendants engaged in two or more predicate acts of racketeering, and each committed

    at least one such act of racketeering after the effective date of RICO. The Count 4 Defendants

    associated together, with one another and with others, and acted in concert for the common and


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    unlawful purposes of the Count 4 Enterprise and in order to implement the schemes and employ

    the devices described herein. The specific related predicate acts that constitute the pattern of

    racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

    those acts described in paragraph 133 above.

             156.   As a direct and proximate result of RICO violations by the Count 4 Defendants of

    18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

    trial. Almaty and BTA have been injured in their business or property by reason of each Count 4

    Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

    thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

    reasonable attorneys’ fees.

                                      FIFTH CAUSE OF ACTION

                              (VIOLATIONS OF RICO, 18 U.S.C. § 1962(d))
                                       Against All Defendants

             157.   The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 156

    as if fully set forth herein.

             158.   This cause of action is against all Crossclaim Defendants (the “Count 5

    Defendants”).

             159.    As alleged herein, Count 5 Defendants conspired to engage in the acts described

    above in the United States to further the goals of their criminal enterprises in violation of U.S.

    law.

             160.    In so doing, Count 5 Defendants unlawfully, willfully, and knowingly did

    combine, conspire, confederate, and agree together, with each other and with others to commit

    RICO violations under 18 U.S.C. § 1962(c) and, thereby, violated 18 U.S.C. § 1962(d). In

    furtherance of the conspiracy and to achieve its objectives, Count 5 Defendants committed the



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    overt acts as described in paragraph 133 in the Southern District of New York and elsewhere.

            161.     As a direct and proximate result of RICO violations by the Count 5 Defendants

    of 18 U.S.C. § 1962(d), Almaty and BTA have suffered damages in an amount to be determined

    at trial. Almaty and BTA have been injured in their business or property by reason of each Count

    5 Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

    thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

    reasonable attorneys’ fees.

                                     SIXTH CAUSE OF ACTION

                            (ACTUAL FRAUDULENT TRANSFER)
            Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

            162.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 161

    as if fully set forth herein.

            163.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

    the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

    as these funds were the unlawful profits of embezzlement, fraud, and the corruption of the public

    office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

    alter or diminish either Almaty or BTA’s interest.

            164.     The 2014 assignment of Triadou’s interest in the Flatotel and Cabrini Medical

    Center was not for adequate consideration, and in fact, represented a value significantly below

    the fair value of that interest, due to the improper motivations of Triadou’s ownership, the

    Ablyazov-Khrapunov Group, to hide their illicit assets and move them offshore, and the Chetrit

    Group’s secret deal to drive down the price of the assignment through bribery.

            165.     This assignment was made for the specific purpose of liquidating a fixed asset to

    frustrate a future creditor. Defendants knew of the numerous judgments against Ablyazov in the



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    United Kingdom, and of Almaty’s claims against the Ablyazov-Khrapunov Group in the

    California Litigation, and knew that Triadou was owned and controlled by the defendants in

    those actions. Defendants intended and believed that the assignment of the Ablyazov-Khrapunov

    Group’s interest in the Flatotel and Cabrini Medical Center would hinder, delay, and defraud

    current and future judgment creditors, specifically the City of Almaty and BTA Bank.

            166.     For these reasons, the assignment was fraudulently and illegally intended to

    remove an asset from the jurisdiction of the United States, namely Triadou’s interests in the

    Flatotel and Cabrini Medical Center, convert those assets to cash, and transfer those funds beyond

    the reach of the Swiss, Kazakh, and United Kingdom authorities

            167.     As a result of the foregoing, pursuant to sections 275, 276, and 279 of the New

    York Debtor and Creditor Law, the August 2014 assignment agreement should be set aside as

    the product of clearly-inequitable conduct.

                                    SEVENTH CAUSE OF ACTION

                         (CONSTRUCTIVE FRAUDULENT TRANSFER)
            Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

            168.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 167

    as if fully set forth herein.

            169.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

    the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

    as these funds were the unlawful profits of embezzlement, fraud, and corruption of the public

    office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

    alter or diminish either Almaty or BTA’s interest.

            170.     Triadou, although an arm of a massive international fraud and money laundering

    conspiracy, is and has been insolvent itself. Triadou holds no funds or other assets of its own,



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    and relies on funding from other Ablyazov-Khrapunov Group entities, such as Telford, to meet

    its obligations. Assets that flow to Triadou are promptly moved to other Ablyazov-Khrapunov

    Group entities offshore.

            171.     As Triadou is controlled by the Ablyazov-Khrapunov Group, whose members

    face multi-billion dollar judgments in other jurisdictions, Triadou is effectively kept insolvent at

    all times, so as to limit the Ablyazov-Khrapunov Group’s exposure in the United States.

            172.     Similarly, because Triadou is controlled by and is an alter ego of the Ablyazov-

    Khrapunov Group, at the time it liquidated the Flatotel and Cabrini interests and transferred the

    proceeds to other entities, it had liabilities – including resulting from the UK judgments – that far

    outstripped its assets.

            173.     As a result of the foregoing, pursuant to sections 273 and 273-a of the New York

    Debtor and Creditor Law, the August 2014 assignment agreement should be set aside.

                                     EIGHTH CAUSE OF ACTION

                                    (UNJUST ENRICHMENT)
            Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

            174.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 173

    as if fully set forth herein.

            175.    The Crossclaim Defendants were unjustly enriched at the expense of the City of

    Almaty and BTA Bank when they invested funds embezzled from the City of Almaty and BTA

    Bank to acquire assets in the United States including an interest in the Flatotel project, and did so

    knowing that authorities of Switzerland, the Republic of Kazakhstan, and the United Kingdom

    were seeking the wrongfully-taken assets held by the Ablyazov-Khrapunov Group, and that

    further sales of the same assets would potentially frustrate their identification by the lawful

    authorities.


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            176.    It would be against equity and good conscience to permit the Crossclaim

    Defendants to retain the profits derived from the looting of assets rightfully belonging to the City

    of Almaty and BTA Bank.

                                     NINTH CAUSE OF ACTION

                                         (CONVERSION)
            Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

            177.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 176

    as if fully set forth herein.

            178.     None of the Defendants has a superior interest to the City of Almaty or BTA in

    the assets wrongfully taken by the Ablyazov-Khrapunov Group. These funds, and the assets

    they were used to purchase, are the rightful property of the people of Almaty and BTA.

            179.     Defendants knowingly bought and sold assets obtained with these funds derived

    from the corruption of the office of the mayor of the City of Almaty and control of BTA Bank.

            180.     As a result, Defendants have wrongfully and without authorization exercised of

    dominion and control over property of Almaty and BTA, and thus are liable for converting the

    same.

                                     TENTH CAUSE OF ACTION

                                      (CONSTRUCTIVE TRUST)
                                        Against All Defendants

            181.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 180

    as if fully set forth herein.

            182.     As mayor of Almaty, Viktor Khrapunov owed fiduciary duties to the people of

    Almaty, and through his oath of office, expressly promised to execute those duties.

            183.     Despite that promise, Viktor Khrapunov breached those fiduciary duties

    repeatedly by transferring public assets of the City of Almaty to other members of the Ablyazov-


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    Khrapunov Group for fractions of their market value, and then assisted the Ablyazov-Khrapunov

    Group in laundering the funds resulting from those illicit transfers of public property. Through

    these breaches of fiduciary duty, the Ablyazov-Khrapunov Group has been unjustly enriched.

            184.     A constructive trust over the 50% interest in CF 135 West Member LLC

    assigned by Triadou, and all profits therefrom, is the appropriate equitable remedy to prevent

    further dissipation of the funds resulting from these breaches of fiduciary duty.

            185.     Defendants have also conspired to fraudulently transfer Triadou’s interest in the

    Flatotel for the purpose of hiding the Ablyazov-Khrapunov Group’s assets and frustrating any

    recovery resulting from Almaty and BTA’s investigations and pursuits of their stolen assets.

    Separate and aside from the Ablyazov-Khrapunov Group’s breaches of fiduciary duty, this

    knowingly fraudulent transfer by Cross- and Counterclaim Defendants justifies imposition of a

    constructive trust to prevent any further transfers or encumbrances of this property.

            186.     Absent this remedy, the Ablyazov-Khrapunov Group will continue to use

    Triadou and SDG to launder the fruits of these breaches of fiduciary duty and hide these assets

    from law enforcement, and the Chetrit Group will continue to be unjustly enriched by these acts

    of fraud.

                                    ELEVENTH CAUSE OF ACTION

                   (PURSUANT TO CPLR § 5239 FOR FRAUD AND CONVERSION)
                                   Against All Defendants

            187.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 186

    as if fully set forth herein.

            188.     Triadou has filed serial actions in the courts of the state of New York seeking

    payment on the fraudulent assignment agreement between Triadou and the Chetrit Group. While

    Triadou has been awarded summary judgment in some of these actions, none of these judgments



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    have been satisfied by any sheriff or receiver.

              189.   The City of Almaty and BTA Bank are the rightful owners of Triadou’s interest in

    the Flatotel and Cabrini Medical Center and/or any funds derived from the sale of that interest, as

    the interest was purchased with funds unlawfully converted by the Ablyazov-Khrapunov Group

    and laundered through SDG and Triadou.

              190.   Pursuant to CPLR § 5239, this court is empowered to vacate any such judgments

    and direct the disposition of the property in question, as well as direct which party should keep

    possession of the property during the pendency of this action.

              191.   The court should set aside any judgments in Triadou’s favor in light of the City

    of Almaty’s and BTA’s superior interest in this illicitly-obtained property, direct that Triadou’s

    interest in the Flatotel and Cabrini Medical Center be transferred to the City of Almaty and BTA

    Bank, and pursuant to CPLR § 5239, award the City of Almaty and BTA Bank its reasonable

    attorneys’ fees in bringing this claim.

                                    TWELFTH CAUSE OF ACTION

       (PURSUANT TO CPLR § 5303 FOR RECOGNITION AND ENFORCEMENT OF A
                  FOREIGN JUDGMENT UNDER NEW YORK LAW)
                             Against Defendant Ablyazov

              192.   BTA Bank repeats and realleges paragraphs 1 through 191 as if fully set forth

    herein.

              193.   The United Kingdom of Great Britain and Northern Ireland is a “foreign state”

    within the meaning of N.Y. C.P.L.R. § 5301(a).

              194.   The Ablyazov Judgments are “foreign country judgments” within the meaning of

    N.Y. C.P.L.R. § 5301(b).

              195.   The Ablyazov Judgments are “final, conclusive and enforceable” in England

    within the meaning of N.Y. C.P.L.R. § 5302.


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              196.    The Ablyazov Judgments grant recovery of a sum of money and are enforceable

    by an action on the judgments in New York pursuant to N.Y. C.P.L.R. § 5303.

              197.    None of the grounds for non-recognition of a foreign country judgment set forth

    in N.Y. C.P.L.R. § 5304 applies to the Ablyazov Judgments.

              198.    The Ablyazov Judgments are required to be enforced pursuant to N.Y. C.P.L.R.

    § 5303.

              199.    Triadou is the alter ego of the Ablyazov-Khrapunov Group, and is thus liable for

    all current and future obligations against the Ablyazov-Khrapunov Group. Maintaining the

    separateness of Triadou and its alter ego, the Ablyazov-Khrapunov Group, would allow the

    Ablyazov-Khrapunov Group to avoid otherwise enforceable obligations and would be highly

    inequitable to the people of the city of Almaty and BTA Bank.

                                  THIRTEENTH CAUSE OF ACTION

                                       (AIDING AND ABETTING)
                                         Against Defendant FBME

              200.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 199

    as if fully set out herein.

              201.    The Ablyazov-Khrapunov Group converted property that rightfully belongs to

    the Kazakhstan Plaintiffs through wire transfers executed by FBME Bank, and the Ablyazov-

    Khrapunov Group was unjustly enriched by the use and investment of the same funds.

              202.    FBME Bank was aware that the funds wired were the proceeds of crime and that

    the wire transfers were an effort by the Ablyazov-Khrapunov Group to obscure the illicit nature

    of those funds.

              203.    Due to its longstanding relationship with the Ablyazov-Khrapunov Group and

    deliberately ineffective protocols for preventing money laundering, FBME Bank aided and



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    abetted the Ablyazov-Khrapunov Group’s laundering scheme.

           204.     FBME’s active participation in the Ablyazov-Khrapunov Group’s money

    laundering network rendered substantial assistance to the Ablyazov-Khrapunov Group’s acts of

    conversion, fraud, and subsequent unjust enrichment, and the Kazakhstan Plaintiffs seek relief

    from FBME to the extent Defendants are found liable for these acts.



                                     DEMAND FOR JURY TRIAL

           Almaty and BTA Bank demand a jury trial on all claims for which trial by jury is

    available, including on the underlying interpleader action.

                                        DEMAND FOR RELIEF

    WHEREFORE, Almaty and BTA Bank demand the Court enter judgment as follows:

           A.       For injunctive relief and rescission of the 2014 assignment agreement and release;

           B.       For compensatory, punitive, and treble damages;

           C.       For declaratory relief;

           D.       For all costs and fees incurred in prosecuting this Complaint;

           E.       For such other and further relief as this Court deems just and proper.




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    Dated: New York, New York
           September 7, 2016


                                       Respectfully Submitted,

                                       BOIES, SCHILLER & FLEXNER LLP

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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK

     CITY OF ALMATY, KAZAKHSTAN and BTA
     BANK JSC,
                                                  No. 15-CV-05345(AJN)
                      Plaintiffs,

                       -against-

     MUKHTAR ABLYAZOV, VIKTOR
     KHRAPUNOV, ILYAS KHRAPUNOV, and
     TRIADOU SPV S.A.,

                     Defendants.




             THE KHRAPUNOVS’ MEMORANDUM IN OPPOSITION TO THE
         CITY OF ALMATY AND BTA BANK’S MOTION FOR CERTIFICATION OF
        THE COURT’S DECEMBER 23, 2017 ORDER FOR INTERLOCUTORY APPEAL



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           Defendants Viktor and Ilyas Khrapunov (the “Khrapunovs”) respectfully submit this

    memorandum of law in opposition to BTA Bank and the City of Almaty’s (together,

    “BTA/Almaty”) motion for certification of an interlocutory appeal. ECF No. 263.

                                    PRELIMINARY STATEMENT

           BTA/Almaty seek certification to take an interlocutory appeal of the decision dismissing

    their RICO claims for failure to allege a domestic injury, which following the Supreme Court’s

    recent decision in RJR Nabisco, Inc. v. European Community is a prerequisite for private RICO

    suits. 136 S. Ct. 2090 (2016). The Court found that BTA/Almaty—Kazakh entities who claim

    to have been the victims of misappropriation in Kazakhstan—had not alleged a domestic injury

    and properly dismissed their RICO claims. ECF No. 257 at 12 (the “December 23 Decision”).

           BTA/Almaty now seek to appeal this decision in order to resolve what they say is a split

    of authority regarding how to interpret the domestic injury requirement.           The criteria for

    certification are stringent, however, and they require the party seeking certification to

    demonstrate that there is substantial ground for a difference of opinion—in effect, that there is “a

    genuine doubt as to whether the ... court applied the correct legal standard.” Frederick v. Capital

    One (USA), N.A., No. 14-CV-5460, 2015 U.S. Dist. LEXIS 164859, at *7-8 (S.D.N.Y. Dec. 8,

    2015) (Nathan, J.) (quoting Consub Del. LLC v. Schahin Engenharia Limitada, 476 F. Supp. 2d

    305, 309 (S.D.N.Y. 2007)) .    BTA/Almaty cannot make such a showing because the December

    23 Decision was a thorough and well-supported ruling that is in accord with the weight of

    authority that has interpreted the “domestic injury” requirement following RJR Nabisco.



                                              ARGUMENT




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           The Court should deny certification because there is no reasonable basis to think the

    December 23 Decision applied the wrong standard or reached the wrong result.

    I.     Legal Standard.

           Discretionary interlocutory appeals are governed by 28 U.S.C. § 1292(b); to qualify, the

    order that movants seek to appeal “must (1) involve a controlling question of law (2) over which

    there is substantial ground for difference of opinion.” Credit Suisse First Bos., LLC v. Intershop

    Communs. AG, 2006 U.S. Dist. LEXIS 68459, at *6 (S.D.N.Y. Sep. 25, 2006). Movants “must

    also show that (3) an immediate appeal would materially advance the ultimate termination of the

    litigation.” Id. An interlocutory appeal is “a rare exception to the final judgment rule that

    generally prohibits piecemeal appeals.” Koehler v. Bank of Bermuda Ltd., 101 F.3d 863, 865 (2d

    Cir. 1996).1 Only “exceptional circumstances [will] justify a departure from the basic policy of

    postponing appellate review until after the entry of a final judgment.” Frederick, 2015 U.S. Dist.


    1
      BTA/Almaty lists, in a footnote, a number of cases in which certification has been granted to
    illustrate the non-controversial point that courts can and do permit interlocutory appeals where
    the statutory conditions are met. See ECF No. 264, BTA/Almaty Br. at 4 n.2. Of course, courts
    routinely decline certification too. See, e.g., Frederick v. Capital One (USA), N.A., No. 14-CV-
    5460, 2015 U.S. Dist. LEXIS 164859, at *8 (S.D.N.Y. Dec. 8, 2015) (Nathan, J.); Segedie v.
    Hain Celestial Grp., Inc., No. 14-cv-5029 (NSR), 2015 U.S. Dist. LEXIS 137613, at *18
    (S.D.N.Y. Oct. 7, 2015); Credit Suisse First Bos., LLC, 2006 U.S. Dist. LEXIS 68459, at *9;
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    117587, at *6 (S.D.N.Y. Dec. 15, 2009); Caruso v. City of New York, No. 06 Civ. 5997, 2013
    U.S. Dist. LEXIS 175617, at *5 (S.D.N.Y. Dec. 12, 2013); Ntsebeza v. Daimler AG (In re S.
    African Apartheid Litig.), No. 02 MDL 1499, 2009 U.S. Dist. LEXIS 121559, at *10 (S.D.N.Y.
    Dec. 31, 2009); United States ex rel. Anti-Discrimination Ctr. of Metro N.Y., Inc. v. Westchester
    Cty., No. 06 Civ. 2860, 2009 U.S. Dist. LEXIS 29780, at *10-11 (S.D.N.Y. Apr. 9, 2009);
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    2006 U.S. Dist. LEXIS 7764, at *10 (S.D.N.Y. Jan. 26, 2006); Chandra v. Beth Israel Med. Ctr.,
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   LEXIS 164859, at *2 (citing Coopers & Lybrand v. Livesay, 437 U.S. 463, 475 (1978)).

   Therefore, the Second Circuit Court of Appeals has “repeatedly cautioned . . . [that] use of this

   certification procedure should be strictly limited” and has “urged the district courts to exercise

   great care in making a § 1292(b) certification.” In re Flor, 79 F.3d 281, 284 (2d Cir. 1996);

   Westwood Pharmaceuticals, Inc. v. Nat’l Fuel Gas Dist. Corp., 964 F.2d 85, 89 (2d Cir. 1992).

   In other words, “interlocutory appeals are strongly disfavored in federal practice” and the district

   court’s power to grant an interlocutory appeal should not be “liberally construed.” Segedie v.

   Hain Celestial Grp., Inc., No. 14-cv-5029, 2015 U.S. Dist. LEXIS 137613, at *4 (S.D.N.Y. Oct.

   7, 2015); Klinghoffer v. S.N.C. Achille Lauro, 921 F.2d 21, 25 (2d Cir. 1990).

   II.    BTA/Almaty Have Not Shown That There Is a Substantial Difference of Opinion
          Regarding What Constitutes a Domestic Injury.

          An interlocutory appeal is not warranted in this case because there has not been a

   substantial difference of opinion regarding what constitutes a RICO “domestic injury” after RJR

   Nabisco. A substantial ground for difference of opinion “arise[s] out of a genuine doubt as to

   whether the ... court applied the correct legal standard,” such as if there is “conflicting authority”

   or if the issue is “particularly difficult and of first impression” in the jurisdiction. Frederick,

   2015 U.S. Dist. LEXIS 164859, at *7-8 (quoting Consub Del. LLC, 476 F. Supp. 2d at 309).

   But “the mere presence of a disputed issue that is a question of first impression, standing alone,

   is insufficient to demonstrate a substantial ground for difference of opinion.” Id. (citing In re

   Flor, 79 F.3d 281, 284 (2d Cir. 1996)). This test “cannot be met simply because one party is

   dissatisfied with the Court’s ruling.” Gramercy Advisors, LLC v. Coe, No. 13-CV-9069 (VEC),

   2014 U.S. Dist. LEXIS 159211, at *9 (S.D.N.Y. Nov. 12, 2014). In the end, “it is the duty of the

   district judge . . . to analyze the strength of the arguments in opposition to the challenged ruling




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    when deciding whether the issue for appeal is truly one on which there is a substantial ground for

    dispute.” Frederick, 2015 U.S. Dist. LEXIS 164859, at *7-8.

           A.      There Is No Meaningful Difference of Opinion within this Circuit.

           BTA/Almaty argue that three courts in the Southern District have fashioned conflicting

    approaches to the domestic injury requirement, but this argument does not withstand a close

    reading of these cases. This Court and the court in Bascuñan v. Elsaca, No. 15-cv-2009, 2016

    U.S. Dist. LEXIS 133664, at *15 (S.D.N.Y. Sep. 28, 2016), applied the same test—i.e., “where

    the economic impact of the injury was ultimately felt” (December 23 Decision at 14 (quoting

    Bascuñan))—and concluded that BTA/Almaty had not suffered a domestic injury because “[t]he

    purported misappropriations giving rise to this action occurred within Kazakhstan and targeted

    only assets held overseas” (id. at 17).        Although this Court expressed reservation about

    Bascuñan’s “absolutist version” of the rule, which in some cases might preclude “foreign

    corporations with business or property interests” in the U.S. from bringing RICO actions, it did

    not have to reach this question on the facts of the present case, which involve alien plaintiffs with

    no U.S. assets, U.S. operations, or other U.S. presence. December 23 Decision at 17.

           Nor is the test used in Bascuñan and by this Court markedly different from that used by

    the court in Elsevier: “if the plaintiff has suffered an injury to his or her property, the court

    should ask where the plaintiff parted with the property or where the property was

    damaged.” 2016 U.S. Dist. LEXIS 103444, at *39 (S.D.N.Y. Aug. 4, 2016). As this Court has

    recognized, BTA/Almaty “parted with its property” in Kazakhstan. December 23 Decision at 17.

           In short, there is no conflict among approaches used by this Court, Bascuñan, Elsevier,

    and there is thus no basis for an interlocutory appeal on this issue.




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           B.      Courts from Other Circuits Largely Reach the Same Result.

           BTA/Almaty also point to a number of decisions from outside the Circuit to argue that

    the state of “domestic injury” law is murky. As a threshold matter, disagreements among courts

    outside the circuit does not alone support the certification of an interlocutory appeal. United

    States ex rel. Colucci v. Beth Israel Med. Ctr., 2009 U.S. Dist. LEXIS 117587, at *3 (S.D.N.Y.

    Dec. 15, 2009). Thus, even where there is a circuit split on the proper standard to be applied

    under a statute, and the Second Circuit has yet to weigh in, this is not enough to justify

    certification. United States ex rel. Anti-Discrimination Ctr. of Metro N.Y., Inc. v. Westchester

    Cty., 2009 U.S. Dist. LEXIS 29780, at *3 (S.D.N.Y. Apr. 9, 2009).

           Setting that aside, however, the cases BTA/Almaty identify do not support their view that

    the “domestic injury” requirement is unsettled. These cases largely use approaches similar to the

    rationales used by this Court, Bascuñan, and Elsevier. For example, in Exeed Indus., LLC v.

    Younis, the court, citing Bascuñan, held that the domestic injury requirement was not met where

    plaintiffs’ injury from a foreign kickback scheme “was not initially suffered by Plaintiffs in the

    United States, nor have Plaintiffs maintained a United States presence, either at the time of the

    alleged scheme or now.” 2016 U.S. Dist. LEXIS 154487, at *9 (N.D. Ill. Nov. 8, 2016). The

    court noted that while the kickback proceeds ultimately financed land purchases in the United

    States, “these are downstream effects of the initial injury that impacted Plaintiffs in the [foreign

    country], where their business and economic operations are centered.” Id. Thus, Exeed is on all

    fours with the instant case, and both the test used and the result are consistent with this Court’s

    December 23 Decision.

           The court in Akishev v. Kapustin, 2016 U.S. Dist. LEXIS 169787, at *18 (D.N.J. Dec. 8,

    2016), reached a different result from the instant case, but not because it applied a different

    test. It held that because plaintiffs’ injury was suffered when they “travel[ed] by way of the
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    internet” to purchase a car from a U.S.-based car dealership, the injury was suffered in the

    U.S. But the court also held that had the dealership been located in Russia, or even on a Russian

    website, then the injury would be foreign, and not subject to RICO. Using this test, the Akishev

    court would surely find no domestic injury in the instant case, where the injury was suffered

    when assets located in Kazakhstan were allegedly misappropriated from Kazakh plaintiffs by

    Kazakh defendants, and where there is no allegation that plaintiffs were injured when they

    “traveled via the internet” to deal with a U.S. entity.

           In Tatung Co., Ltd. v. Shu Tze Hsu, the court shared this Court’s reluctance to apply

    Bascuñan’s “absolutist” rule, which would preclude foreign corporations with U.S. business

    operations or property from bringing RICO actions for injuries to those U.S. assets. 2016 U.S.

    Dist. LEXIS 157450, at *18-19 (C.D. Cal. Nov. 14, 2016). But as this Court has already

    acknowledged, it need not decide whether the absolutist rule is prudent because it is not

    implicated by the facts of this case (and, by extension, an interlocutory appeal of the December

    23 Decision would not present a vehicle for the Court of Appeals to decide the issue).

           This Court declined to adopt the “substantial effects test” used by court in Union

    Commer. Servs. v. FCA Int’l Operations LLC, No. 16-cv-10925, 2016 U.S. Dist. LEXIS 156098,

    at *12-13 (E.D. Mich. Nov. 10, 2016). This is understandable, given the Supreme Court’s

    express reluctance to base the domestic injury requirement on antitrust law. December 23

    Decision at 16, n.9 (citing RJR Nabisco, 136 S.Ct. at 2109-2111). It is extremely unlikely that

    this test would be adopted by the Second Circuit, but arguably the result in the instant case would

    be the same, because the effect of defendants’ alleged conduct was felt by Kazakh plaintiffs in

    Kazakhstan. Compare Union Commer. Servs., 2016 U.S. Dist. LEXIS 156098, at *13 (Angolan

    company that distributed cars in Angola suffered lost sales and profits in Angola).



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                                            CONCLUSION

           For the foregoing reasons, Viktor and Ilyas Khrapunov respectfully submit that the Court

    should decline to certify the December 23 Decision for interlocutory appeal.

    Dated: February 3, 2017
           New York, New York

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